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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    Hartman SPE, LLC, 1                                        Case No. 23-11452 (MFW)

                     Debtor.


             COMBINED DISCLOSURE STATEMENT AND CHAPTER 11 PLAN OF
                     REORGANIZATION OF HARTMAN SPE, LLC

    Dated: January 8, 2024
    Wilmington, Delaware

    Respectfully submitted,

    /s/ William E. Chipman, Jr.                              John E. Mitchell
    William E. Chipman, Jr. (No. 3818)                       Michaela C. Crocker
    Mark D. Olivere (No. 4291)                               Yelena E. Archiyan
    CHIPMAN BROWN CICERO & COLE, LLP                         KATTEN MUCHIN ROSENMAN LLP
    Hercules Plaza                                           2121 North Pearl Street, Suite 1100
    1313 North Market Street, Suite 5400                     Dallas, Texas 75201
    Wilmington, Delaware 19801                               Telephone: (214) 765-3600
    Telephone: (302) 295-0191                                Facsimile: (214) 765-3602
    Facsimile: (302) 295-0199                                Email: john.mitchell@katten.com
    Email: chipman@chipmanbrown.com                                  michaela.crocker@katten.com
           olivere@chipmanbrown.com                                  yelena.archiyan@katten.com

                                                             Counsel to the Debtor and Debtor in Possession




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      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
      is Hartman SPE, LLC (7400). The Debtor’s principal place of business and service address is 2909 Hillcroft,
      Suite 420, Houston, TX 77057. Copies of pleadings may be obtained from the website of the United States
      Bankruptcy Court for the District of Delaware www.deb.uscourts.gov or from the Debtor’s Claim Agent’s
      website https://dm.epiq11.com/HartmanSPE.



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                         Combined Disclosure Statement and Plan Exhibits

Exhibit A:        Assumption Schedule
Exhibit B:        List of Properties
Exhibit C:        Exit Facility – Indicative Term Sheet




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                                        NOTICE

     THERE HAS BEEN NO INDEPENDENT AUDIT OF THE FINANCIAL
INFORMATION CONTAINED IN THIS COMBINED PLAN AND DISCLOSURE
STATEMENT EXCEPT AS EXPRESSLY INDICATED HEREIN. THIS COMBINED PLAN
AND DISCLOSURE STATEMENT WAS COMPILED FROM INFORMATION OBTAINED
FROM NUMEROUS SOURCES BELIEVED TO BE ACCURATE TO THE BEST OF THE
DEBTOR’S KNOWLEDGE, INFORMATION, AND BELIEF. NO GOVERNMENTAL
AUTHORITY HAS PASSED ON, CONFIRMED, OR DETERMINED THE ACCURACY OR
ADEQUACY OF THE INFORMATION CONTAINED HEREIN.

     NOTHING STATED HEREIN SHALL BE DEEMED OR CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN
ANY PROCEEDING INVOLVING THE DEBTOR OR ANY OTHER PARTY, OR BE
DEEMED CONCLUSIVE EVIDENCE OF THE TAX OR OTHER LEGAL EFFECTS OF THIS
COMBINED PLAN AND DISCLOSURE STATEMENT ON THE DEBTOR OR HOLDERS OF
CLAIMS OR INTERESTS. CERTAIN STATEMENTS CONTAINED HEREIN, BY NATURE,
ARE FORWARD-LOOKING AND CONTAIN ESTIMATES AND ASSUMPTIONS. THERE
CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL REFLECT ACTUAL
OUTCOMES.

     THE STATEMENTS CONTAINED HEREIN ARE MADE AS OF THE DATE
HEREOF, UNLESS ANOTHER TIME IS SPECIFIED. THE DELIVERY OF THIS COMBINED
PLAN AND DISCLOSURE STATEMENT SHALL NOT BE DEEMED OR CONSTRUED TO
CREATE ANY IMPLICATION THAT THE INFORMATION CONTAINED HEREIN IS
CORRECT AT ANY TIME AFTER THE DATE HEREOF.

     HOLDERS OF CLAIMS AND INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS COMBINED PLAN AND DISCLOSURE STATEMENT AS
PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. THEREFORE,
EACH SUCH HOLDER SHOULD CONSULT WITH ITS OWN LEGAL, BUSINESS,
FINANCIAL, AND TAX ADVISORS AS TO ANY SUCH MATTERS CONCERNING THIS
COMBINED PLAN AND DISCLOSURE STATEMENT AND THE TRANSACTIONS
CONTEMPLATED HEREBY.




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                                         I.       INTRODUCTION1

        Hartman SPE, LLC (the “Debtor”) proposes the following Combined Disclosure
Statement and Plan pursuant to chapter 11 of the Bankruptcy Code. The Debtor is the proponent
of this Combined Disclosure Statement and Plan within the meaning of section 1129 of the
Bankruptcy Code.

        Copies of this Combined Disclosure Statement and Plan and all other pleadings
related to this Chapter 11 Case are available for review without charge through the Debtor’s
Claim Agent’s website https://dm.epiq11.com/HartmanSPE and with charge at
https://www.pacer.gov/.

        This Combined Disclosure Statement and Plan is a plan of reorganization that proposes to
leave all Allowed Claims and Interests Unimpaired, either through payment in full, Reinstatement,
or agreement. The Debtor will fund this Combined Disclosure Statement and Plan with the
proceeds of the Exit Facility and Cash on hand on the Effective Date.

        Each Holder of a Claim against or Interest in the Debtor is encouraged to read this
Combined Disclosure Statement and Plan in its entirety. The Debtor is not soliciting votes for
approval of this Combined Disclosure Statement and Plan because all Classes of Claims and
Interests are Unimpaired and deemed to accept this Combined Disclosure Statement and Plan.

     SUBJECT TO THE RESTRICTIONS ON MODIFICATIONS AS SET FORTH IN
BANKRUPTCY CODE SECTION 1127, BANKRUPTCY RULE 3019, AND IN THIS
COMBINED PLAN AND DISCLOSURE STATEMENT, THE DEBTOR EXPRESSLY
RESERVES THE RIGHT TO ALTER, AMEND, OR MODIFY THIS COMBINED PLAN AND
DISCLOSURE STATEMENT ONE OR MORE TIMES BEFORE ITS SUBSTANTIAL
CONSUMMATION.

                                       II.     IMPORTANT DATES

                           Description                                              Date/Deadline

    Deadline to File Plan Supplement                                   January 29, 2024
    Deadline to File Objections to Combined Disclosure
    Statement and Plan                                                 January 31, 2024
    Deadline to File Objections to the Proposed Assumption and
    Assignment or Rejection of Executory Contracts and
    Unexpired Leases of Nonresidential Real Property, Including
    Adequate Assurance and Cure Amounts                                January 31, 2024

    Deadline to File Confirmation Brief and Other Evidence
    Supporting the Combined Disclosure Statement and Plan              February 5, 2024

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  All capitalized terms used but not defined in the Introduction shall have the meanings ascribed to them in Article
III.A of this Combined Disclosure Statement and Plan.


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                          Description                                     Date/Deadline
 Deadline to File Consolidated Reply                           February 5, 2024

 Confirmation Hearing                                          February 7, 2024 at 11:30 a.m. (ET)



                   III.   DEFINITIONS AND CONSTRUCTION OF TERMS

A.      Definitions

        “Administrative Expense Bar Date” means the date that is 30 calendar days after the
Effective Date for Administrative Claims, other than Professional Fee Claims, to be filed.

       “Administrative Expense Claim” means any right to payment constituting actual and
necessary costs and expenses of preserving the Estate under Bankruptcy Code sections 503(b) and
507(a)(2) including, without limitation: (a) Professional Fee Claims, (b) any fees or charges
assessed against the Estate under section 1930 of title 28 of the United States Code, and (c) all
Claims arising under Bankruptcy Code section 503(b)(9).

        “Affiliate” means an “affiliate” as defined in Bankruptcy Code section 101(2).

        “Allen Hartman Parties” means: Allen R. Hartman; Lisa M. Hartman; Allen R. & Lisa
M. Hartman, as Trustees of the Hartman Family Protection Trust dated March 9, 2018; The
Hartman Family Protection Trust dated March 9, 2018; Hartman vREIT XXI Inc.; Hartman Family
Protection Trust; Margaret Marie Hartman; Victoria L. Hartman Massey; Charlotte E. Hartman;
Hartman Holdings Inc.; Donald M Hartman Jr. IRA; Donald M. Hartman Jr.; Lisa Marie Hartman;
Lisa Marie Hartman IRA; and Hartman XX Holdings, LLC.

        “Allowed” means, with reference to any Claim (I) proof of which was timely and properly
Filed and as to which: (a) no objection to allowance has been interposed within the applicable
period fixed by this Combined Disclosure Statement and Plan, the Bankruptcy Code, the
Bankruptcy Rules, the Local Rules, or the Bankruptcy Court; (b) an objection has been interposed
and either (i) such Claim has been allowed, in whole or in part, by a Final Order or (ii) the objection
to allowance has been withdrawn with prejudice or otherwise resolved by written agreement
between the Debtor or Reorganized Debtor, as appropriate, and the Holder of such Claim; or (c)
the Claim has been Allowed by written agreement between the Debtor or Reorganized Debtor, as
appropriate, and the Holder of such Claim; or (II) if a Proof of Claim that was timely and properly
filed asserts a Claim amount in excess of the amount that has been or hereafter is listed by the
Debtor on its Schedules as liquidated in amount and not disputed or contingent, the portion of such
claim that has been or hereafter is listed by the Debtor on its Schedules as liquidated in amount
and not disputed or contingent; (III) if a Proof of Claim that was timely and properly filed asserts
a Claim amount less than the amount that has been or hereafter is listed by the Debtor on its
Schedules as liquidated in amount and not disputed or contingent, the amount of such claim that
has been asserted in such Proof of Claim; or (IV) if no Proof of Claim was Filed, a Claim that has
been or hereafter is listed by the Debtor on its Schedules as liquidated in amount and not disputed
or contingent. The amount of each Allowed Claim shall be reduced by any payments received


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during the Chapter 11 Case and in no case shall the aggregate value of all property received or
retained under the Plan on account of any Allowed Claim exceed 100 percent of the underlying
Allowed Claim.

        “Assumption Schedule” means the list of contracts to be assumed by the Debtor and
assigned to Silver Star Borrower on the Effective Date, as attached hereto as Exhibit A. The Debtor
or the Reorganized Debtor, as appropriate, reserves the right to amend the Assumption Schedule
at any time up to and including the later of (i) Confirmation or (ii) ten (10) days after entry of a
Final Order resolving any objection lodged by the counterparty to an Executory Contract or Lease
regarding the proposed assumption and assignment, adequate protection, and/or Cure.

        “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

       “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware or, if such Court ceases to exercise jurisdiction over the Chapter 11 Case, such court or
adjunct thereof that exercises jurisdiction over the Chapter 11 Case in lieu of the United States
Bankruptcy Court for the District of Delaware.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as promulgated
by the United States Supreme Court under section 2075 of title 28 of the United States Code, as
amended from time to time.

       “Bar Date” means, with respect to any Claim, the specific date established in the Bar Date
Order as the last day for filing Proofs of Claim against the Debtor.

       “Bar Date Order” means the Order Granting Motion of Debtor for an Order (I)
Establishing Bar Dates for Filing Proofs of Claim; (II) Approving the Form and Manner of Notice
Thereof; and (III) Granting Related Relief [Docket No. 162].

       “Business Day” means any day other than a Saturday, Sunday, or any other day on which
commercial banks in New York, New York are required or authorized to close by law or executive
order.

       “Cash” means legal tender of the United States of America or equivalents thereof,
including, without limitation, payment in such tender by check, wire transfer, or any other
customary payment method.

        “Cause of Action” means any Claim, cause of action, controversy, right of setoff, cross
claim, counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed
by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
damage, judgment, account, defense, power, privilege, license, or franchise of any kind or
character whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
in law or in equity, or pursuant to any other theory of law.




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        “Chapter 11 Case” means the chapter 11 case initiated by the Debtor’s filing on the
Petition Date of a voluntary petition for relief in the Bankruptcy Court under chapter 11 of the
Bankruptcy Code, captioned In re Hartman SPE, LLC, Case No. 23-11452 (MFW).

        “Claim” shall have the meaning set forth in Bankruptcy Code section 101(5).

        “Claims Register”       means     the   official   register    of    Claims   maintained   on
https://www.pacer.gov/.

       “Class” means any group of substantially similar Claims or Interests classified by this
Combined Disclosure Statement and Plan pursuant to Bankruptcy Code sections 1122 and
1123(a)(1).

        “Clerk” means the Clerk of the Bankruptcy Court.

        “Combined Disclosure Statement and Plan” means this combined disclosure statement
and chapter 11 plan of reorganization, as the same may be amended or modified, including, without
limitation, all exhibits, supplements, appendices, and schedules hereto, either in their present form
or as the same may be altered, amended, or modified from time to time.

        “Company” means Hartman SPE, LLC.

       “Confirmation” means confirmation of this Combined Disclosure Statement and Plan
pursuant to Bankruptcy Code section 1129.

      “Confirmation Date” means the date on which the Confirmation Order is entered on the
Bankruptcy Court Docket in this Chapter 11 Case.

        “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
(a) approval of this Combined Disclosure Statement and Plan as providing adequate information
pursuant to Bankruptcy Code section 1125, and (b) Confirmation of this Combined Disclosure
Statement and Plan pursuant to Bankruptcy Code section 1129, as such hearing may be adjourned
or continued from time to time.

        “Confirmation Hearing Notice” means the notice of the Confirmation Hearing.

      “Confirmation Order” means the order of the Bankruptcy Court confirming this
Combined Disclosure Statement and Plan pursuant to Bankruptcy Code section 1129.

        “Creditor” means any Person that is the Holder of a Claim against the Debtor.

       “Cure” means all amounts, including an amount of $0.00, required to cure any monetary
or non-monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount
as may be agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to
be assumed by the Debtor and assigned by Silver Star Borrower pursuant to Bankruptcy Code
sections 365 or 1123.




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        “Debtor” means Hartman SPE, LLC in its capacity as the debtor in the Chapter 11 Case
unless otherwise noted.

       “Deficiency Claim” means a General Unsecured Claim for the difference between (a) the
aggregate amount of a Secured Claim and (b) the value received on account of the portion of such
Allowed Claim that is a Secured Claim.

       “Disallowed” means, when used in reference to a Claim, all or that portion, as applicable,
of any Claim that has been disallowed under this Combined Disclosure Statement and Plan, the
Bankruptcy Code, applicable law, or by Final Order.

        “Disbursing Agent” means the Reorganized Debtor or the Entity or Entities selected by
the Debtor or the Reorganized Debtor, as applicable, to make or facilitate Distributions pursuant
to this Combined Disclosure Statement and Plan.

       “Disputed” means any Claim or Interest, or any portion thereof, that is (a) listed on the
Schedules as unliquidated, disputed, and/or contingent for which no Proof of Claim in a liquidated
and non-contingent amount has been Filed, or (b) the subject of an objection or request for
estimation Filed by the Debtor, the Reorganized Debtor, or any other party in interest in accordance
with applicable law and which objection has not been withdrawn, resolved, or overruled by a Final
Order.

        “Distribution” means any distribution to the Holders of Allowed Claims.

        “Distribution Record Date” means the date for determining which Holders of Claims and
Interests are eligible to receive Distributions under this Combined Disclosure Statement and Plan,
which date shall be the Effective Date.

        “Docket” means the docket in the Chapter 11 Case maintained by the Clerk.

      “Effective Date” means the date on which the conditions specified in Article XII of this
Combined Disclosure Statement and Plan have been met or satisfied.

        “Entity” means an “entity” as defined in Bankruptcy Code section 101(15).

        “Estate Causes of Action” means any and all Causes of Action of the Debtor, including,
but not limited to, the (a) commercial tort claims as defined in Article 9 of the Uniform Commercial
Code; (b) Causes of Action against any Person whether sounding in tort, contract, equity, statute
or any other legal or equitable theory of recovery; (c) the non-exclusive right to seek a
determination by the Bankruptcy Court or any other court of competent jurisdiction of any tax,
fine or penalty relating to a tax, or any addition to a tax, under Bankruptcy Code section 505 or
other applicable law; and (d) all other rights, Claims or Causes of Action. Estate Causes of Action
shall include, for the avoidance of doubt, direct or derivative Claims or Causes of Action against
(i) any other Person who transacted business or engaged in conduct with the Debtor to the Debtor’s
detriment, specifically including the Allen Hartman Parties and (ii) any Affiliates of the Persons
within subsection (i) of this sentence.



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       “Estate” means the estate of the Debtor created upon the commencement of the Chapter 11
Case pursuant to Bankruptcy Code section 541.

        “Exculpated Parties” means each of the following solely in their capacity as such: (a) the
Debtor, (b) the Reorganized Debtor, (c) the Debtor’s and Reorganized Debtor’s current manager,
directors and officers, (d) Michael Racusin, (e) the Committee and its members, and (f) the
Professionals. The term “Exculpated Parties” shall not include the Allen Hartman Parties.

       “Exit Facility” means, collectively, one or more first-lien, senior secured mortgage loans,
and associated first priority, senior secured mezzanine loans, as reflected in the Exit Facility
Documents. The material terms of the Exit Facility are set forth on the Exit Facility Term Sheet
and will be set forth in full in the Exit Facility Documents that will be filed as part of the Plan
Supplement.

        “Exit Facility Credit Agreement” means the loan agreements governing the Exit Facility.

        “Exit Facility Documents” means, collectively, the Exit Facility Credit Agreement and
all other agreements, documents, and instruments delivered or to be entered into in connection
therewith.

       “Exit Facility Term Sheet” means the indicative term sheet agreed to by the Lender,
Debtor and affiliates of the Debtor, a summary of which attached hereto as Exhibit C.

       “Exit Lender” means the entities designated as “Lender” in the Exit Facility Documents
and any applicable assignees and participants thereof.

       “Executory Contract” means a contract to which the Debtor is a party and that is subject
to assumption or rejection under section 365 of the Bankruptcy Code.

        “Federal Judgment Rate” means the rate under 28 U.S.C. § 1961 in effect as of the
Petition Date.

       “File, Filed, or Filing” means file, filed, or filing with the Bankruptcy Court in the
Chapter 11 Case.

      “Final Decree” means the order entered pursuant to Bankruptcy Code section 350 and
Bankruptcy Rule 3022 closing the Chapter 11 Case.

        “Final Order” means an order or judgment of the Bankruptcy Court or any other court of
competent jurisdiction that has been entered on the Docket in the Chapter 11 Case (or the docket
of such other court) that is not subject to a stay and has not been modified, amended, reversed or
vacated and as to which (a) the time to appeal, petition for certiorari or move for a new trial,
re-argument or rehearing pursuant to Bankruptcy Rule 9023 has expired and as to which no appeal,
petition for certiorari or other proceedings for a new trial, re-argument or rehearing shall then be
pending, or (b) if an appeal, writ of certiorari, new trial, re-argument or rehearing thereof has been
sought, such order or judgment shall have been affirmed by the highest court to which such order
was timely and properly appealed, or certiorari shall have been denied or a new trial, re-argument
or rehearing shall have been denied or resulted in no modification of such order, and the time to

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take any further appeal, petition for certiorari or move for a new trial, re-argument or rehearing
shall have expired.

      “First Day Declaration” means the Declaration of David Wheeler in Support of
Chapter 11 Petition and First Day Pleadings [Docket No. 3].

       “First Day Motions” means the Debtor’s motions filed upon the commencement of the
Chapter 11 Case [Docket Nos. 4, 5, 6, 7, 8, 9, 13, and 15].

        “First Lien Claim” means the Claim held by the Prepetition Lender.

        “General Bar Date” means November 13, 2023, at 5:00 p.m. Eastern Time, the date
established by the Bankruptcy Court pursuant to the Bar Date Order for the submission of Proofs
of Claim against the Debtor.

        “General Unsecured Claims” means any unsecured Claim against the Debtor that is not
a Priority Claim, Administrative Expense Claim, Professional Fee Claim, Priority Tax Claim, First
Lien Claim, or Other Secured Claim and is not entitled to a priority under the Bankruptcy Code or
any order of the Bankruptcy Court.

        “Governmental Bar Date” means March 11, 2024, at 5:00 p.m. Eastern Time, the date
established by the Bankruptcy Court pursuant to the Bar Date Order for the submission of Proofs
of Claim by Governmental Units against the Debtor.

        “Governmental Unit” means a “governmental unit” as defined in Bankruptcy Code
section 101(27).

       “Hartman Minority Member” means Hartman vREIT XXI, Inc., the Holder of 2.47% of
the Debtor’s Interests.

        “Holder” means the holder of any Claim or Interest.

        “Intercompany Claims” means Claims owing by the Debtor to SPE Manager or other
Affiliates.

       “Interests” means all equity interests in the Debtor, including, but not limited to, all issued,
unissued, authorized, or outstanding shares or membership interests together with any warrants,
options, or contract rights to purchase or acquire such interests at any time.

        “Impaired” means, with respect to any Class, a Class that is impaired within the meaning
of section 1124 of the Bankruptcy Code.

        “KeyBank” means KeyBank National Association, as Master Servicer and Special
Servicer for U.S. Bank National Association, solely in its capacity as Trustee for the benefit of the
Holders of the GS Mortgage Securities Trust 2018-HART, Commercial Mortgage Pass-Through
Certificates, Series 2018-HART and the RR Interest Owner.

        “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.


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        “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware.

       “Majority Member” means Hartman XX Limited Partnership, the Holder of 97.53% of
the Debtor’s Interests.

      “Management Agreement” means the Real Estate Property Management Agreement
between the Debtor and Hartman Income REIT Management, Inc. (n/k/a Silver Star Property
Management, Inc.) as property manager.

         “New Organizational Documents” means, if any, the certificates of formation, limited
liability company agreements, partnership agreements, certificates of incorporation, bylaws,
stockholders’ agreement, or any similar entity organizational or constitutive document, as
applicable, for the Reorganized Debtor, which shall be consistent with this Combined Disclosure
Statement and Plan and section 1123(a)(6) of the Bankruptcy Code (as applicable, and shall
otherwise be in form and substance reasonably acceptable to the Majority Shareholder and the Exit
Lenders) and will be filed with the Plan Supplement.

       “Other Secured Claims” means Secured Claims other than the Prepetition Lender
Secured Claim, which are primarily composed of Claims secured under mechanic’s or
materialmen’s lien statutes under applicable law.

        “Person” means a “person” as defined in Bankruptcy Code section 101(41).

       “Petition Date” means September 13, 2023, the date on which the Debtor filed its
voluntary petition for relief under chapter 11 of the Bankruptcy Code.

      “Plan Documents” means this Combined Disclosure Statement and Plan and the Plan
Supplement.

       “Plan Supplement” means the appendix of schedules and exhibits to be Filed with the
Bankruptcy Court at least seven (7) days before the Confirmation Hearing that will include: (1) the
Exit Facility Documents; (2) the New Organizational Documents, if applicable; (3) the Rejected
Executory Contracts and Unexpired Leases Schedule; and (4) financial projections.

        “Portfolio Borrower” means Silver Star Portfolio, LLC, a Delaware special purpose entity
and affiliate of the Debtor. Portfolio Borrower is wholly owned by Portfolio Mezzanine Borrower
and will serve as co-borrower with Silver Star Borrower under the Exit Facility Documents.

       “Portfolio Mezzanine Borrower” means Silver Star Portfolio Mezzanine Borrower, LLC,
a Delaware special purpose entity and affiliate of the Debtor. Portfolio Mezzanine Borrower will
serve as co-mezzanine borrower with Silver Star Mezzanine Borrower under the Exit Facility
Documents.

       “Prepetition Lender” means U.S. Bank National Association, solely in its capacity as
Trustee for the benefit of the Holders of the GS Mortgage Securities Trust 2018-HART,
Commercial Mortgage Pass-Through Certificates, Series 2018-HART and the RR Interest Owner.


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        “Prepetition Lender Secured Claim” means the Allowed Class 1 Secured Claim of the
Prepetition Lender in the principal amount of $217,276,867.59 as of November 27, 2023. The
amount to be paid in satisfaction of the Prepetition Lender Secured Claim shall be subject to
adjustment as of the date it is paid in full, with such payment to include all amounts due or to come
due under the Prepetition Loan Documents.

      “Prepetition Loan” means that certain secured term loan agreement with Goldman Sachs
Mortgage, as lender, in the original principal amount of $259 million.

      “Prepetition Loan Documents” means the Loan Agreement dated as of October 1, 2018,
between Hartman SPE, LLC, as Borrower, Goldman Sachs Mortgage Company, as Lender, as
amended, restated, supplemented, or otherwise modified from time to time, along with any other
agreements and documents executed or delivered in connection therewith.

       “Priority Claims” means any Claim entitled to priority pursuant to Bankruptcy Code
section 507(a) other than Administrative Expense Claims and Priority Tax Claims. Unless
otherwise indicated, “Priority Claims” does not include Priority Tax Claims.

      “Priority Tax Claims” means any Claim of a Governmental Unit entitled to priority under
Bankruptcy Code § 507(a)(8).

       “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the
aggregate amount of Allowed Claims in the same Class.

       “Professional Fee Claims Bar Date” means the date that is 60 days after the Effective
Date for Professional Fee Claims to be Filed.

       “Professional Fee Claims” means all Claims for compensation and reimbursement of
expenses by Professionals to the extent Allowed by the Bankruptcy Court.

       “Professional” means any professional Person employed in the Chapter 11 Case pursuant
to Bankruptcy Code section 327, 328, 363, or 1103 pursuant to an Order of the Bankruptcy Court
who is to be compensated for services rendered pursuant to Bankruptcy Code sections 327, 328,
329, 330, 331, or 363.

       “Proof of Claim” means a proof of Claim Filed against the Debtor in accordance with the
Bar Date Order or any other order by the Court requiring the fixing of Claims.

        “Properties” means the Debtor’s portfolio of owned real property and “Property” refers
to an individual property in the Debtor’s portfolio.

      “Property Manager” means Silver Star Property Management, Inc. (f/k/a Hartman
Income REIT Management, LLC).

       “Reinstate,” “Reinstated” or “Reinstatement” means (a) leaving unaltered the legal,
equitable and contractual rights to which a Claim or Interest Holder is entitled so as to leave such
Claim or Interest Unimpaired in accordance with § 1124 of the Bankruptcy Code, or (b)
notwithstanding any contractual provision or applicable law that entitles the Claim Holder to

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demand or receive accelerated payment of such Claim after the occurrence of a default, (i) curing
any such default that occurred before or after the Petition Date, other than a default of a kind
specified in § 365(b)(2) of the Bankruptcy Code; (ii) reinstating the maturity of such Claim as such
maturity existed before such default; (iii) compensating the Claim Holder for any damages
incurred as a result of any reasonable reliance by such Claim Holder on such contractual provision
or such applicable law; and (iv) not otherwise altering the legal, equitable or contractual rights to
which such Claim entitles the Claim Holder; provided, however, that any contractual right that
does not pertain to the payment when due of principal and interest on the obligation on which such
Claim is based, including, but not limited to, financial covenant ratios, negative pledge covenants,
covenants or restrictions on merger or consolidation, “going dark” provisions, and affirmative
covenants regarding corporate existence prohibiting certain transactions or actions contemplated
by this Combined Disclosure Statement and Plan, or conditioning such transactions or actions on
certain factors, shall not be required to be cured or reinstated in order to accomplish Reinstatement.

        “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule
of Rejected Executory Contracts and Unexpired Leases that will be filed as part of the Plan
Supplement. The Debtor or the Reorganized Debtor, as appropriate, reserves the right to amend
the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to and including
the later of (i) Confirmation or (ii) ten (10) days after entry of a Final Order resolving any objection
lodged by the counterparty to an Executory Contract or Lease regarding the proposed assumption
and assignment, adequate protection, and/or Cure.

        “Rejection Claims” means any Claim arising from, or relating to, the rejection of an
Executory Contract or Unexpired Lease pursuant to Bankruptcy Code section 365(a) by the
Debtor, as limited, in the case of a rejected Unexpired Lease, by Bankruptcy Code
section 502(b)(6).

        “Released Parties” means the parties receiving a release from the debtor as set forth in
Article XI.C.

      “Reorganized Debtor” means Hartman SPE, LLC, as reorganized pursuant to this
Combined Disclosure Statement and Plan, or any successors thereto, on or after the Effective Date.

        “Restructuring Transactions” has the meaning set forth in Article VIII.E.

        “Schedules” means the schedules of assets and liabilities, the list of Holders of Interests,
and the statements of financial affairs Filed by the Debtor under Bankruptcy Code section 521 and
Bankruptcy Rule 1007, and all amendments and modifications thereto.

         “Secured Claims” means Claims which are: (a) secured by a valid and perfected lien in
collateral which is enforceable pursuant to applicable law, the amount of which is equal to or less
than the value of such collateral (i) as set forth in this Combined Disclosure Statement and Plan,
(ii) as agreed to by the Holder of such Claim and the Debtor, or (iii) as determined by a Final Order
in accordance with Bankruptcy Code section 506(a); or (b) subject to a valid right of setoff under
Bankruptcy Code section 553.

        “Silver Star Borrower” means Silver Star CRE, LLC, a Delaware special purpose entity
that is wholly owned by Silver Star Mezzanine Borrower.

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      “Silver Star Mezzanine Borrower” means Silver Star Mezzanine Borrower, LLC, a
Delaware special purpose entity wholly owned by the Debtor.

        “SPE Manager” means Hartman SPE Management, LLC, the Debtor’s manager.

        “State Court” means the District Court of Harris County, Texas.

        “State Court Lawsuit” means Cause No. 2023-17944, pending in the State Court.

       “Statutory Fees” means all fees payable to the U.S. Trustee pursuant to 28 U.S.C. § 1930,
and any interest thereupon.

        “Tax Code” means the United States Internal Revenue Code, as amended.

        “Trust” means the GS Mortgage Securities Trust 2018-HART.

       “Unimpaired” means, with respect to a Class of Claims or Interests, such Class is not
Impaired.

       “U.S. Bank” means U.S. Bank National Association, solely in its capacity as Trustee for
the benefit of the Holders of the GS Mortgage Securities Trust 2018-HART, Commercial
Mortgage Pass-Through Certificates, Series 2018-HART and the RR Interest Owner.

        “U.S. Trustee” means the Office of the United States Trustee for the District of Delaware.

      “Unexpired Lease” means a lease to which the Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

B.      Interpretation; Application of Definitions, and Rules of Construction

        The following rules of construction, interpretation, and application shall apply:

        (1)      Wherever from the context it appears appropriate, each term stated in either the
                 singular or the plural shall include both the singular and the plural and pronouns
                 stated in the masculine, feminine, or neuter gender shall include the masculine,
                 feminine, and neuter genders.

        (2)      Unless otherwise specified, each section, article, schedule, or exhibit reference in
                 this Combined Disclosure Statement and Plan is to the respective section in, article
                 of, schedule to, or exhibit to this Combined Disclosure Statement and Plan.

        (3)      The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar
                 import refer to this Combined Disclosure Statement and Plan as a whole and not to
                 any particular section, subsection, or clause contained in this Combined Disclosure
                 Statement and Plan.

        (4)      The rules of construction contained in Bankruptcy Code section 102 shall apply to
                 the construction of this Combined Disclosure Statement and Plan.


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        (5)      A term used herein that is not defined herein but that is used in the Bankruptcy
                 Code shall have the meaning ascribed to that term in the Bankruptcy Code.

        (6)      The headings in this Combined Disclosure Statement and Plan are for convenience
                 of reference only and shall not limit or otherwise affect the provisions of this
                 Combined Disclosure Statement and Plan.

        (7)      Unless otherwise provided, any reference in this Combined Disclosure Statement
                 and Plan to an existing document, exhibit, or schedule means such document,
                 exhibit, or schedule as may be amended, restated, revised, supplemented, or
                 otherwise modified.

        (8)      In computing any period of time prescribed or allowed by this Combined
                 Disclosure Statement and Plan, the provisions of Bankruptcy Rule 9006(a) shall
                 apply.

                                      IV.     DISCLOSURES

A.      General Background

        1.       Overview of Business Operations

        The Debtor is a Delaware special purpose entity formed on July 19, 2018. As of the Petition
Date, it held title to 35 Properties that included office, retail, and industrial properties with an
estimated value of over $400 million. The Debtor is the sole owner of each Property. From the
Petition Date to the date of this Combined Disclosure Statement and Plan, the Debtor sold seven
(7) Properties for an aggregate, gross sales price of approximately $80.7 million. Sales will
continue during the pendency of the Chapter 11 Case.

         Prepetition, the Debtor began the process of transitioning its Properties from office, retail,
and industrial assets into self-storage properties. On the Effective Date, the Debtor will transfer its
remaining Properties to Silver Star Borrower. After the Effective Date, the Reorganized Debtor
will be the sole member of Silver Star Mezzanine Borrower, which will, in turn, be the sole
member of Silver Star Borrower. Thus, Silver Star Borrower will be the owner of the Debtor’s
Properties remaining on the Effective Date and will continue to transition those Properties from
office, retail, and industrial properties into self-storage assets.

        Although the Debtor itself is manager-managed by SPE Manager, the Properties are
managed by the Debtor’s affiliate (Property Manager) pursuant to the Management Agreement.
Substantially all the Debtor’s back-office and vendor-procurement services, including
management and employees, are provided by Property Manager through the Management
Agreement. Except for tenant lease agreements, which are signed by the Debtor, Property Manager
is the entity that generally executes executory contracts with the vendors who provide services to
the Debtor, as well as other non-debtor entities within the corporate enterprise. In some instances,
the Debtor remits payment equal to its share of services received to vendors directly. In other
instances, and in the ordinary course of business, the Debtor reimburses the non-Debtor affiliates
for the reasonable and necessary expenses incurred or monies advanced in connection with the
management and operation of the Debtor’s properties.

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           2.       Capital Structure of the Company

                    (i)       Equity

        The Debtor’s members are the Majority Member, owner of 97.53% of the Debtor’s
Interests, and the Hartman Minority Member, owner of 2.47% of the Debtor’s Interests. Silver Star
Properties REIT, Inc., the Debtor’s ultimate, indirect parent, is a non-traded public REIT with
approximately 4,300 shareholders.

                    (ii)      Secured Debt

       On October 1, 2018, the Debtor closed on the Prepetition Loan, a term loan agreement with
Goldman Sachs Mortgage, as lender, in the principal amount of $259 million that was secured by,
among other things, first mortgages, deeds of trust, and similar instruments on the Debtor’s fee
simple interest in 39 office, retail, and industrial properties located in Houston, Dallas/Ft. Worth,
and San Antonio Texas.2 The mortgages were securitized and sold into the commercial
mortgage-backed securities market. KeyBank acts as servicer and special servicer for the debt and
U.S. Bank National Association acts as certificate administrator, custodian, and trustee.

        The Loan Agreement had an initial maturity of October 9, 2020, with three, one-year
extension options. On October 9, 2022, the Debtor exercised the third and final one-year maturity
date extension option to extend the maturity date to October 9, 2023.

        On October 19, 2022, the Debtor received notice of an Event of Default (as defined under
the Prepetition Loan Documents) from KeyBank. The default arose from the Debtor’s alleged
noncompliance with the Prepetition Loan Documents’ insurance requirements relating to a single
property, which has since been sold. The Event of Default triggered cash management provisions
that have been in effect since November 2022, restricting the Debtor’s access to tenant receipts,
which is discussed in the Motion of the Debtor for Interim and Final Orders (I) Authorizing Debtor
to (A) Continue Using Existing Cash Management Systems, Bank Accounts and Business Forms,
(B) Implement Changes to its Cash Management System in the Ordinary Course of Business, and
(C) Continue to Perform Intercompany Transactions; and (II) Granting Released Relief [Docket
No. 13].

       As of the Petition Date, the Prepetition Loan had an outstanding balance of approximately
$217.3 million.

       In addition to the Prepetition Loan, certain of the Debtor’s Properties are subject to
mechanic and materialman liens, which are currently under review. All Allowed Claims arising
from valid mechanic and materialman liens will be satisfied pursuant to this Combined Disclosure
Statement and Plan by attaching to the proceeds of the Exit Loan Facility.

                    (iii)     Sales Tax, Gross Receipts Tax, Income Tax, and Ad Valorem Tax
                              Liabilities



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    The Debtor sold four properties prior to the Petition Date.


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        In the ordinary course of business, the Debtor’s operations gave rise to sales tax, gross
receipts tax, income tax, and ad valorem tax liabilities. The Debtor obtained interim authority from
the Bankruptcy Court to pay such taxes by order entered on September 15, 2023 [Docket No. 32]
and final authority on October 16, 2023 [Docket No. 156]. In addition, as described further below,
certain of the Debtor’s ad valorem tax liabilities constitute secured claims and, with the
Bankruptcy Court’s approval, have been or will be satisfied from designated sales proceeds
generated by certain of the Debtor’s sale of properties that the applicable tax authorities asserted
were subject to liens securing such taxes.

                 (iv)   Unsecured Debt and Trade Creditors

       The Debtor’s review and reconciliation of Filed Proofs of Claim is ongoing. Except as
noted below, amounts disclosed are taken from the Debtor’s Schedules.

        Trade and Other Unsecured Debt. The Debtor’s Schedules reflect trade and other unsecured
debt (excluding amounts noted above) as of the Petition Date in the approximate amount of $20.6
million.

        Priority Claims and Priority Tax Claims. The Debtor’s Schedules do not reflect any
liquidated priority unsecured debts owing as of the Petition Date.

      Summary. As of the Petition Date, as reflected in the Debtor’s Schedules, the aggregate
amount owed to all the Debtor’s prepetition secured and unsecured debtholders was approximately
$242 million.

        3.       Events Precipitating the Chapter 11 Filing

         On October 1, 2018, the Debtor closed on the Prepetition Loan in the principal amount of
approximately $259 million. The Prepetition Loan was secured by, among other things, first
mortgages, deeds of trust, and similar instruments on the Debtor’s fee simple interest in 39 office,
retail, and industrial properties located in Houston, Dallas/Ft. Worth, and San Antonio Texas. The
Prepetition Loan had an initial maturity of October 9, 2020, with three, optional one-year extension
options. On October 9, 2022, the Debtor exercised the third and final one-year maturity date
extension agreement to extend the Maturity Date to October 9, 2023.

         Prepetition, the Debtor began the process of transitioning its business model from office,
industrial, and retail space into self-storage and began liquidating its portfolio of Properties to
facilitate the transition. The Debtor’s efforts have led to a substantial pay down of the Prepetition
Loan and opened the door for refinancing. In this regard, on January 4, 2023, the Debtor and certain
affiliates engaged Raymond James & Associates Inc. (“Raymond James”) to assist it in obtaining
a loan, the proceeds of which would be used to, among other things, refinance the Prepetition Loan.
Debtor and Raymond James made substantial progress and, after considering a number of
alternatives, signed a preliminary term sheet with Exit Lender in June 2023, on terms similar to
those set forth on the Exit Facility Term Sheet, with certain Debtor and non-debtor owned
properties to serve as collateral.




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         The Debtor, however, was unable to consummate the loan due to the improper cloud on
title caused by the actions of Allen R. Hartman and the Hartman Minority Member that holds a
2.47% Interest in the Debtor.

       On March 20, 2023, the Hartman Minority Member and Allen R. Hartman filed Plaintiff’s
Original Petition in the District Court of Harris County Texas, commencing the State Court
Lawsuit. The Original Petition has been amended twice, resulting in the Plaintiff’s Third Amended
Original Petition and Petition for Declaratory Relief filed on September 4, 2023, naming the
following defendants: Silver Star Properties REIT, Inc. (f/k/a Hartman Short Term Income
Properties XX, Inc.), Hartman Income REIT Property Holdings, LLC, Hartman XXI Advisors,
LLC, Silver Star Property Management, Inc., Hartman SPE, LLC (the Debtor), Hartman Income
REIT, Inc. and Hartman Retail I, DST. The current plaintiffs in the State Court Lawsuit are the
Hartman Minority Member, Allen R. Hartman, and REIT Property Management, LLC.

        Although the Original Petition was filed in March 2023, the Debtor did not receive notice
of the lawsuit until July 19, 2023, when it received a copy of the petition for the first time as an
attachment to an improper lis pendens the Hartman Minority Member filed against one of its
Properties. The Hartman Minority Member has since filed multiple improper lis pendens against
the Debtor’s Properties.

       As relevant here, the Third Amended Original Petition alleges that the Hartman Minority
Member, via its 2.47% membership interest in the Debtor, owns an undivided interest in the
Debtor’s Properties. Specifically, the Hartman Minority Member alleges that:

        Plaintiff Hartman XXI owns a 2.47% interest in Hartman SPE, LLC, a wholly
        owned subsidiary of Silver Star. Hartman XXI also owns both common shares and
        operating unit in Silver Star. Therefore, pursuant to these ownership rights,
        Hartman XXI owns an undivided interest, legal and equitable or otherwise, in the
        properties owned by Defendant Hartman SPE, LLC.

Am. Pet. at 8. The defendants in the State Court Lawsuit filed a motion to expunge or cancel the
lis pendens on July 25, 2023, and a motion to dismiss the Amended Petition on August 8, 2023;
however, the State Court had not ruled as of the Petition Date.

        Not only did the Hartman Minority Member’s actions prevent the Debtor from obtaining
financing, but they also threatened the Debtor’s ability to sell its Properties. For example, to close
on the prepetition sale of its Prestonwood Park property, the Debtor was required to reduce the
purchase price by $125,000, place $2.7 million into escrow, and provide various indemnities, all
as a direct result of the Hartman Minority Member’s allegations in the State Court Lawsuit. This
escrow was in addition to $1 million the buyer had to place into escrow pending resolution of the
cloud on title.

         The State Court Plaintiff’s actions are particularly troubling since they were fully aware
that the Prepetition Loan was in default and would mature on October 9, 2023. Despite this, the
plaintiffs continued with their course of action, leaving the Debtor with no viable option other than
to file for bankruptcy relief before the Prepetition Loan matured in order to preserve the purchase
and sale agreements that were negotiated prior to the Petition Date.


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        Because of this, in early September 2023, the Debtor’s management team, together with
its professionals, determined that a chapter 11 process that includes section 363 sales of property
free and clear of all Liens, Claims, encumbrances, and other interests (including the cloud on title)
was the best and most value maximizing path forward.

B.      The Chapter 11 Case

        1.       First Day Orders

       On the Petition Date, the Debtor Filed the First Day Motions to transition into operations
during the Chapter 11 Case, stabilize operations, and preserve relationships with vendors, clients,
and employees.

        The First Day Motions requested relief from the Bankruptcy Court to, among other things:
(a) maintain the Debtor’s cash management system; (b) obtain authority to use cash collateral;
(c) pay insurance, taxes, and other amounts in the ordinary course; and (d) provide adequate
assurance to utility companies. In support of the motions, the Debtor relied upon the First Day
Declaration. The Bankruptcy Court held a hearing on the First Day Motions on September 15,
2023, and granted the relief sought in the First Day Motions on an interim basis. In the absence of
objections, no hearing was necessary for final approval of the First Day Motions. The Bankruptcy
Court entered final orders on the First Day Motions on or about October 16, 2023.

        2.       The Declaratory Judgment Action

        On September 28, 2023, the Debtor filed an Adversary Complaint against the Hartman
Minority Member seeking, among other relief, a declaratory judgment that the Hartman Minority
Member has no interest in the Properties and the Debtor is entitled to an order discharging and
expunging the improper lis pendens the Hartman Minority Member filed against certain of the
Properties. On November 27, 2023, the Bankruptcy Court signed a Stipulated Final Judgment
ruling, among other things, that: (a) Hartman Minority Member does not possess any interest in
the Debtor’s real property, including, without limitation, the Properties, under Section 24 of the
Limited Liability Company Agreement dated July 19, 2018, as amended, and 6 Del. C. § 18-701;
and (b) each lis pendens Hartman Minority Member filed against the Debtor’s Properties shall be
automatically deemed discharged, expunged and cancelled.

        With the Stipulated Final Judgment in place, the Debtor and certain of its affiliates and the
Exit Lender and certain of its affiliates continued in discussions regarding the terms of one or more
loans to be used to refinance the Prepetition Loan, pay Allowed Claims in full, and provide funds
to permit the Debtor to continue to transition its business model into self-storage properties, the
proposed terms of which are set forth in the indicative Exit Facility Term Sheet. The Exit Facility
Documents will be filed with the Plan Supplement and will only be binding upon the parties in
accordance with their express terms.

        3.       Retention of Professionals

      The Debtor, through various applications that were subsequently approved by the
Bankruptcy Court, employed Katten Muchin Rosenman LLP as counsel [Docket No. 159],
Chipman Brown Cicero & Cole LLP as local counsel [Docket No. 160], Hirsch & Westheimer,

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P.C. as special real estate counsel [Docket No. 219], and Epiq Corporate Restructuring as claims
and noticing agent [Docket No. 31] and administrative advisor [Docket No. 76]. The Debtor also
filed an application to authorize the retention of Raymond James as the Debtor’s investment banker
in relation to the Exit Facility [Docket No. 385], which is pending with the Bankruptcy Court.

        4.       Appointment of the Committee

        On September 22, 2023, the U.S. Trustee officially appointed the Committee [Docket
No. 56]. The Committee is made up of the following parties: Engie Resources, LLC; Pritchard
Industries Southwest, LLC, and Amity Construction Co.

       The Committee selected Fox Rothschild LLP to serve as its counsel, whose retention was
approved by the Court on October 25, 2023 [Docket No. 208] and Phoenix Management Services,
LLC as its financial advisor, whose retention was approved by the Court on November 9, 2023
[Docket No. 244].

        5.       Cash Collateral

        On the Petition Date, the Debtor filed its Motion of Debtor for Entry of Interim and Final
Orders (I) Authorizing the Use of Cash Collateral; (II) Granting Adequate Protection;
(III) Modifying Automatic Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief
[Docket No. 15] seeking authority for the consensual use of KeyBank’s cash collateral during the
pendency of the Chapter 11 Case. The request was granted on an interim basis on September 15,
2023 [Docket No. 35] and on a final basis on October 16, 2023 [Docket No. 167].

        6.       Monthly Reporting, Schedules, and Meeting of Creditors

       The Debtor has timely filed all monthly operating reports [Docket Nos. 193, 289, and 349]
and timely filed its Schedules on October 10, 2023 [Docket Nos. 141 and 142] and amended
Schedules on November 13, 2023 [Docket No. 271]. The section 341 meeting of creditors was
held on October 18, 2023.

        7.       Claims Process and Bar Date

      The Bankruptcy Court entered a Bar Date Order on October 13, 2023 [Docket No. 162].
The General Bar Date was November 13, 2023, and the Governmental Bar Date is March 11, 2024.

        All creditors holding or wishing to assert unsecured or secured, priority or nonpriority
Claims (as defined in Bankruptcy Code section 101(5)) against the Debtor or the Debtor’s Estate,
accruing prior to the Petition Date, including Claims arising under Bankruptcy Code
section 503(b)(9), were required to file a separate, completed, and executed Proof of Claim Form
on account of each such Claim, together with accompanying documentation by the General Bar
Date. Governmental Units, as defined by Bankruptcy Code section 101(27), must submit Claims
by the Governmental Bar Date.

       The Debtor believes that after the reconciliation and Claims objection process is complete,
the Debtor’s total General Unsecured Claims liability should not be materially more than reported


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in its Schedules. However, the Debtor’s Claims review is ongoing, and its assessments are subject
to change.

C.      Summary of Assets

        The Debtor’s estate is currently comprised of 28 Properties with an estimated market value
of approximately $285 million. A list of the Properties currently owned by the Debtor is attached
hereto as Exhibit B; however, additional sales may occur during the pendency of the Chapter 11
Case.

D.      Potential Claims and Causes of Action

        The Bankruptcy Code preserves the Debtor’s rights to prosecute Claims and Causes of
Action that exist in and outside of bankruptcy and empowers the Debtor or Reorganized Debtor to
prosecute certain Claims that are established by the Bankruptcy Code. This Combined Disclosure
Statement and Plan preserves all of the Debtor’s rights with respect to all Estate Causes of Actions,
vests the Debtor’s rights in respect of such Estate Causes of Action in the Reorganized Debtor and
empowers the Reorganized Debtor to investigate, prosecute, collect, and/or settle the Estate Causes
of Action as deemed appropriate by the Debtor or Reorganized Debtor in the exercise of its
business judgment.

         Except as otherwise provided in this Combined Disclosure Statement and Plan, all Estate
Causes of Action, known or unknown, that the Debtor and Debtor’s Estate may hold against any
Person or Entity shall, on the Effective Date, automatically vest in the Reorganized Debtor, free
and clear of all Liens, Claims, encumbrances, and other interests. The Reorganized Debtor shall
have the exclusive right, authority, and discretion to institute, prosecute, abandon, settle, or
compromise any and all such Causes of Action without the consent or approval of any third party
and without any further order of the Bankruptcy Court. From and after the Effective Date, the
Reorganized Debtor shall retain and possess the sole and exclusive right to commence, pursue,
settle, compromise, or abandon, as appropriate, all Estate Causes of Action, whether arising before
or after the Petition Date, in any court or other tribunal.

        To date, the Debtor has identified the following potential Claims and Causes of Action that
constitute Estate Causes of Action:3

                All Claims and Causes of Action arising from or related to the case styled Allen R.
                 Hartman and Hartman vREIT XXI, Inc. v Silver Star Properties REIT, Inc. (f/k/a
                 Hartman Short Term Income Properties XX, Inc.), et al., Case No. 2023-17944
                 pending in the District of Harris County, Texas, 133 rd Judicial District;

                All Claims and Causes of Action arising from or related to the case styled Hartman
                 SPE, LLC v. Hartman vREIT XXI, Inc., Adv. Proc. No. 23-50588-MFW pending
                 in the Bankruptcy Court;


3
 Again, this list is non-exclusive. The Debtor and the Committee continue to investigate potential Estate Causes of
Action.


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                All Claims and Causes of Action against the Allen Hartman and Hartman vREIT
                 XXI, Inc., including but not limited to those arising under:

                       o Texas Business & Commerce Code Section 27.01, including claims for
                         fraud in real estate transactions;

                       o RICO claims for conspiracy;

                       o Violation of Texas Rule of Civil Procedure 11, including claims for
                         frivolous lawsuits/claims;

                       o Breach of fiduciary duty claims;

                       o Claims for ultra vires acts;

                       o Claims for tortious interference;

                       o Claims for self-dealing;

                       o Claims for slander of title;

                       o Claims under Section 12.0002 of the Texas Civil Practices and
                         Remedies Code; and

                       o Claims under Chapter 12 of the Texas Real Property Code.

       Creditors and Interest Holders should not assume that the absence of their name from
the identified potential Claims and Causes of Action set forth above is indicative of an intent
that potential Claims and Causes of Action against such creditor or Holder will not be
prosecuted. This Combined Disclosure Statement and Plan preserves all potential Claims
and Causes of Action.

E.      Certain Federal Income Tax Consequences

        Introduction. The following discussion summarizes certain of the material United States
federal income tax consequences expected to result from the implementation of this Combined
Disclosure Statement and Plan. This discussion is based on current provisions of the Internal
Revenue Code of 1986, as amended (the “Tax Code”), applicable Treasury Regulations, judicial
authority, and current administrative rulings and pronouncements of the Internal Revenue Service
(the “IRS”). There can be no assurance that the IRS will not take a contrary view, and no ruling
from the IRS has been or will be sought. Legislative, judicial, or administrative changes or
interpretations may be forthcoming that could alter or modify the statements and conclusions set
forth herein. Any such changes or interpretations may or may not be retroactive and could affect
the tax consequences to, among others, the Debtor and the Holders of Claims. The following
summary is for general information only. The federal income tax consequences of this Combined
Disclosure Statement and Plan are complex and subject to significant uncertainties. This summary
does not address foreign, state, or local tax consequences of this Combined Disclosure Statement
and Plan, nor does it purport to address all of the federal income tax consequences of this

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Combined Disclosure Statement and Plan. This summary also does not purport to address the
federal income tax consequences of this Combined Disclosure Statement and Plan to taxpayers
subject to special treatment under the federal income tax laws, such as broker-dealers, tax exempt
entities, financial institutions, insurance companies, S corporations, small business investment
companies, mutual funds, regulated investment companies, foreign corporations, and nonresident
alien individuals.

       IRS Circular 230 Notice: To comply with U.S. treasury regulations, be advised that
any U.S. federal tax advice included in this communication (and it is not intended that any
such advice be given in this Combined Disclosure Statement and Plan) is not intended or
written to be used, and cannot be used, to avoid any U.S. federal tax penalties or to promote,
market, or recommend to another party any transaction or matter.

        Federal Income Tax Consequences to Creditors. Given that all Allowed Claims are to be
paid in full in Cash or Reinstated under this Combined Disclosure Statement and Plan, the Debtor
does not anticipate that this Combined Disclosure Statement and Plan will have material income
tax consequences for creditors.

     EACH HOLDER OF A CLAIM IS STRONGLY URGED TO CONSULT ITS OWN
TAX ADVISOR REGARDING THE POTENTIAL FEDERAL, STATE, LOCAL, OR
FOREIGN TAX CONSEQUENCES OF THE PLAN.

F.      Certain Risk Factors to Be Considered

        The following provides a summary of important considerations and risk factors associated
with this Combined Disclosure Statement and Plan. However, it is not exhaustive. Holders of
Claims against and Interests in the Debtor should read and carefully consider the factors set forth
below. The post-Confirmation reorganization of the Debtor involves a degree of risk, however
small, and this Combined Disclosure Statement and Plan and certain of its appendices contain
forward-looking statements that involve risks and uncertainty. The Reorganized Debtor’s actual
results could differ materially from those anticipated in such forward-looking statements as a result
of a variety of factors, including those set forth in the following risk factors and elsewhere in this
Combined Disclosure Statement and Plan. Holders of Claims or Interests should consider carefully
the following factors in addition to the other information contained in this Combined Disclosure
Statement and Plan.

        General Bankruptcy Considerations. This Combined Disclosure Statement and Plan sets
forth the means for satisfying the Claims against and Interests in the Debtor. Allowed Claims are
expected to be paid in full in Cash on the Effective Date or following their Allowance in
accordance with the payment terms of this Combined Disclosure Statement and Plan. Certain
Allowed Claims will be Reinstated and paid in full in accordance with their terms. Nevertheless,
there are some risks to consummation of this Combined Disclosure Statement and Plan. This
Combined Disclosure Statement and Plan has been proposed after a careful consideration of all
reasonable restructuring alternatives. Despite the risks inherent in this Combined Disclosure
Statement and Plan, as described herein, the Debtor believes that this Combined Disclosure
Statement and Plan is in the best interests of Creditors and Holders of Interests when compared to
all reasonable alternatives.


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        Section 1129 of the Bankruptcy Code requires, among other things, a showing that
confirmation of this Combined Disclosure Statement and Plan will not be followed by liquidation
or the need for further financial reorganization of the Debtor. Although the Debtor believes that
this Combined Disclosure Statement and Plan will meet such tests, there can be no assurance that
the Bankruptcy Court will reach the same conclusion. If a liquidation or protracted reorganization
were to occur, there is a significant risk that the value of the Debtor’s enterprise would be
substantially eroded to the detriment of all stakeholders. The Debtor’s future results are dependent
upon the successful Confirmation and implementation of a plan of reorganization. Failure to obtain
this approval in a timely manner could adversely affect the Debtor’s operating results since the
Debtor’s relations with tenants and suppliers may be harmed by protracted bankruptcy
proceedings. Once a plan of reorganization is approved and implemented, the Debtor’s operating
results may be adversely affected by the possible reluctance of prospective tenants and suppliers
to do business with a company that recently emerged from bankruptcy proceedings.

       Claims Estimation. There can be no assurance that the Debtor’s estimated Claim amounts
are correct. The actual Allowed amount of Claims likely will differ in some respect from the
estimates. The estimated amounts are subject to certain risks, uncertainties, and assumptions.
Should one or more of these risks or uncertainties materialize, or should underlying assumptions
prove incorrect, the actual Allowed amount of Claims may vary from those estimated herein.

       The Debtor is subject to the risks and uncertainties associated with the Chapter 11 Case.
For the duration of the Chapter 11 Case, the Debtor’s operations and its ability to execute its
business strategy will be subject to risks and uncertainties associated with bankruptcy. These risks
include, but are not limited to:

                the Debtor’s ability to obtain Bankruptcy Court approval with respect to motions
                 filed in the Chapter 11 Case from time to time, including any appeals of such
                 rulings;

                the Debtor’s ability to comply with and operate under orders entered by the
                 Bankruptcy Court;

                the length of time the Debtor will remain in bankruptcy and its ability to
                 successfully emerge;

                the Debtor’s ability to develop, prosecute, confirm, and consummate this Combined
                 Disclosure Statement and Plan;

                the Debtor’s ability to meet all conditions precedent to the Effective Date of this
                 Combined Disclosure Statement and Plan;

                the Debtor’s ability to continue as a going concern;

                the ability of third parties to seek and obtain court approval to terminate or shorten
                 the exclusivity period for the Debtor to propose and confirm a Chapter 11 plan of
                 reorganization in order to propose and confirm a competing or alternative plan;



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                the ability of third parties to seek and obtain court approval for the appointment of
                 a Chapter 11 trustee or conversion the Chapter 11 Case to a chapter 7 case;

                the Debtor’s ability to assume or assume and assign material executory contracts
                 and unexpired leases of nonresidential real property; and

                the Debtor’s ability to fund and execute its reorganization business plan.

         A Lengthy Bankruptcy Proceeding Could Disrupt the Debtor’s Business, as Well as Impair
the Prospect for Reorganization on the Terms Contained in a Plan. While the Debtor expects that
the Chapter 11 Case will be of short duration and will not be unduly disruptive to its business,
there is no assurance that this will be the case. An extended stay in bankruptcy could have adverse
effects on the Debtor’s operations, including that tenants could opt to move after their lease term
or otherwise execute termination options or the Debtor’s business partners could demand financial
assurances or enhanced performance, any of which could impair business prospects.

       The Debtor Will Also Be Subject to Risks and Uncertainties with Respect to the Actions
and Decisions of its Creditors and other Third Parties Who Have Interests in The Chapter 11 Case
that May Be Inconsistent with the Debtor’s Plans. These risks and uncertainties could affect the
Debtor’s business and operations in various ways. For example, negative events or publicity
associated with the Chapter 11 Case could adversely affect the Debtor’s relationships with its
vendors and tenants, which in turn could adversely affect the Debtor’s operations and financial
condition. Also, the Debtor needs Bankruptcy Court approval for transactions outside the ordinary
course of business, which may limit the Debtor’s ability to respond timely to events or take
advantage of opportunities. Because of the risks and uncertainties associated with the Chapter 11
Case, the Debtor cannot predict or quantify the ultimate impact that events occurring during the
Chapter 11 Case will have on its business, financial condition, and results of operations.

        The Court May Require the Debtor to Solicit Votes. The Debtor does not intend to impair
Claims or Interests under this Combined Disclosure Statement and Plan. Nevertheless, there can
be no assurance that the Bankruptcy Court will agree that claims and interests are Unimpaired and
require solicitation of acceptances.

       Failure to Obtain Exit Financing. Failure to obtain adequate exit financing could result in
delayed recovery for Holders of Claims entitled to a Distribution.

       Additional Administrative Expense Claims. Any delay in Confirmation of this Combined
Disclosure Statement and Plan or delay to the Effective Date could result in additional
Administrative Expense Claims. This may endanger the ultimate effectiveness of this Combined
Disclosure Statement and Plan or result in a delayed recovery for Holders of Claims entitled to a
Distribution.

        The Debtor’s Cash Flow and Ability to Meet Its Obligations Could Be Adversely Affected
if It Has Insufficient Liquidity for Its Business Operations During the Chapter 11 Case. Although
the Debtor believes that it will have sufficient liquidity to operate its business during the pendency
of the Chapter 11 Case, there can be no assurance that the revenue generated by the Debtor’s
business operations and cash made available to the Debtor will be sufficient to fund its operations


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and the professional and other fees related to the restructuring. As a result, the Debtor’s ability to
continue as a going concern is dependent upon its emergence from bankruptcy.

        Financial Information Is Based on the Debtor’s Books and Records and, Unless Otherwise
Stated, No Audit Was Performed. The financial information contained in this Combined
Disclosure Statement and Plan has not been audited. In preparing this Combined Disclosure
Statement and Plan, the Debtor relied on financial data derived from its books and records that was
available at the time of such preparation. Although the Debtor has used its reasonable business
judgment to ensure the accuracy of the financial information provided in this Combined Disclosure
Statement and Plan, and while the Debtor believes that such financial information fairly reflects,
in all material respects, the financial results of the Debtor, the Debtor is unable to warrant or
represent that the financial information contained herein and attached hereto is without
inaccuracies.

        Financial Projections and Other Forward-Looking Statements Are Not Assured, Are
Subject to Inherent Uncertainty Due to Numerous Assumptions Upon Which They Are Based and,
as a Result, Actual Results May Vary. This Combined Disclosure Statement and Plan contains
various projections concerning the financial results of the Reorganized Debtor’s operations,
including the financial projections that are, by their nature, forward-looking, and which necessarily
base projections on certain assumptions and estimates. Should any or all of these assumptions or
estimates ultimately prove to be incorrect, the actual future financial results of the Reorganized
Debtor may turn out to be different from the financial projections. The Debtor cautions each reader
of this Combined Disclosure Statement and Plan to carefully consider those factors set forth above
and the acknowledgements contained in this section of this Combined Disclosure Statement and
Plan. Such factors have, in some instances, affected and in the future could affect the ability of the
Debtor to achieve its projected results and may cause actual results to differ materially from those
expressed herein. The Debtor undertakes no obligation to update any forward-looking statements
in this Combined Disclosure Statement and Plan. The Distribution projections, and other
information contained herein and attached hereto are estimates only, and the timing and amount
of actual Distributions to Holders of Allowed Claims may be affected by many factors that cannot
be predicted. Therefore, any analyses, estimates, or recovery projections may not turn out to be
accurate.

G.      Feasibility

       The Bankruptcy Code requires that, in order for a plan to be confirmed, the Bankruptcy
Court must find that confirmation of such plan is not likely to be followed by the liquidation or
need for further reorganization of the debtor unless contemplated by the plan.

        For purposes of determining whether this Combined Disclosure Statement and Plan meets
this requirement, the Debtor has analyzed its ability to meet its obligations under this Combined
Disclosure Statement and Plan and retain sufficient liquidity and capital resources to conduct its
business. The Debtor’s management, with the assistance of their advisors, have prepared certain
financial projections for fiscal years 2024-2026. These projections and the assumptions upon
which they are based, will be filed as part of the Plan Supplement.




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         In general, as illustrated by the financial projections, the Debtor believes that with the Exit
Facility provided under this Combined Disclosure Statement and Plan, the Reorganized Debtor
should have sufficient cash flow and availability to make all payments required pursuant to this
Combined Disclosure Statement and Plan while conducting ongoing business operations. The
Debtor believes that Confirmation and consummation of this Combined Disclosure Statement and
Plan is therefore not likely to be followed by the liquidation or further reorganization. Accordingly,
the Debtor believes that this Combined Disclosure Statement and Plan satisfies the feasibility
requirement of section 1129(a)(11) of the Bankruptcy Code.

H.      Best Interests Test

        The Bankruptcy Code requires that the Bankruptcy Court determine that a plan accepted
by the requisite number of creditors in an impaired class provides each such member of each
impaired class of claims and interests a recovery that has value, on the effective date, at least equal
to the value of the recovery that each such creditor would receive if the debtor was liquidated under
chapter 7 of the Bankruptcy Code. Under this Combined Disclosure Statement and Plan, all
Holders of Claims and Interests are Unimpaired and are deemed to accept this Combined
Disclosure Statement and Plan. Accordingly, the “Best Interests Test” is not applicable to this
Combined Disclosure Statement and Plan.

I.      No Unfair Discrimination

        The Debtor believes the treatment of Claims and Interests described in this Combined
Disclosure Statement and Plan are fair and equitable and do not discriminate unfairly. The
proposed treatment of Claims and Interests provides that each Holder of such Claim or Interest
will be treated identically within their respective class and that, except when agreed to by such
Holder, no Holder of any Claim or Interest junior will receive or retain any property on account of
such junior Claim or Interest.

J.      Releases by the Debtor

        Article XI of this Combined Disclosure Statement and Plan contains certain releases,
exculpations, and injunction language. Parties are urged to read these provisions carefully to
understand how Confirmation and consummation of this Combined Disclosure Statement and Plan
will affect any Claim, Interest, right, or action regarding the Debtor and certain third parties.

     THE PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST THE DEBTOR
TO THE FULLEST EXTENT AUTHORIZED OR PROVIDED UNDER THE
APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE AND ALL OTHER
APPLICABLE LAW.

       Article XI.C of this Combined Disclosure Statement and Plan provides for a release by the
Debtor of the Released Parties. The Debtor is not aware of any potential Claims or Causes of
Action against the Released Parties.

       The Debtor is also not aware of any Claims or Causes of Action against its current
professionals, the Committee and members of the Committee, the Committee’s Professionals, or
any of their respective direct and indirect current and former Affiliates, subsidiaries, partners

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(including general partners and limited partners), investors, managing members, members,
officers, directors, principals, employees, managers, controlling persons, agents, attorneys,
investment bankers, Professionals, advisors, and representatives, each in their capacity as such,
but excluding all officers and directors of the Debtor who were not serving in that capacity as of
the Effective Date.

                    V.      TREATMENT OF UNCLASSIFIED CLAIMS

       In accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims,
Professional Fee Claims, and Priority Tax Claims are not classified and are not entitled to vote on
this Combined Disclosure Statement and Plan.

A.      Administrative Expense Claims

        Requests for payment of Administrative Expense Claims, other than Professional Fee
Claims, must be Filed no later than the applicable Administrative Expense Bar Date. Holders of
Administrative Expense Claims that do not File requests for the allowance and payment thereof
on or before the applicable Administrative Expense Bar Date shall forever be barred from asserting
such Administrative Expense Claims against the Debtor or its Estate. This provision does not apply
to 28 U.S.C. § 1930 obligations, including U.S. Trustee fees and court costs, which are payable as
a condition to Confirmation.

         Except to the extent that a Holder of an Allowed Administrative Expense Claim agrees to
a less favorable treatment or has been paid by any applicable Debtor prior to the Effective Date,
in full and final satisfaction, settlement, release, and discharge of and in exchange for release of
each Allowed Administrative Expense Claim, each Holder of an Allowed Administrative Expense
Claim will be paid the full unpaid amount of such Allowed Administrative Expense Claim in Cash
(i) on the Effective Date or as soon thereafter as is reasonably practicable or, if not then due, when
such Allowed Administrative Expense Claim is due or as soon thereafter as is reasonably
practicable, (ii) if an Administrative Expense Claim is Allowed after the Effective Date, on the
date such Administrative Expense Claim is Allowed or as soon thereafter as is reasonably
practicable or, if not then due, when such Allowed Administrative Expense Claim is due, or (iii)
at such time and upon such terms as set forth in an order of the Bankruptcy Court.

B.      Professional Fee Claims

       All Professionals or other Persons requesting compensation or reimbursement of
Professional Fee Claims for services rendered before the Effective Date (including compensation
requested by any Professional or other entity for making a substantial contribution in the Chapter
11 Case) shall File an application for final allowance of compensation and reimbursement of
expenses no later than the Professional Fee Claims Bar Date.

        The Final Fee Hearing to determine the allowance of Professional Fee Claims shall be held
as soon as practicable after the Professional Fee Claims Bar Date. The Debtor’s counsel shall File
a notice of the Final Fee Hearing. Such notice shall be served upon counsel for the Committee, all
Professionals, the U.S. Trustee, and all parties on the Debtor’s Bankruptcy Rule 2002 service list.



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        Allowed Professional Fee Claims of the Professionals shall be paid (i) as soon as is
reasonably practicable following the later of (a) the Effective Date and (b) the date upon which the
order relating to any such Allowed Professional Fee Claim is entered by the Bankruptcy Court, or
(ii) upon such other terms as agreed by the Holder of such an Allowed Professional Fee Claims.

        Except as otherwise specifically provided in this Combined Disclosure Statement and Plan,
from and after the Confirmation Date, the Debtor shall, in the ordinary course of business and
without any further notice to or action, order, or approval of the Bankruptcy Court, pay in Cash
the reasonable and documented legal, professional, or other fees and expenses related to
implementation of this Combined Disclosure Statement and Plan and consummation incurred by
the Debtor. Upon the Confirmation Date, any requirement that Professionals comply with
Bankruptcy Code sections 327 through 331, 363, and 1103 in seeking retention or compensation
for services rendered after such date shall terminate, and the Debtor may employ and pay any
Professional in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court.

C.      Priority Tax Claims

        Except to the extent the Debtor and the Holder of an Allowed Priority Tax Claim agree to
a different and less favorable treatment, the Debtor shall pay, in full satisfaction and release of
such Claim, to each holder of a Priority Tax Claim, Cash, in an amount equal to such Allowed
Priority Tax Claim, on the later of: (i) the Effective Date and (ii) the first Business Day after the
date that is 30 calendar days after the date on which such Priority Tax Claim becomes an Allowed
Priority Tax Claim, or as soon thereafter as is reasonably practicable.

D.      Statutory Fees

        All Statutory Fees incurred prior to the Effective Date shall be paid by the Debtor on the
Effective Date. After the Effective Date, the Reorganized Debtor shall pay all such fees when due
and payable and shall File with the Bankruptcy Court quarterly reports in a form reasonably
acceptable to the U.S. Trustee, until such time that the Chapter 11 Case is closed, dismissed, or
converted to a case under chapter 7 of the Bankruptcy Code.

     VI.         CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS AND
                                       INTERESTS

A.      Treatment of Claims and Interests Under this Combined Disclosure Statement and
        Plan

        Classification and Treatment Generally. Pursuant to sections 1122 and 1123 of the
Bankruptcy Code, set forth below is a designation of Classes of Claims and Interests, which are
placed in a particular Class for all purposes under this Combined Disclosure Statement and Plan,
including, without limitation, voting, Confirmation, and receiving Distributions under this
Combined Disclosure Statement and Plan, as set forth herein. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Claims arising under sections 507(a)(2) or 507(a)(8)
of the Bankruptcy Code are not classified and their treatment is set forth in Article V.

        The following chart summarizes the classification and treatment of the Classes:

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    Class                              Estimated Allowed            Treatment             Summary of
                                       Claims4                                            Treatment
    Class 1 – Allowed                  $217,276.867.595             Unimpaired,           100%
    Prepetition Lender Secured                                      deemed to
    Claim arising under                                             accept.
    Prepetition Loan Documents
    Class 2 – Allowed Other    $3,233,997.70                        Unimpaired,           100%
    Secured Claims                                                  deemed to
                                                                    accept
    Class 3 – Allowed Other            $0                           Unimpaired,           100%
    Priority Claims                                                 deemed to
                                                                    accept
    Class 4 – Allowed General          $20,292,1626                 Unimpaired,           100%
    Unsecured Claims,                                               deemed to
    including Intercompany                                          accept
    Claims and Deficiency
    Claims
    Class 5 – Interests                n/a                          Unimpaired,           Reinstated
                                                                    deemed to
                                                                    accept

            1.     Class 1: – Allowed Prepetition Lender Secured Claim arising under
                   Prepetition Loan Documents

        Treatment: The Allowed Prepetition Lender Secured Claim will be paid in full at closing
with the proceeds of the Exit Facility. For the avoidance of doubt, upon the payment in full of the
Prepetition Lender Secured Claim as provided in this Plan, any and all Liens securing the
Prepetition Lender Secured Claim shall automatically and without further action be released and
be of no further force or effect.

        Impairment and Voting: Class 1 is Unimpaired, and all Holders of the Class 1 Claim are
conclusively deemed to have accepted this Combined Disclosure Statement and Plan and are not
entitled to vote on this Combined Disclosure Statement and Plan.



4
  Except with respect to Class 1, the amounts listed represent estimated Allowed Claims and do not represent amounts
actually asserted by creditors in Proofs of Claim or otherwise. The Debtor has not completed its analysis of Claims in
the Chapter 11 Case, and objections to such Claims have not been Filed and/or fully litigated and may continue
following the Effective Date. Therefore, there can be no assurances of the exact amount of the Allowed Claims at this
time. Rather, the actual amount of the Allowed Claims may be greater or lower than estimated.
5
  The amount to be paid in satisfaction of the Prepetition Lender Secured Claim shall be subject to adjustment as of
the date it is paid in full, with such payment to include all amounts due or to come due under the Prepetition Loan
Documents.
6
 The amount to be paid in satisfaction of each Class 4 Allowed Claim shall be subject to adjustment as of the date
such Claim is paid in full, with such payment to include all accrued interest in accordance with this Combined
Disclosure Statement and Plan.


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        2.       Class 2: – Allowed Other Secured Claims

        Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
to less favorable treatment, each holder of an Allowed Other Secured Claim shall receive, in
exchange for full and final satisfaction, settlement, release, and discharge of such Claim, the
following, at the option of the Debtor:

                 (a) Payment of an Allowed Other Secured Claim in full in Cash;

                 (b) Reinstatement of such Allowed Other Secured Claim; or

                 (c) Such other treatment rendering such Allowed Other Secured Claim Unimpaired.

For the avoidance of doubt, on the Effective Date, any and all liens securing the Other Secured
Claims shall automatically and without further action transfer from the Properties and attach to the
proceeds of the Exit Facility, from which the Allowed Other Secured Claims shall be satisfied.

        Impairment and Voting: Class 2 is Unimpaired, and all Holders of Class 2 Claims are
conclusively deemed to have accepted this Combined Disclosure Statement and Plan and are not
entitled to vote on this Combined Disclosure Statement and Plan.

        3.       Class 3: – Allowed Other Priority Claims

        Treatment: Except to the extent that a Holder of an Other Priority Claim agrees to less
favorable treatment, in exchange for full and final satisfaction, settlement, release, and discharge
of such Claim, each Holder of such Other Priority Claim shall receive the following at the option
of the Debtor:

                 (a) Payment of an Allowed Other Priority Claim in full in Cash;

                 (b) Reinstatement of such Other Priority Claim; or

                 (c) Such other treatment rendering such Other Priority Claim Unimpaired.

        Impairment and Voting: Class 3 is Unimpaired, and all Holders of Class 3 Claims are
conclusively deemed to have accepted this Combined Disclosure Statement and Plan and are not
entitled to vote on this Combined Disclosure Statement and Plan.

        4.       Class 4: – Allowed General Unsecured Claims, including Intercompany
                 Claims and Deficiency Claims

        Treatment: Except to the extent that a Holder of an Allowed General Unsecured Claim
agrees to less favorable treatment, each Holder of an Allowed General Unsecured Claim shall, in
exchange for full and final satisfaction, settlement, release, and discharge of such Claim, receive
at the sole option of the Debtor either:

               (a) Payment in Cash in the full amount of an Allowed General Unsecured Claim
plus interest on such Allowed General Unsecured Claim from the Petition Date to the date of


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payment at the Federal Judgment Rate, which payment shall occur on the later of (i) as soon as
reasonably practicable after the Effective Date, but in no event later than five (5) business days
after the Effective Date (or if a General Unsecured Claim is Allowed after the Effective Date, on
the date such General Unsecured Claim is Allowed or as soon thereafter as is reasonably
practicable, but in no event later than five (5) business days after such General Unsecured Claim
is Allowed) or, (ii) if not then due, when such Allowed General Unsecured Claim is due in
accordance with the terms and conditions of the particular transaction giving rise to such Allowed
General Unsecured Claim; or

             (b) Such other treatment as would render such General Unsecured Claim otherwise
Unimpaired pursuant to section 1124 of the Bankruptcy Code.

        Impairment and Voting: Class 4 is Unimpaired, and all Holders of Class 4 Claims are
conclusively deemed to have accepted this Combined Disclosure Statement and Plan and are not
entitled to vote on this Combined Disclosure Statement and Plan.

        5.       Class 5 - Interests

        Treatment: All Holders of Interests shall retain the Interests.

        Impairment and Voting: Class 5 is Unimpaired, and all Holders of Class 5 Interest are
conclusively deemed to accept this Combined Disclosure Statement and Plan and are not entitled
to vote on this Combined Disclosure Statement and Plan.

                           VII.    CONFIRMATION PROCEDURES

A.      Confirmation Procedures

        1.       Confirmation Hearing

        The Confirmation Hearing before the Bankruptcy Court has been scheduled for February
7, 2024 at 11:30 a.m. (Prevailing Eastern Time) at the United States Bankruptcy Court, 824
North Market Street, 6th Floor, Wilmington, DE 19801 to consider (a) approval of this Combined
Disclosure Statement and Plan as providing adequate information pursuant to Bankruptcy Code
section 1125, and (b) Confirmation of this Combined Disclosure Statement and Plan pursuant to
Bankruptcy Code section 1129. The Confirmation Hearing may be adjourned from time to time
by the Bankruptcy Court without further notice, except for an announcement of the adjourned date
made at the Confirmation Hearing.

        2.       Procedure for Objections

        Any objection to Confirmation of this Combined Disclosure Statement and Plan must be
made in writing and specify in detail the name and address of the objector, all grounds for the
objection and the amount of the Claim held by the objector. Any such objection must be Filed by
January 31, 2024 with the Bankruptcy Court and served on counsel for the Debtor, the Committee,
the Exit Facility Agent, the U.S. Trustee, and all parties who have Filed a request for notice in this
Chapter 11 Case, as set forth in the Confirmation Hearing Notice. Unless an objection is timely
Filed and served, it may not be considered by the Bankruptcy Court.

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        3.       Requirements for Confirmation

        The Bankruptcy Court will confirm this Combined Disclosure Statement and Plan only if
the requirements of Bankruptcy Code section 1129 are met. As set forth in this Combined
Disclosure Statement and Plan, the Debtor believes that this Combined Disclosure Statement and
Plan: (a) meets the feasibility requirements; (b) is in the best interests of creditors; (c) has been
proposed in good faith; and (d) meets all other technical requirements imposed by the Bankruptcy
Code.

B.      No Solicitation Required

        Holders of Claims and Interests in all Classes are Unimpaired. Under Bankruptcy Code
section 1126(f), Holders of such Claims and Interests are conclusively presumed to have accepted
this Combined Disclosure Statement and Plan, and the votes of the Holders of such Claims and
Interests shall not be solicited.

 VIII. IMPLEMENTATION AND EXECUTION OF THIS COMBINED DISCLOSURE
                         STATEMENT AND PLAN

A.      Funding

       Distributions under this Combined Disclosure Statement and Plan will be funded from the
Debtor’s Cash on hand, including funds from the Exit Facility, as of the Effective Date.

B.      Class 4 Reserve

        Notwithstanding anything herein to the contrary, on the Effective Date, the Debtor shall
establish and maintain a separate reserve account funded from Cash on hand and the Exit Facility
in an amount of $20,292,162 (the “Class 4 Reserve”), which, for the avoidance of doubt, shall
include interest on such Claims at Federal Judgment Rate from the Petition Date through the
Effective Date. In addition, Debtor shall supplement the Class 4 Reserve on the first Business Day
of each quarter following the Effective Date with additional accrued interest on the outstanding
balance of the Class 4 Reserve. Separately, the Debtor may supplement the Class 4 Reserve from
time-to-time as need to satisfy the Debtor’s obligations under this Combined Disclosure Statement
and Plan. Payments made to Allowed General Unsecured Claims shall be funded by the Class 4
Reserve; provided, however, that the foregoing shall not be construed as a cap or limitation on the
source of funds payable to Holders of Allowed General Unsecured Claims. For the avoidance of
doubt, the funds in the Class 4 Reserve shall be used solely to fund payments on account of
Allowed General Unsecured Claims. Upon full satisfaction of Allowed General Unsecured Claims,
the Class 4 Reserve may be closed, and the remaining funds paid to the Reorganized Debtor.

       The Reorganized Debtor will prepare and File quarterly reports regarding the status of the
Class 4 Claim reconciliation process, including information regarding Distributions from the
Class 4 Reserve.




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C.      Effective Date

        The Effective Date shall not occur until the conditions for the Effective Date are satisfied
or otherwise waived in accordance with the terms of this Combined Disclosure Statement and Plan.
Upon occurrence of the Effective Date, the Debtor shall File the notice of Effective Date.

D.      General Settlement of Claims and Interests

        As provided herein, pursuant to Bankruptcy Code section 1123 and Bankruptcy Rule 9019,
and in consideration for the classification, Distributions, releases, and other benefits provided
under this Combined Disclosure Statement and Plan, upon the Effective Date, the provisions of
this Combined Disclosure Statement and Plan shall constitute a good faith compromise and
settlement of all Claims and Interests and controversies resolved pursuant to this Combined
Disclosure Statement and Plan. This Combined Disclosure Statement and Plan shall be deemed a
motion to approve the good faith compromise and settlement of all such Claims, Interests, and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under Bankruptcy
Code section 1123 and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that
such settlement and compromise is fair, equitable, reasonable and in the best interests of the Debtor
and its Estate.

E.      Restructuring Transactions

         On or before the Effective Date, the Debtor or the Reorganized Debtor shall enter into and
shall take any actions as may be necessary or appropriate to effect the Restructuring Transactions.
The actions to implement the Restructuring Transactions may include: (1) the execution and
delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale,
purchase, or liquidation containing terms that are consistent with the terms of this Combined
Disclosure Statement and Plan and that satisfy the applicable requirements of applicable law and
any other terms to which the applicable Entities may agree; (2) the execution and delivery of
appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property,
right, liability, debt, or obligation on terms consistent with the terms of this Combined Disclosure
Statement and Plan and having other terms for which the applicable parties agree; (3) the filing of
appropriate certificates or articles of incorporation, formation, reincorporation, merger,
consolidation, conversion, amalgamation, arrangement, continuance, or dissolution pursuant to
applicable state or provincial law; and (4) all other actions that the applicable Entities determine
to be necessary, including making filings or recordings that may be required by applicable law in
connection with this Combined Disclosure Statement and Plan. The Confirmation Order shall, and
shall be deemed to, pursuant to Bankruptcy Code sections 363 and 1123, authorize, among other
things, all action as any be necessary or appropriate to effect any transaction described in,
contemplated by, or necessary to effectuate this Combined Disclosure Statement and Plan.

F.      Section 1145 Exemption

       In accordance with Bankruptcy Code section 1145, the retention under this Combined
Disclosure Statement and Plan of the Interests is exempt from all federal, state, or local law


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requiring registration for offer or sale of a security or registration or licensing of an issuer of,
underwriter of, or broker dealer in such securities and is not deemed to be a public offer of such
securities.

G.      Reorganized Debtor

        The Reorganized Debtor shall be authorized to adopt any agreements, documents, and
instruments and to take any other actions contemplated under this Combined Disclosure Statement
and Plan as necessary to consummate this Combined Disclosure Statement and Plan. Cash
payments to be made pursuant to this Combined Disclosure Statement and Plan will be made by
the Debtor or Reorganized Debtor. The Debtor and its affiliates, including Property Manager,
Silver Star Borrower, Silver Star Mezzanine Borrower, Portfolio Borrower and Portfolio
Mezzanine Borrower, will be entitled to transfer funds between and among themselves as they
determine to be necessary or appropriate to enable the Debtor or Reorganized Debtor, as
applicable, to satisfy its obligations under this Combined Disclosure Statement and Plan. Except
as set forth herein, any changes in intercompany account balances resulting from such transfers
will be accounted for and settled in accordance with the Debtor’s historical intercompany account
settlement practices and will not violate the terms of this Combined Disclosure Statement and Plan.

        From and after the Effective Date, the Reorganized Debtor, subject to any applicable
limitations set forth in any post-Effective Date agreement, shall have the right and authority
without further order of the Bankruptcy Court to raise additional capital and obtain additional
financing, subject to the New Organizational Documents, if applicable, and the Exit Facility
Documents, as the Reorganized Debtor deems appropriate.

H.      Post-Confirmation Management

      The day-to-day operations of the Reorganized Debtor will continue to be managed by SPE
Manager.

I.      Corporate Action; Effectuating Documents

        Upon the Effective Date, all actions contemplated under this Combined Disclosure
Statement and Plan shall be deemed authorized and approved in all respects, including:
(1) implementation of the Restructuring Transactions; (2) entry into the Exit Facility Documents;
(3) all other actions contemplated under this Combined Disclosure Statement and Plan (whether
to occur before, on, or after the Effective Date); (4) adoption of the New Organizational
Documents, if applicable; (5) assumption of Executory Contracts and Unexpired Leases; and (6)
all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the Restructuring Transactions contemplated by this Combined Disclosure Statement
and Plan (whether to occur before, on, or after the Effective Date). All matters provided for in this
Combined Disclosure Statement and Plan involving the corporate structure of the Debtor or the
Reorganized Debtor, and any corporate, partnership, limited liability company, or other
governance action required by the Debtor or the Reorganized Debtor, as applicable, in connection
with this Combined Disclosure Statement and Plan shall be deemed to have occurred and shall be
in effect, without any requirement of further action by the Interest Holders, members, directors, or
officers of the Debtor or the Reorganized Debtor, as applicable. On or (as applicable) prior to the


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Effective Date, the appropriate officers of the Debtor or the Reorganized Debtor, as applicable,
shall be authorized and (as applicable) directed to issue, execute, and deliver the agreements,
documents, and instruments contemplated under this Combined Disclosure Statement and Plan (or
necessary or desirable to effect the transactions contemplated under this Combined Disclosure
Statement and Plan) in the name of and on behalf of the Reorganized Debtor, including the New
Organizational Documents, if applicable, the Exit Facility Documents, and any and all other
agreements, documents, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Article VIII.I shall be effective notwithstanding any requirements
under non-bankruptcy law.

J.      New Organizational Documents

        On or immediately prior to the Effective Date, the New Organizational Documents, if any,
shall be automatically adopted by the Reorganized Debtor. To the extent required under this
Combined Disclosure Statement and Plan or applicable non-bankruptcy law, the Reorganized
Debtor will file its New Organizational Documents with the applicable Secretaries of State and/or
other applicable authorities in state or country of organization if and to the extent required in
accordance with the applicable laws of the respective state or country of organization. The New
Organizational Documents will prohibit the issuance of non-voting equity securities, to the extent
required under Bankruptcy Code section 1123(a)(6). After the Effective Date, the Reorganized
Debtor may amend and restate its New Organizational Documents in accordance with the terms
thereof, and the Reorganized Debtor may file such amended certificates or articles of
incorporation, bylaws, or such other applicable formation documents, and other constituent
documents as permitted by the laws of the respective states, provinces, or countries of
incorporation and the New Organizational Documents.

K.      Indemnification Obligations

        All indemnification provisions currently in place (whether in the by-laws, certificates of
incorporation or formation, limited liability company agreements, other organizational documents,
board resolutions, indemnification agreements, employment contracts, or otherwise) as of the
Petition Date for the current and former directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtor, as applicable, shall, to the
fullest extent permitted by applicable law, be reinstated and remain intact, irrevocable, and shall
survive the Effective Date on terms no less favorable to such current and former directors, officers,
managers, employees, attorneys, accountants, investment bankers, and other professionals of the
Debtor than the indemnification provisions in place prior to the Effective Date.

L.      Directors and Officers of the Reorganized Debtor

       As of the Effective Date, the Debtor will continue to be manager-managed by SPE
Manager. Property Manager’s officers will be: David Wheeler, President and Chief Executive
Officer; Louis T. Fox, III, Treasurer; and Adrienne Collins, General Counsel and Secretary.

M.      Effectuating Documents; Further Transactions

     On and after the Effective Date, the Reorganized Debtor, and its officers, directors,
members, or managers (as applicable), are authorized to and may issue, execute, deliver, file, or

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record such contracts, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms
and conditions of this Combined Disclosure Statement and Plan in the name of and on behalf of
the Reorganized Debtor, without the need for any approvals, authorization, or consents except for
those expressly required pursuant to this Combined Disclosure Statement and Plan.

        On and after the Effective Date, at the request of the Debtor, Reorganized Debtor or Exit
Lender, the Holder of the Prepetition Lender Secured Claim or any Holder of an Other Secured
Claim shall properly execute, and notarize where necessary, such documents as the Debtor,
Reorganized Debtor or Exit Lender deems reasonably necessary to release such Holder’s liens and
security interests against any of the Properties.

N.       Sources of Consideration for Distributions

        The Debtor and the Reorganized Debtor, as applicable, shall fund Distributions under this
Combined Disclosure Statement and Plan with: (1) Cash on hand, including Cash from operations;
and (2) the proceeds from the Exit Facility.

O.       Exit Facility

        The Exit Facility Documents will be filed with the Plan Supplement and will only be
binding upon the parties in accordance with their express terms. 7 Nothing in this Combined
Disclosure Statement and Plan, including the Exit Facility Term Sheet, should be construed as a
commitment by Exit Lender or any of its affiliates to provide a loan or other financial
accommodation to the Debtor or any of its affiliates. The terms and conditions of the Exit Facility
Documents, including those set forth in the Exit Facility Term Sheet, are subject to modification
or adjustment by Exit Lenders at any time, up to and including closing. Notwithstanding the
foregoing, the Exit Lender has spent considerable resources in furtherance of the Exit Facility,
including spending approximately ninety (90) days prior to the Petition Date completing its due
diligence on the collateral properties proposed to secure the Exit Facility, processing the financial
underwriting underlying the Exit Facility, and negotiating the Exit Facility Documents, and Exit
Lender’s investment committee has preliminarily approved the Exit Facility.

        On the Effective Date, the Debtor’s remaining Properties shall be transferred to Silver Star
Borrower free and clear of all Liens, Claims, encumbrances, and other interests, and Exit Lender
shall make two loans under the Exit Facility Documents: (a) an approximate $105 million loan to
Silver Star Borrower and Portfolio Borrower, as co-borrowers; and (b) an approximate $15 million
loan to Silver Star Mezzanine Borrower and Portfolio Mezzanine Borrower, as co-borrowers.
These amounts are subject to adjustment to the extent that the Exit Facility closes after the sales
of underwritten Properties have closed. The Exit Facility loan to Silver Star Borrower and
Portfolio Borrower, as co-borrowers, shall be secured by perfected, first priority liens on the
parcels of non-residential assets to be held by Silver Star Borrower and the three properties that

7
 The description of the Exit Facility and the Exit Facility Documents contained in this Combined Disclosure Statement
and Plan is summary in nature and qualified in full by the terms of the Exit Facility Documents. In the event of any
inconsistency between the terms of the Exit Facility Documents and this Combined Disclosure Statement and Plan,
the terms of the Exit Facility Documents shall govern.


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will be held by the Portfolio Borrower. The Exit Facility Loan to Silver Star Mezzanine Borrower
and Portfolio Mezzanine Borrower will be secured by a perfected, first priority pledges and
security interests in and too 100% of the membership interests of Silver Star Borrower and
Portfolio Borrower, respectively. The mortgage loans will be cross-collateralized amongst
themselves and mezzanine loans will be cross-collateralized amongst themselves, with the
mezzanine loan to the mezzanine borrowers being structurally subordinated to the mortgage loan
to Silver Star Borrower and Portfolio Borrower.

        On the Effective Date, and upon closing of the Exit Facility, Exit Lender shall distribute
or cause to be distributed sufficient funds directly to the Class 4 Reserve, which will be used solely
to pay Allowed General Unsecured Claims pursuant to the terms of the Combined Disclosure
Statement and Plan. The funding of the Class 4 Reserve shall be specifically set forth in the final
settlement sheet upon closing of the Exit Facility. Any such funds remaining after all Allowed
General Unsecured Claims have been satisfied in full shall be paid to the Reorganized Debtor.

         To the extent applicable, Confirmation of this Combined Disclosure Statement and Plan
shall be deemed (i) approval of the Exit Facility (including the transactions and related agreements
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be
incurred and fees and expenses to be paid by the Debtor or the Reorganized Debtor, as applicable,
in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(ii) authorization for the Debtor or the Reorganized Debtor, as applicable, to, without further notice
to or order of the Bankruptcy Court, (a) execute and deliver those documents and agreements
necessary or appropriate to pursue or obtain the Exit Facility, including the Exit Facility
Documents, and incur and pay any fees and expenses in connection therewith, and (b) act or take
action under applicable law, regulation, order, or rule or vote, consent, authorization, or approval
of any Person, subject to such modifications as the Debtor or the Reorganized Debtor, as
applicable, may deem to be necessary to consummate the Exit Facility.

         As of the Effective Date, the Liens securing the Exit Facility shall constitute valid, binding,
enforceable, and automatically perfected Liens in the collateral specified in the Exit Facility
Documents. To the extent provided in the Exit Facility Documents, the Exit Facility Agent or
holder(s) of Liens under the Exit Facility Documents are authorized to file with the appropriate
authorities mortgages, financing statements and other documents, and to take any other action in
order to evidence, validate, and perfect such Liens or security interests. The guarantees, mortgages,
pledges, Liens, and other security interests retained and/or granted to secure the obligations arising
under the Exit Facility Documents have been retained and/or granted in good faith, for legitimate
business purposes, and for reasonably equivalent value as an inducement to the lenders thereunder
to extend credit thereunder and shall not constitute a fraudulent conveyance or fraudulent transfer
and shall not otherwise be subject to avoidance, recharacterization, or subordination for any
purposes whatsoever and shall not constitute preferential transfers or fraudulent conveyances
under the Bankruptcy Code or any applicable non-bankruptcy law, and the priorities of such Liens
and security interests shall be as set forth in the Exit Facility Documents. The Reorganized Debtor
and the persons and entities granted such Liens and security interests shall be authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to
establish and perfect such Liens and security interests under the provisions of the applicable state,
federal, or other law that would be applicable in the absence of this Combined Disclosure
Statement and Plan and the Confirmation Order (it being understood that perfection shall occur

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automatically by virtue of the entry of the Confirmation Order and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interests to third parties.

P.      Corporate Existence

         Except as otherwise provided in this Combined Disclosure Statement and Plan or any
agreement, instrument, or other document incorporated in this Combined Disclosure Statement
and Plan or the Plan Supplement, the Debtor shall continue to exist after the Effective Date as a
limited liability company with all the powers of a limited liability company pursuant to the laws
of the State of Delaware and pursuant to its certificate of incorporation and bylaws (or other
formation documents) in effect prior to the Effective Date, except to the extent such certificate of
incorporation and bylaws (or other formation documents) are amended under this Combined
Disclosure Statement and Plan or otherwise. To the extent such documents are amended, such
documents are deemed to be amended pursuant to this Combined Disclosure Statement and Plan
and require no further action or approval (other than any requisite filings required under applicable
state, provincial, or federal law). After the Effective Date, the Reorganized Debtor’s certificate of
incorporation and bylaws (or other formation documents) may be amended or modified on the
terms therein without supervision or approval by the Bankruptcy Court and free of any restrictions
of the Bankruptcy Code or Bankruptcy Rules.

Q.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in the Confirmation Order, this Combined Disclosure
Statement and Plan, the Exit Facility Documents, or any agreement, instrument, or other document
incorporated in, or entered into in connection with or pursuant to, this Combined Disclosure
Statement and Plan or Plan Supplement, on the Effective Date, all property of the Estate, all Causes
of Action, and any property acquired by the Debtor pursuant to this Combined Disclosure
Statement and Plan shall vest in the Reorganized Debtor, free and clear of all Liens, Claims,
encumbrances, and other interests. On and after the Effective Date, except as otherwise provided
in this Combined Disclosure Statement and Plan, the Reorganized Debtor may operate its business
and may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or
Causes of Action without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

R.      Section 1146 Exemption.

        To the fullest extent permitted by Bankruptcy Code section 1146(a), any transfers (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under this Combined
Disclosure Statement and Plan or pursuant to: (1) the issuance, distribution, transfer, or exchange
of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor; (2) the
Restructuring Transactions; (3) the creation, modification, consolidation, termination, refinancing,
and/or recording of any mortgage, deed of trust, or other security interest, or the securing of
additional indebtedness by such or other means; (4) the making, assignment, or recording of any
lease or sublease; (5) the grant of collateral as security for the Reorganized Debtor’s obligations
under and in connection with the Exit Facility; or (6) the making, delivery, or recording of any


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deed or other instrument of transfer under, in furtherance of, or in connection with, this Combined
Disclosure Statement and Plan, including any deeds, bills of sale, assignments, or other instrument
of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to this Combined Disclosure Statement and Plan, shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate
transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental
assessment and accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax, recordation fee, or governmental assessment. All
filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of Bankruptcy Code
section 1146(a), shall forego the collection of any such tax or governmental assessment, and shall
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax or governmental assessment.

                 IX.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Executory Contracts and Unexpired Leases

        On the Effective Date, all Executory Contracts or Unexpired Leases not otherwise rejected
will be deemed assumed by the Debtor and assigned to Silver Star Borrower in accordance with
the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those
that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule to be
filed with the Plan Supplement; (2) previously expired or terminated pursuant to their own terms;
(3) have been previously assumed and assigned by the Debtor pursuant to a Final Order; (4) are
the subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or
requested effective date of rejection that is after the Effective Date.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, or rejections of the Executory Contracts
or Unexpired Leases as set forth in this Combined Disclosure Statement and Plan or the Rejected
Executory Contracts and Unexpired Leases Schedule, pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Except as otherwise specifically set forth herein, assumptions and assignments
or rejections of Executory Contracts and Unexpired Leases pursuant to this Combined Disclosure
Statement and Plan are effective as of the Effective Date. Each Executory Contract or Unexpired
Lease assumed and assigned pursuant to this Combined Disclosure Statement and Plan or by
Bankruptcy Court order shall vest in and be fully enforceable by the assignee in accordance with
its terms, except as such terms may have been modified by the provisions of this Combined
Disclosure Statement and Plan or any order of the Bankruptcy Court authorizing and providing for
its assumption. Any motions to assume Executory Contracts or Unexpired Leases pending on the
Effective Date shall be subject to approval by a Final Order on or after the Effective Date but may
be withdrawn, settled, or otherwise prosecuted by the Reorganized Debtor.

       To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed or assumed and assigned pursuant to this Combined

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Disclosure Statement and Plan restricts or prevents, or purports to restrict or prevent, or is breached
or deemed breached by, the assumption or assumption and assignment of such Executory Contract
or Unexpired Lease (including any “change of control” provision), then such provision shall be
deemed modified such that the transactions contemplated by this Combined Disclosure Statement
and Plan shall not entitle the non-Debtor party thereto to terminate such Executory Contract or
Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in this Combined Disclosure Statement and Plan, the
Debtor or Reorganized Debtor reserves the right to alter, amend, modify, or supplement the
Rejected Executory Contracts and Unexpired Leases Schedule at any time up to and including the
later of (i) Confirmation or (ii) ten (10) days after entry of a Final Order resolving any dispute
regarding the assumption or rejection of an Executory Contract or Unexpired Lease.

B.      Rejection Claims

        In the event that the rejection of an Executory Contract or Unexpired Lease by the Debtor
pursuant to this Combined Disclosure Statement and Plan results in a Rejection Claim in favor of
a counterparty to such Executory Contract or Unexpired Lease, such Rejection Claim, if not
heretofore evidenced by a timely and properly Filed Proof of Claim, shall be forever barred and
shall not be enforceable against the Debtor, the Reorganized Debtor, or their respective properties
or interests in properties, unless a Proof of Claim is Filed with the Bankruptcy Court on or before
the later of date that is (i) 30 days after the Effective Date or (ii) 30 days after entry of a Final
Order (other than the Confirmation Order) authorizing the rejection of such Executory Contract or
Unexpired Lease. All Allowed Rejection Claims shall be treated as General Unsecured Claims
pursuant to the terms of this Combined Disclosure Statement and Plan.

        To the extent that any of the Debtor’s insurance policies are considered Executory
Contracts, then notwithstanding anything contained in this Combined Disclosure Statement and
Plan to the contrary, such insurance policies, shall be deemed assumed. Unless otherwise
determined by the Bankruptcy Court, pursuant to a Final Order, no payments are required to cure
any defaults of the Debtor existing as of the Confirmation Date with respect to each such policy.
For the avoidance of any doubt, all rights of the Debtor under any insurance policy that is not an
Executory Contract and was not transferred pursuant to any order of the Bankruptcy Court, and all
rights of the Debtor under any other insurance policies under which the Debtor may be a
beneficiary, shall be preserved and shall remain in full force and effect after the Effective Date for
the term thereof; and nothing herein shall alter or adversely affect the rights of any non-Debtor
beneficiaries of or covered Persons or Entities under such insurance policies.

C.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

       The Assumption Schedule attached hereto as Exhibit A includes a list of all Executory
Contracts and Unexpired Leases proposed to be assumed by the Debtor and assigned to Silver Star
Borrower on the Effective Date, the identities of the counterparties to such contracts and leases,
and the proposed Cure amount.

         Unless otherwise agreed in writing by the parties to the applicable Executory Contract or
Unexpired Lease, any objection by a counterparty to an Executory Contract or Unexpired Lease
to (i) the proposed assumption and assignment of such Executory Contract or Unexpired Lease;


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(ii) adequate assurance of future performance, or (iii) the proposed Cure amount must be Filed,
served, and actually received by the counsel to the Debtor on or before the date set forth in Article
II of this Combined Disclosure Statement and Plan. Any counterparty to an Executory Contract or
Unexpired Lease that fails to object timely to the proposed assumption and assignment, adequate
assurance of future performance, or Cure will be deemed to have consented to the Debtor’s
assumption and assignment.

        Any request for a Cure amount that differs from the amounts listed on Exhibit A that is not
timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion, and
shall not be enforceable against the Debtor, the Reorganized Debtor, Silver Star Borrower or their
respective properties or interests in property without the need for any objection by the Reorganized
Debtor or any other party in interest or any further notice to or action, order, or approval of the
Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and discharged upon
payment by the Debtor or the Reorganized Debtor of the Cure; provided that, nothing herein shall
prevent the Reorganized Debtor from paying any Cure despite the failure of the relevant
counterparty to file such request for payment of such Cure amount. The Reorganized Debtor also
may settle any Cure without any further notice to or action, order, or approval of the Bankruptcy
Court.

        The Debtor or the Reorganized Debtor, as applicable, shall pay the Cure amounts, if any,
on the Effective Date or as soon as reasonably practicable thereafter, or on such other terms as the
parties to such Executory Contracts or Unexpired Leases may agree. If there is any dispute
regarding any Cure, the ability of the Reorganized Debtor or any assignee to provide “adequate
assurance of future performance” within the meaning of section 365 of the Bankruptcy Code, or
any other matter pertaining to assumption, then payment of the applicable Cure amount shall occur
as soon as reasonably practicable after entry of a Final Order resolving such dispute, approving
such assumption and assignment, or as may be agreed upon by the Debtor or the Reorganized
Debtor, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. The
Debtor or Reorganized Debtor reserves the right to amend the Assumption Schedule at any time
up to and including the later of (i) Confirmation or (ii) ten (10) days after entry of a Final Order
resolving any objection lodged by the counterparty to an Executory Contract or Lease regarding
the proposed assumption and assignment, adequate protection, and/or Cure.

         Assumption of any Executory Contract or Unexpired Lease pursuant to this Combined
Disclosure Statement and Plan or otherwise shall result in the full release and satisfaction of any
Cures, Claims, or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or any bankruptcy-related
defaults, arising at any time prior to the effective date of assumption. Any and all Proofs of Claim
based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11
Case, including pursuant to the Confirmation Order, shall be deemed disallowed and expunged as
of the later of (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such assumption, (2) the effective date of such assumption, or (3) the Effective
Date without the need for further action.




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D.      Preexisting Obligations to the Debtor Under Executory Contracts and Unexpired
        Leases.

        Rejection of any Executory Contract or Unexpired Lease pursuant to this Combined
Disclosure Statement and Plan or otherwise shall not constitute a termination of preexisting
obligations owed to the Debtor or the Reorganized Debtor, as applicable, under such Executory
Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the
contrary, the Reorganized Debtor expressly reserves and does not waive any right to receive, or
any continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations with respect to goods previously purchased by the Debtor pursuant to rejected
Executory Contracts or Unexpired Leases.

E.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

F.      Contracts and Leases Entered Into After the Petition Date.

       Contracts and leases entered into after the Petition Date by the Debtor, including any
Executory Contracts and Unexpired Leases assumed by such Debtor, will be performed by the
Debtor or the Reorganized Debtor in the ordinary course of its business. Accordingly, such
contracts and leases (including any assumed Executory Contracts and Unexpired Leases) will
survive and remain unaffected by entry of the Confirmation Order.

                    X.     PROVISIONS GOVERNING DISTRIBUTIONS

A.      Provisions Governing Distributions Under this Combined Disclosure Statement and
        Plan

        1.       Distribution Record Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtor, or its agents, shall be
deemed closed, and there shall be no further changes in the record Holders of any of the Claims or
Interests. The Debtor shall have no obligation to recognize any ownership transfer of the Claims
or Interests occurring on or after the Distribution Record Date. The Debtor or any party responsible
for making Distributions shall be entitled to recognize and deal for all purposes under this
Combined Disclosure Statement and Plan only with those record Holders stated on the transfer
ledgers as of the close of business on the Distribution Record Date, to the extent applicable.

        2.       Method of Payment

       Except as otherwise provided herein, any Distributions and deliveries to be made hereunder
with respect to Claims that are Allowed as of the Effective Date shall be made on the Effective
Date or as soon thereafter as is reasonably practicable. Except as otherwise provided herein, any
Distributions and deliveries to be made hereunder with respect to Claims that are Allowed after

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the Effective Date shall be made as soon as is reasonably practicable after the date on which such
Claim becomes Allowed. In the event that any payment or act under this Combined Disclosure
Statement and Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on, or as soon as
reasonably practicable after, the next succeeding Business Day, but shall be deemed to have been
completed as of the required date.

        All Distributions hereunder shall be made by the Reorganized Debtor, or its named
successor or assign, as Disbursing Agent, on or after the Effective Date or as otherwise provided
herein. A Disbursing Agent shall not be required to give any bond or surety or other security for
the performance of its duties unless otherwise ordered by the Bankruptcy Court, and, in the event
that a Disbursing Agent is so ordered, all costs and expenses of procuring any such bond or surety
shall be borne by the Disbursing Agent.

        Unless otherwise expressly agreed in writing, all Cash payments to be made pursuant to
this Combined Disclosure Statement and Plan shall be made by check drawn on a domestic bank
or an electronic wire.

        3.       Surrender of Instruments

        Pursuant to Bankruptcy Code section 1143, as a condition precedent to receiving any
Distribution under this Combined Disclosure Statement and Plan, each Holder of a certificated
instrument or note must surrender such instrument or note held by it to the Disbursing Agent or its
designee. Any Holder of such instrument or note that fails to (a) surrender the instrument or note
or (b) execute and deliver an affidavit of loss and/or indemnity reasonably satisfactory to the
Disbursing Agent and furnish a bond in form, substance, and amount reasonably satisfactory to
the Disbursing Agent before the third anniversary of the Effective Date shall be deemed to have
forfeited all rights and Claims and may not participate in any Distribution hereunder.

        4.       Delivery of Distributions

        Except as otherwise provided herein, Distributions to Holders of Allowed Claims shall be
made: (a) at the addresses set forth on the respective Proofs of Claim Filed by such Holders; (b)
at the addresses set forth in any written notice of address changes delivered to the Debtor or
Reorganized Debtor after the date of any related Proof of Claim; or (c) at the address reflected in
the Schedules if no Proof of Claim is Filed and the Debtor or Reorganized Debtor has not received
a written notice of a change of address.

         Subject to applicable Bankruptcy Rules, all Distributions to Holders of Allowed Claims
shall be made to the Disbursing Agent who shall transmit such Distributions to the applicable
Holders of Allowed Claims or their designees. If any Distribution to a Holder of an Allowed Claim
is returned as undeliverable, the Disbursing Agent shall have no obligation to determine the correct
current address of such Holder, and no Distribution to such Holder shall be made unless and until
the Disbursing Agent is notified, in writing, by the Holder of the current address of such Holder
within ninety (90) days of such Distribution, at which time a Distribution shall be made to such
Holder without interest that accrues after such Distribution; provided that such Distributions shall
be deemed unclaimed property under Bankruptcy Code section 347(b) at the expiration of ninety


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(90) days from the Distribution. After such date, all unclaimed property or interest in property shall
revert to the Reorganized Debtor, and the Claim of any other Holder to such property or interest
in property shall be discharged and forever barred.

        5.       Objection to and Resolution of Claims

        Except as expressly provided herein, or in any order entered in the Chapter 11 Case prior
to the Effective Date, including the Confirmation Order, no Claim or Interest shall be deemed
Allowed unless and until such Claim or Interest is deemed Allowed under this Combined
Disclosure Statement and Plan (including expiration of the deadline to object to Claims set forth
herein) or the Bankruptcy Code or the Bankruptcy Court has entered a Final Order, including the
Confirmation Order, in the Chapter 11 Case allowing such Claim or Interest. On or after the
Effective Date, the Reorganized Debtor shall be vested with any and all rights and defenses the
Debtor had with respect to any Claim or Interest immediately prior to the Effective Date.

        On and after the Effective Date, the Reorganized Debtor, with respect to all Claims and
Interests, shall have exclusive authority to (a) file, withdraw, or litigate to judgment any objections
to Claims, (b) settle or compromise any such objections to Claims without further notice to or
action, order, or approval of the Bankruptcy Court, and (c) administer and adjust the Claims
Register to reflect such settlements or compromises without further notice to or action, order, or
approval of the Bankruptcy Court. Except as otherwise provided herein, from and after the
Effective Date, the Reorganized Debtor shall have and retain any and all rights and defenses it had
immediately prior to the Effective Date with respect to any Claim or Interest (including any
Disputed Claim or Interest), including the Causes of Action retained pursuant to this Combined
Disclosure Statement and Plan. Any objections to Claims shall be served and filed on or before
the later of (a) one hundred and twenty (120) days after the Effective Date or (b) such later date as
may be fixed by the Bankruptcy Court after reasonable notice and opportunity to object.

        6.       Amendments to Claims.

        On or after the Effective Date, a Claim may not be Filed or amended without the prior
authorization of the Bankruptcy Court or the Reorganized Debtor, and any such new or amended
Claim Filed shall be deemed disallowed in full and expunged without any further notice to or
action, order, or approval of the Bankruptcy Court to the maximum extent provided by applicable
law.

        7.       Single Satisfaction of Claims.

       The amount of each Allowed Claim shall be reduced by any payments received during the
Chapter 11 Case and in no case shall the aggregate value of all property received or retained under
the Plan on account of any Allowed Claim or Allowed Interest exceed 100 percent of the
underlying Allowed Claim or Allowed Interest.

        8.       Preservation of Rights to Settle Claims

       Except as otherwise expressly provided herein, nothing contained in this Combined
Disclosure Statement and Plan, other Plan Documents, or in the Confirmation Order shall be
deemed to be a waiver or the relinquishment of any rights or Causes of Action that the Debtor may

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have or may choose to assert on behalf of the Estate under any provision of the Bankruptcy Code
or any applicable non-bankruptcy law or rule, common law, equitable principle, or other source of
right or obligation, including, without limitation, (a) any and all Claims against any Person or
Entity, to the extent such Person or Entity asserts a crossclaim, counterclaim, and/or Claim for
setoff that seeks affirmative relief against the Debtor, its officers, directors, or representatives, and
(b) the turnover of property of the Estate. This Section shall not apply to any Claims sold, released,
waived, relinquished, exculpated, compromised, or settled under this Combined Disclosure
Statement and Plan or pursuant to a Final Order. Except as expressly provided in this Combined
Disclosure Statement and Plan, nothing contained in this Combined Disclosure Statement and
Plan, the Plan Documents, or in the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff, or other legal or equitable defense.
No Entity may rely on the absence of a specific reference in this Combined Disclosure Statement
and Plan to any Cause of Action against it as any indication that the Debtor or Reorganized Debtor
will not pursue any and all available Causes of Action against them. The Debtor and the
Reorganized Debtor expressly reserve all rights to prosecute any and all Causes of Action against
any Person or Entity, except as otherwise expressly provided in this Combined Disclosure
Statement and Plan.

        9.       Claims Paid or Payable by Third Parties

        Claims Paid by Third Parties. The Debtor or Reorganized Debtor, as applicable, shall
reduce in full a Claim, and such Claim shall be disallowed without a Claim objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court, to
the extent that the Holder of such Claim receives payment in full on account of such Claim from
a party that is not the Debtor or Reorganized Debtor. Subject to the last sentence of this paragraph,
to the extent the Holder of a Claim receives a Distribution on account of such Claim and receives
payment from a party that is not the Debtor or the Reorganized Debtor on account of such Claim,
such Holder shall, within fourteen (14) days of receipt thereof, repay or return the Distribution to
the Reorganized Debtor, to the extent the Holder’s total recovery on account of such Claim from
the third party and under this Combined Disclosure Statement and Plan exceeds the amount of
such Claim as of the date of any such Distribution under this Combined Disclosure Statement and
Plan. The failure of such Holder to timely repay or return such Distribution shall result in the
Holder owing the Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until
the amount is repaid.

        Claims Payable by Third Parties. No Distributions under this Combined Disclosure
Statement and Plan shall be made on account of an Allowed Claim that is payable pursuant to one
of the Debtor’s insurance policies until the Holder of such Allowed Claim has exhausted all
remedies with respect to such insurance policy. To the extent that the Debtor’s insurers agree to
satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
jurisdiction), then immediately upon such insurer’s agreement, the applicable portion of such
Claim may be expunged without a Claims objection having to be Filed and without any further
notice to or action, order, or approval of the Bankruptcy Court.

       Except as otherwise provided in this Combined Disclosure Statement and Plan,
Distributions to holders of Allowed Claims shall be in accordance with the provisions of any

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applicable insurance policy. Nothing contained in this Combined Disclosure Statement and Plan
shall constitute or be deemed a waiver of any Cause of Action that the Debtor or any Entity may
hold against any other Entity, including insurers under any policies of insurance, nor shall anything
contained herein constitute or be deemed a waiver by such insurers of any defenses, including
coverage defenses, held by such insurers.

        10.      Miscellaneous Distribution Provisions

         Disputed Claims. At such time as a Disputed Claim becomes an Allowed Claim, the
Disbursing Agent shall distribute to the Holder of such Claim, such Holder’s Pro Rata Share of
the property distributable with respect to the Class in which such Claim belongs. To the extent that
all or a portion of a Disputed Claim is Disallowed, the Holder of such Claim shall not receive any
Distribution on account of the portion of such Claim that is Disallowed, and any property withheld
pending the resolution of such Claim shall be reallocated Pro Rata to the Holders of Allowed
Claims in the same Class or, once Claims are paid in full, revert to the Reorganized Debtor.

        Distributions after Allowance. To the extent that a Disputed Claim becomes an Allowed
Claim after the Effective Date, a Distribution shall be made to the Holder of such Allowed Claim
in accordance with the provisions of this Combined Disclosure Statement and Plan. As soon as
practicable after the date that the order or judgment of the Bankruptcy Court allowing any Disputed
Claim becomes a Final Order, the Disbursing Agent shall provide to the Holder of such Claim the
Distribution to which such Holder is entitled hereunder.

       Setoff. The Debtor or Reorganized Debtor, as applicable, retains the right to reduce any
Claim by way of setoff in accordance with the Debtor’s books and records and in accordance with
the Bankruptcy Code. Any reduction of any Claim by way of setoff shall be subject to entry of a
Final Order approving such setoff or agreement of the applicable parties.

       Compliance with Tax Requirements. In connection with this Combined Disclosure
Statement and Plan, to the extent applicable, the Debtor, Reorganized Debtor, Disbursing Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting
requirements imposed on them by any Governmental Unit, and all Distributions made pursuant to
this Combined Disclosure Statement and Plan shall be subject to such withholding and reporting
requirements. Notwithstanding any provision in this Combined Disclosure Statement and Plan to
the contrary, such parties shall be authorized to take all actions necessary or appropriate to comply
with such withholding and reporting requirements.

        11.      Disputed Claims Reserve

       On or after the Effective Date, in addition to the Class 4 Reserve, the Reorganized Debtor
may establish any other reserves, in its sole discretion, for Claims that are contingent, unliquidated,
or have not yet been Allowed, in an amount or amounts as reasonably determined by the
Reorganized Debtor, consistent with the Proof of Claim Filed by the applicable Holder.




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     XI.      SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.         Discharge

        Except as provided in this Combined Disclosure Statement and Plan or the Confirmation
Order, the rights granted under this Combined Disclosure Statement and Plan and the treatment of
Claims under this Combined Disclosure Statement and Plan shall be in full and final satisfaction,
discharge, and release of all Claims. Except as provided in this Combined Disclosure Statement
and Plan or the Confirmation Order, Confirmation of this Combined Disclosure Statement and
Plan discharges the Debtor and Reorganized Debtor from all Claims or other debts that arose
before the Confirmation Date, and all debts of the kind specified in Bankruptcy Code sections
502(g), 502(h), or 502(i), whether or not: (i) a proof of claim based on such debt is filed or deemed
filed under Bankruptcy Code section 501; (ii) a Claim based on such debt is Allowed under
Bankruptcy Code section 502; or (iii) the holder of a Claim based on such debt has accepted this
Combined Disclosure Statement and Plan. Without limiting the foregoing, the discharge granted
under this Combined Disclosure Statement and Plan is granted to the fullest extent allowed under
Bankruptcy Code sections 1141(a), 1141(b), 1141(c), and 1141(d)(1).

B.         Term of Injunctions or Stays

        Unless otherwise provided in this Combined Disclosure Statement and Plan or
Confirmation Order, all injunctions or stays provided for in the Chapter 11 Case pursuant to
sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date (excluding any injunctions or stays contained in this Combined Disclosure Statement and
Plan or Confirmation Order), shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in this Combined Disclosure Statement and Plan or the Confirmation
Order shall remain in full force and effect in accordance with their terms.

C.         Releases by the Debtor

        Except as otherwise provided herein, upon the later to occur of the Effective Date or
funding of the Class 4 Reserve, for good and valuable consideration, each of (i) the Debtor’s
current and former officers, directors, principals, members, managers, professionals, advisors,
accountants, attorneys, investment bankers, consultants, employees, agents, and other
representatives; (ii) Property Manager and its current and former officers, directors, principals,
members, managers, professionals, advisors, accountants, attorneys, investment bankers,
consultants, employees, agents, and other representatives, in each case solely in their capacity as
such but in all cases excluding the Allen Hartman Parties, are deemed released and discharged by
the Debtor and its Estate from any and all claims, obligations, suits, judgments, damages, demands,
debts, rights, causes of action and liabilities, whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, arising in law,
equity or otherwise that the Debtor or its Estate would have been legally entitled to assert in their
own right or on behalf of the Holder of any Claim or other Person, based on or relating to, or in
any manner arising from, in whole or in part, the Debtor, such released party’s prepetition or
postpetiton relationship with the Debtor, the Chapter 11 Case, this Combined Disclosure Statement
and Plan, the negotiation, formulation or preparation of this Combined Disclosure Statement and
Plan, the Plan Supplement, or related agreements, instruments, or other documents in connection


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with the transactions contemplated under this Combined Disclosure Statement and Plan, or any
other act or omission, transaction, agreement, event or other occurrence taking place on or before
the Effective Date; provided that nothing in this Combined Disclosure Statement and Plan,
including this Article XI.C shall release (i) any obligations under this Combined Disclosure
Statement and Plan or the Plan Supplement; or (ii) any acts constituting willful misconduct, gross
negligence, intentional fraud or criminal conduct as determined by a Final Order. For the avoidance
of doubt, the Debtor does not release and retains and preserves all Claims and Causes of Action
against the Allen Hartman Parties, individually and collectively.

D.      Releases by Holders of Claims

        As of the Effective Date, except as otherwise provided in this Combined Disclosure
Statement and Plan, all Persons who have held, hold, or may hold Claims, Interests, Causes
of Action, or liabilities that are subject to compromise and settlement pursuant to the terms
of this Combined Disclosure Statement and Plan or are otherwise discharged, satisfied,
stayed or terminated pursuant to this Combined Disclosure Statement and Plan are deemed
to have released the Debtor from any and all claims, interests, obligations, rights, suits,
damages, causes of action, remedies and liabilities whatsoever, including any direct claims
held by any such Person against the Debtor, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether for tort,
contract, violations of federal or state securities laws, or otherwise, that each such Person
would have been legally entitled to assert (whether individually or collectively), based on or
relating to, or in any manner arising from, in whole or in part, the Debtor or its affiliates,
the Debtor’s restructuring, the Chapter 11 Case, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in this Combined Disclosure
Statement and Plan, the business or contractual arrangements between the Debtor and any
such Person, the restructuring of Claims and Interests before or in the Chapter 11 Case, the
negotiation, formulation, or preparation of this Combined Disclosure Statement and Plan,
the Confirmation Order, or related agreements, instruments, or other documents, or upon
any other act or omission, transaction, agreement, event, or other occurrence relating to the
Debtor taking place on or before the Effective Date; provided that, notwithstanding anything
to the contrary in the foregoing, nothing in this Combined Disclosure Statement and Plan,
including this Article XI.D shall release any obligations under this Combined Disclosure
Statement and Plan or the Plan Supplement.

E.      Injunction

       1.     Generally. Except as provided in this Combined Disclosure Statement and
Plan or the Confirmation Order, as of the Confirmation Date, all entities that have held,
currently hold, or may hold a Claim are permanently enjoined from taking any of the
following actions on account of any such Claims or Interests or rights: (a) commencing or
continuing in any manner any action or other proceeding against the Reorganized Debtor or
any property to be Distributed or otherwise transferred under this Combined Disclosure
Statement and Plan; (b) enforcing, attaching, collecting, or recovering in any manner any
judgment, award, decree, or order against the Reorganized Debtor or any property to be
Distributed or otherwise transferred under this Combined Disclosure Statement and Plan;
(c) creating, perfecting, or enforcing any lien or encumbrance against the Reorganized

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Debtor or any property to be Distributed or otherwise transferred under this Combined
Disclosure Statement and Plan; and (d) commencing or continuing any action, in any
manner, in any place, that does not comply with or is inconsistent with the provisions of this
Combined Disclosure Statement and Plan or the Bankruptcy Code.

        2.       Limited Scope. Nothing in this Combined Disclosure Statement and Plan:
(a) extinguishes, prohibits, or otherwise limits the right of any holder of a Claim to assert a right
to setoff or recoupment arising in connection with that Claim as part of the resolution and treatment
of that Claim under this Combined Disclosure Statement and Plan; (b) extinguishes, prohibits, or
otherwise limits the right of the Estate or Reorganized Debtor to assert and prevail on any Cause
of Action; or (c) enjoins or otherwise precludes any party-in-interest from enforcing the terms of
this Combined Disclosure Statement and Plan and the Confirmation Order.

F.      Exculpation

        The Exculpated Parties shall not have any liability to any holder of a Claim or Interest for
any Claims or Causes of action arising before, on or after the Petition Date and prior to or on the
Effective Date for any act or omission in connection with, related to, or arising out of, the Chapter
11 Case, the pursuit of Confirmation of this Combined Disclosure Statement and Plan, the
consummation of this Combined Disclosure Statement and Plan, or the administration of this
Combined Disclosure Statement and Plan or the property to be distributed under this Combined
Disclosure Statement and Plan, except for willful misconduct or gross negligence. In all respects,
the Exculpated Parties are entitled to rely on the advice of counsel with respect to their duties and
responsibilities under this Combined Disclosure Statement and Plan.

G.      Preservation and Application of Insurance

        The provisions of this Combined Disclosure Statement and Plan shall not diminish or
impair in any manner the enforceability of coverage of any insurance policies (and any agreements,
documents, or instruments relating thereto) that may cover Claims against the Debtor, any
directors, trustees, or officers of the Debtor, or any other Person, including, without limitation,
insurance for the Debtor’s directors and officers.

H.      Retention, Reservation and Prosecution of Causes of Action

         Except as otherwise provided in this Combined Disclosure Statement and Plan, all Causes
of Action are retained and reserved for the Reorganized Debtor, which is designated as the Estate’s
representative under Bankruptcy Code section 1123(b)(3)(B) for purposes of the Causes of Action.
The Reorganized Debtor shall have the sole authority to prosecute, defend, compromise, settle,
and otherwise deal with any Causes of Action and do so in its capacity as a representative of the
Estate in accordance with Bankruptcy Code section 1123(b)(3)(B). The Reorganized Debtor shall
have sole discretion to determine in its business judgment which Causes of Action to pursue, which
to settle, and the terms and conditions of those settlements. In pursuing any claim, right, or Cause
of Action, the Reorganized Debtor shall be entitled to the extensions provided under section 108
of the Bankruptcy Code. Except as otherwise provided in this Combined Disclosure Statement and
Plan, all Causes of Action shall survive Confirmation and the commencement or prosecution of



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Causes of Action shall not be barred or limited by any estoppel, whether judicial, equitable, or
otherwise. The retained Causes of Action include, but are not limited to:

                  All Claims and Causes of Action arising from or related to the case styled Allen R.
                   Hartman and Hartman vREIT XXI, Inc. v Silver Star Properties REIT, Inc. (f/k/a
                   Hartman Short Term Income Properties XX, Inc.), et al., Case No. 2023-17944
                   pending in the District of Harris County, Texas, 133 rd Judicial District;

                  All Claims and Causes of Action arising from or related to the case styled Hartman
                   SPE, LLC v. Hartman vREIT XXI, Inc., Adv. Proc. No. 23-50588-MFW pending
                   in the Bankruptcy Court;

                  All Claims and Causes of Action against the Allen Hartman and Hartman vREIT
                   XXI, Inc., including but not limited to those arising under:

                          o Texas Business & Commerce Code Section 27.01, including claims for
                            fraud in real estate transactions;

                          o RICO claims for conspiracy;

                          o Violation of Texas Rule of Civil Procedure 11, including claims for
                            frivolous lawsuits/claims;

                          o Breach of fiduciary duty claims;

                          o Claims for ultra vires acts;

                          o Claims for tortious interference;

                          o Claims for self-dealing;

                          o Claims for slander of title;

                          o Claims under Section 12.0002 of the Texas Civil Practices and
                            Remedies Code; and

                          o Claims under Chapter 12 of the Texas Real Property Code.

     XII.     CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE
                                       DATE

A.          Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following conditions shall have been
satisfied or waived pursuant to the provisions of Article XII.B hereof:

              (a) the Bankruptcy Court shall have entered the Confirmation Order, in form and
substance acceptable to the Debtor, the Committee, and the Exit Lender, which shall:


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                       (i)    authorize the Debtor to take all actions necessary to enter into,
                       implement, and consummate the contracts, instruments, releases, leases,
                       indentures, and other agreements or documents created in connection with
                       this Combined Disclosure Statement and Plan;

                       (ii)  decree that the provisions in the Confirmation Order and this
                       Combined Disclosure Statement and Plan are nonseverable and mutually
                       dependent;

                       (iii)   authorize    the    Debtor     or    Reorganized     Debtor,     as
                       applicable/necessary, to: (a) implement the Restructuring Transactions; (b)
                       make all Distributions as required under this Combined Disclosure
                       Statement and Plan; and (c) enter into any agreements, transactions, and
                       sales of property as set forth in the Plan Supplement, including the Exit
                       Facility Credit Agreement;

                       (iv)   authorize the implementation of this Combined Disclosure
                       Statement and Plan in accordance with its terms;

                       (v)      provide that, pursuant to section 1146 of the Bankruptcy Code, the
                       assignment or surrender of any lease or sublease, and the delivery of any
                       deed or other instrument or transfer order, in furtherance of, or in connection
                       with this Combined Disclosure Statement and Plan, including any deeds,
                       bills of sale, or assignments executed in connection with any disposition or
                       transfer of assets contemplated under this Combined Disclosure Statement
                       and Plan, shall not be subject to any stamp, real estate transfer, mortgage
                       recording, or other similar tax; and

                       (vi)    be a Final Order;

               (b) the Debtor shall have obtained all authorizations, consents, regulatory
approvals, rulings, or documents that are necessary to implement and effectuate this Combined
Disclosure Statement and Plan;

                (c) the final version of Combined Disclosure Statement and Plan Supplement and
all schedules, documents, and exhibits contained therein shall have been filed in a manner
consistent in all material respects with this Combined Disclosure Statement and Plan;

                (d) the Exit Facility Documents and any applicable collateral and other loan
documents governing the Exit Facility shall have been duly executed and delivered by all of the
Entities that are parties thereto and all conditions precedent (other than any conditions related to
the occurrence of the Effective Date) to the effectiveness thereof, including, but not limited to, the
immediate availability of the issuance of a lender’s title insurance policy in form and substance
acceptable to Exit Lender in its sole discretion, subject only to the payment of the premium for
such issuance, shall have been satisfied or duly waived in writing in accordance with the terms of
the Exit Facility Documents and related documentation, and the closing shall have occurred
thereunder;


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              (e) all professional fees and expenses of retained professionals that require the
Bankruptcy Court’s approval shall have been paid in full or amounts sufficient to pay such fees
and expenses after the Effective Date shall have been placed into an escrow account pending the
Bankruptcy Court’s approval of such fees and expenses;

                 (f) the Debtor shall have implemented the Restructuring Transactions in a manner
consistent with this Combined Disclosure Statement and Plan, including, without limitation,
satisfaction in full of the Prepetition Lender Secured Claim; and

               (g) sufficient Cash exists to make all payments required under this Combined
Disclosure Statement and Plan to be made on the Effective Date;

B.      Waiver of Conditions

       Any one or more of the conditions to the Effective Date set forth in this Article XII may
be waived by the Debtor with the prior written consent of the Exit Lender, without notice, leave,
or order of the Bankruptcy Court or any formal action other than proceedings to confirm or
consummate this Combined Disclosure Statement and Plan.

C.      Effect of Failure of Conditions

        If the Effective Date does not occur by March 2, 2024 (or as otherwise agreed to in writing
by the Debtor, KeyBank, and the Committee), this Combined Disclosure Statement and Plan shall
be null and void in all respects and nothing contained in this Combined Disclosure Statement and
Plan shall: (1) constitute a waiver or release of any Claims by the Debtor, Claims, or Interests;
(2) prejudice in any manner the rights of the Debtor, any Holders of Claims or Interests, or any
other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtor,
any Holders of Claims or Interests, or any other Entity.

D.      Substantial Consummation

       “Substantial Consummation” of this Combined Disclosure Statement and Plan, as defined
in 11 U.S.C. § 1101(2), shall be deemed to occur on the Effective Date.

 XIII. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS COMBINED
                     DISCLOSURE STATEMENT AND PLAN

A.      Modification and Amendments

        Except as otherwise specifically provided in this Combined Disclosure Statement and Plan,
the Debtor reserves the right to modify this Combined Disclosure Statement and Plan, whether
such modification is material or immaterial, and seek Confirmation consistent with the Bankruptcy
Code and, as appropriate, not resolicit votes on such modified Combined Disclosure Statement
and Plan. Subject to those restrictions on modifications set forth in this Combined Disclosure
Statement and Plan and the requirements of section 1127 of the Bankruptcy Code, Rule 3019 of
the Federal Rules of Bankruptcy Procedure, and, to the extent applicable, sections 1122, 1123, and
1125 of the Bankruptcy Code, the Debtor expressly reserves its rights to revoke or withdraw, or to
alter, amend, or modify this Combined Disclosure Statement and Plan, one or more times, after

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Confirmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify this Combined Disclosure Statement and Plan, or remedy any defect or
omission, or reconcile any inconsistencies in this Combined Disclosure Statement and Plan or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of
this Combined Disclosure Statement and Plan.

B.      Revocation or Withdrawal of this Combined Disclosure Statement and Plan

        The Debtor reserves the right to revoke or withdraw this Combined Disclosure Statement
and Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the
Debtor revokes or withdraws this Combined Disclosure Statement and Plan, or if Confirmation or
the Effective Date do not occur, then: (i) this Combined Disclosure Statement and Plan shall be
null and void in all respects; (ii) any settlement or compromise embodied in this Combined
Disclosure Statement and Plan (including the fixing or limiting to an amount certain of any Claim
or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under this Combined Disclosure Statement and Plan, and any document
or agreement executed pursuant to this Combined Disclosure Statement and Plan, shall be deemed
null and void; and (iii) nothing contained in this Combined Disclosure Statement and Plan shall:
(a) constitute a waiver or release of any Claims or Interests; (b) prejudice in any manner the rights
of such Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                            XIV. RETENTION OF JURISDICTION

        Following the Confirmation Date and the Effective Date, the Bankruptcy Court shall retain
jurisdiction for the following purposes:

        (1)      to hear and determine any objections to Claims and to address any issues relating
                 to Disputed Claims;

        (2)      to enter and implement such orders as may be appropriate in the event the
                 Confirmation Order is for any reason stayed, revoked, modified, or vacated;

        (3)      resolve any matters related to: (a) the assumption, assumption and assignment, or
                 rejection of any Executory Contract or Unexpired Lease to which the Debtor is
                 party or with respect to which the Debtor may be liable and to hear, determine, and,
                 if necessary, liquidate, any Claims arising therefrom, including Cures pursuant to
                 section 365 of the Bankruptcy Code; (b) any potential contractual obligation under
                 any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized
                 Debtor amending, modifying, or supplementing, pursuant to Article IX hereof, any
                 Executory Contracts or Unexpired Leases to the list of Executory Contracts and
                 Unexpired Leases to be assumed or rejected or otherwise; and (d) any dispute
                 regarding whether a contract or lease is or was executory or expired;

        (4)      to issue such orders in aid of execution and consummation of this Combined
                 Disclosure Statement and Plan, to the extent authorized by Bankruptcy Code
                 section 1142;


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        (5)      to consider any amendments to or modifications of this Combined Disclosure
                 Statement and Plan, to cure any defect or omission, or to reconcile any
                 inconsistency in any order of the Bankruptcy Court, including, without limitation,
                 the Confirmation Order;

        (6)      to hear and determine all requests for compensation and reimbursement of expenses
                 to the extent allowed by the Bankruptcy Court under Bankruptcy Code sections 330
                 or 503;

        (7)      to hear and determine disputes arising in connection with the interpretation,
                 implementation, or enforcement of this Combined Disclosure Statement and Plan;

        (8)      to hear and determine matters concerning state, local, and federal taxes in
                 accordance with Bankruptcy Code sections 346, 505, and 1146;

        (9)      to hear any other matter not inconsistent with the Bankruptcy Code;

        (10)     to enter the Final Decree;

        (11)     to ensure that Distributions to Holders of Allowed Claims are accomplished
                 pursuant to the provisions of this Combined Disclosure Statement and Plan;

        (12)     to decide or resolve any motions, adversary proceedings, contested or litigated
                 matters, and any other matters and grant or deny any applications involving the
                 Debtor that may be pending on or after the Effective Date;

        (13)     to issue injunctions, enter and implement other orders, or take such other actions as
                 may be necessary or appropriate to restrain interference by any Person or Entity
                 with the occurrence of the Effective Date or enforcement of this Combined
                 Disclosure Statement and Plan, except as otherwise provided herein;

        (14)     to determine any other matters that may arise in connection with or related to this
                 Combined Disclosure Statement and Plan, the Confirmation Order, or any contract,
                 instrument, release, indenture, or other agreement or document created or
                 implemented in connection with this Combined Disclosure Statement and Plan;

        (15)     to enforce, interpret, and determine any disputes arising in connection with any
                 stipulations, orders, judgments, injunctions, exculpations, and rulings entered in
                 connection with the Chapter 11 Case (whether or not the Chapter 11 Case has been
                 closed);

        (16)     to resolve disputes concerning any reserves with respect to Disputed Claims or the
                 administration thereof; and

        (17)     to resolve any disputes concerning whether a Person or Entity had sufficient notice
                 of the Chapter 11 Case, the Bar Date, or the Confirmation Hearing for the purpose
                 of determining whether a Claim or Interest is discharged hereunder, or for any other
                 purpose.

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                          XV.    MISCELLANEOUS PROVISIONS

A.      Amendment or Modification of this Combined Disclosure Statement and Plan

        Alterations, amendments, or modifications of this Combined Disclosure Statement and
Plan may be proposed in writing by the Debtor at any time before the Confirmation Date; provided
that this Combined Disclosure Statement and Plan, as altered, amended, or modified, satisfies the
conditions of Bankruptcy Code sections 1122 and 1123 and the Debtor shall have complied with
Bankruptcy Code section 1125. The Debtor may modify this Combined Disclosure Statement and
Plan at any time after Confirmation and before substantial consummation, provided that this
Combined Disclosure Statement and Plan, as modified, meets the requirements of Bankruptcy
Code sections 1122 and 1123 and the circumstances warrant such modifications. A Holder of a
Claim that has accepted this Combined Disclosure Statement and Plan shall be deemed to have
accepted such Combined Disclosure Statement and Plan as modified if the proposed alteration,
amendment, or modification does not materially and adversely change the treatment of the Claim
of such Holder.

B.      Exhibits/Schedules

        All exhibits and schedules to this Combined Disclosure Statement and Plan are
incorporated into and are part of this Combined Disclosure Statement and Plan as if set forth in
full herein.

C.      Plan Supplement

        The Debtor will File the Plan Supplement at least seven days (7) before the Confirmation
Hearing. The Plan Supplement will contain, among other things (1) the Exit Facility Documents;
(2) the New Organizational Documents, if applicable; (3) the Rejected Executory Contracts and
Unexpired Leases Schedule; and (4) the financial projections.

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of this Combined Disclosure Statement and Plan as if set forth in full in this Combined
Disclosure Statement and Plan. After the exhibits and documents are Filed, copies of such exhibits
and documents shall be available upon written request to the Debtor’s counsel at the address above
or by downloading such exhibits and documents from the Debtor’s restructuring website at
https://dm.epiq11.com/HartmanSPE or https://www.pacer.gov/. To the extent any exhibit or
document is inconsistent with the terms of this Combined Disclosure Statement and Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of this
Combined Disclosure Statement and Plan shall control.

D.      Filing of Additional Documents

       On or before Substantial Consummation, the Debtor may File with the Bankruptcy Court
such agreements and other documents as may be necessary to effectuate and further evidence the
terms and conditions of this Combined Disclosure Statement and Plan. The Debtor or the
Reorganized Debtor, as applicable, and all Holders of Claims or Interests receiving Distributions
pursuant to this Combined Disclosure Statement and Plan and all other parties in interest shall,
from time to time, prepare, execute, and deliver any agreements or documents and take any other

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actions as may be necessary or advisable to effectuate the provisions and intent of this Combined
Disclosure Statement and Plan.

E.      Immediate Binding Effect of this Combined Disclosure Statement and Plan

        Subject to Article XII hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or
7062 or otherwise, upon the occurrence of the Effective Date, the terms of this Combined
Disclosure Statement and Plan (including, for the avoidance of doubt, the documents and
instruments contained in the Plan Supplement) shall be immediately effective and enforceable and
deemed binding upon the Debtor, the Reorganized Debtor, any and all Holders of Claims or
Interests (irrespective of whether such Holders of Claims or Interests have, or are deemed to have
accepted this Combined Disclosure Statement and Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in this
Combined Disclosure Statement and Plan, each Entity acquiring property under this Combined
Disclosure Statement and Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtor.

F.      Payment of Statutory Fees.

        All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the
Bankruptcy Court at a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by
the Reorganized Debtor for each quarter (including any fraction thereof) until the earlier of entry
of a final decree closing such Chapter 11 Case or an order of dismissal or conversion, whichever
comes first.

G.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in this Combined
Disclosure Statement and Plan shall be binding on, and shall inure to the benefit of any heir,
executor, administrator, successor or assign, Affiliate, officer, manager, director, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.

H.      Governing Law

        Except as required by the Bankruptcy Code, the Bankruptcy Rules, or the Local Rules, the
rights and obligations arising under this Combined Disclosure Statement and Plan shall be
governed by, and construed and enforced in accordance with, the laws of the State of Delaware.

I.      Time

       To the extent that any time for the occurrence or happening of an event as set forth in this
Combined Disclosure Statement and Plan falls on a day that is not a Business Day, the time for
the next occurrence or happening of said event shall be extended to the next Business Day.

J.      Revocation

       The Debtor reserves the right to revoke and withdraw this Combined Disclosure Statement
and Plan prior to the entry of the Confirmation Order. If the Debtor revokes or withdraws this

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Combined Disclosure Statement and Plan, this Combined Disclosure Statement and Plan shall be
deemed null and void, and nothing contained herein shall be deemed to constitute a waiver or
release of any Claims by or against the Debtor, any other Person, or to prejudice in any manner
the rights of such parties in any further proceedings involving the Debtor.

K.      Dissolution of the Committee

        On the Effective Date, the Committee shall be dissolved and its members deemed released
of any continuing duties, responsibilities, and obligations in connection with the Chapter 11 Case
or this Combined Disclosure Statement and Plan and its implementation, and the retention and
employment of the Committee’s Professionals shall terminate, except with respect to:
(i) prosecuting applications for Professionals’ compensation and reimbursement of expenses
incurred as a member of the Committee; (ii) asserting, disputing, and participating in resolution of
Professional Fee Claims; or (iii) prosecuting or participating in any appeal of the Confirmation
Order or any request for consideration thereof. Upon the resolution of (i) through (iii), the
Committee shall be immediately dissolved, released, and discharged.

L.      Inconsistency

       To the extent that this Combined Disclosure Statement and Plan conflicts with or is
inconsistent with any agreement related to this Combined Disclosure Statement and Plan, the
provisions of this Combined Disclosure Statement and Plan shall control.

       In the event of any inconsistency between any provision of any of the foregoing documents,
and any provision of the Confirmation Order, the Confirmation Order shall control and take
precedence.

M.      No Admissions

        Notwithstanding anything herein to the contrary, nothing contained in this Combined
Disclosure Statement and Plan shall be deemed an admission by any Entity with respect to any
matter set forth herein.

N.      Reservation of Rights

         Except as expressly set forth herein, this Combined Disclosure Statement and Plan shall
have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order. None of
the filing of this Combined Disclosure Statement and Plan, any statement or provision contained
herein, or the taking of any action by the Debtor with respect to this Combined Disclosure
Statement and Plan shall be or shall be deemed to be an admission or waiver of any rights of the
Debtor, Holders of Claims, or Holders of Interests before the Effective Date.

O.      Compromise of Controversies

       Pursuant to Bankruptcy Rule 9019, and in consideration for the classification, Distribution,
and other benefits provided under this Combined Disclosure Statement and Plan, the provisions of
this Combined Disclosure Statement and Plan shall constitute a good faith compromise and
settlement of all Claims or controversies resolved pursuant to this Combined Disclosure Statement

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and Plan and in the Chapter 11 Case. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of each of the foregoing compromises or settlements, and all other
compromises and settlements, provided for in this Combined Disclosure Statement and Plan and
the Chapter 11 Case. The Bankruptcy Court’s findings shall constitute its determination that such
compromises and settlements are in the best interests of the Debtor, the Estate, and all Holders of
Claims and Interests against the Debtor.

P.      Notices

        All notices, requests, and demands to or upon the Debtor to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonically confirmed, addressed as follows:

        If to the Reorganized Debtor:

        Hartman SPE, LLC
        Attn: General Counsel
        2909 Hillcroft, Suite 420
        Houston, TX 77057

        With a copy (which shall not constitute notice) to:

        Katten Muchin Rosenman LLP
        Attn: John Mitchell, Michaela Crocker, and Yelena Archiyan
        2121 North Pearl Street, Suite 1100
        Dallas, TX 75201-2494

        -and-

        Chipman Brown Cicero & Cole, LLP
        Attn: William E. Chipman, Jr. and Mark D. Olivere
        Hercules Plaza
        1313 N. Market Street, Suite 5400
        Wilmington, DE 19801

        If to the Office of the United States Trustee:

        Office of the United States Trustee for the District of Delaware
        Attn: John Schanne
        Room 2207, Lockbox 35
        844 North King Street
        Wilmington, Delaware 19801

         After the Effective Date, the Reorganized Debtor has the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective


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Date, the Reorganized Debtor is authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

Q.      Term of Injunctions or Stays

        Unless otherwise provided in this Combined Disclosure Statement and Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 Case pursuant to
Bankruptcy Code sections 105 or 362 or any order of the Bankruptcy Court, and extant on the
Confirmation Date (excluding any injunctions or stays contained in this Combined Disclosure
Statement and Plan or the Confirmation Order) shall remain in full force and effect until the
Effective Date. All injunctions or stays contained in this Combined Disclosure Statement and Plan
or the Confirmation Order shall remain in full force and effect in accordance with their terms.

R.      Entire Agreement

        Except as otherwise indicated, this Combined Disclosure Statement and Plan (including,
for the avoidance of doubt, the documents and instruments in the Plan Supplement) supersedes all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects, all of which have become merged and integrated into this
Combined Disclosure Statement and Plan.

S.      Nonseverability of Provisions

        If, prior to Confirmation, any term or provision of this Combined Disclosure Statement and
Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court
shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision
held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as
altered or interpreted; provided, however, any such alteration or interpretation shall be acceptable
to the Debtor and the Exit Lender. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of this Combined Disclosure Statement and Plan will
remain in full force and effect and will in no way be affected, impaired, or invalidated by such
holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of this Combined Disclosure
Statement and Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to this Combined Disclosure
Statement and Plan and may not be deleted or modified without the Debtor’s or Reorganized
Debtor’s consent, as applicable; and (3) nonseverable and mutually dependent.

T.      Closing of Chapter 11 Case

       The Reorganized Debtor shall, promptly after the full administration of the Chapter 11
Case, File with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Chapter 11 Case.




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U.      Waiver or Estoppel

       Each holder of a Claim or an Interest shall be deemed to have waived any right to assert
any argument, including the right to argue that its Claim or Interest should be Allowed in a certain
amount, in a certain priority, secured or not subordinated by virtue of an agreement made with the
Debtor or its counsel, or any other Entity, if such agreement was not disclosed in this Combined
Disclosure Statement and Plan or papers Filed with the Bankruptcy Court prior to the Confirmation
Date.




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 Dated: January 8, 2024
        McKinney, Texas

                                                           /s/ David Wheeler
                                                    David Wheeler
                                                    President
                                                    Hartman SPE Management, LLC




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                                      Exhibit A

                                 Assumption Schedule




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                                                                  Non-Tenant Execuory Contracts
                                                                                                                  Contract Proposed to be    Proposed
   Contract Counterparty                                Address                            E-Mail Address
                                                                                                                   Assumed and Assigned        Cure
Edge Realty Partners Houston,   515 Post Oak Blvd., Suite 175                                                     Retail Listing Agreement      $0
LLC                             Houston, Texas 77027
Hartman SPE Management, LLC     2909 Hillcroft, Suite 420                                                         Real Property Management
(f/k/a Hartman Income REIT      Attn: Louis Fox                                                                           Agreement
Management, Inc.)               Houston, Texas 77057
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                                                                  400 NORTHBELT
                                                                                                                    Contract Proposed to be
     Contract Counterparty    Address                                                 E-Mail Address                                          Proposed Cure
                                                                                                                    Assumed and Assigned
ADVANCED MATERNITY            400 NORTH SAM HOUSTON PARKWAY                         smc@innovalp.com                        LEASE                  $0
INNOVATIONS, LP               SUITE 1000
                              HOUSTON, TX - 77060

AMEGY BANK OF TEXAS           ATTN: CORPORATE REAL ESTATE                  amegybank.admin@hughesmarino.com                 LEASE                  $0
                              1717 WEST LOOP SOUTH
                              HOUSTON, TX - 77027

AMERICAN WESTERN STEEL, LLC 400 N. SAM HOUSTON PARKWAY EAST              accountspayable@americanwesternsteel.com           LEASE                  $0
                            HOUSTON, TX - 77060


BELL GEOSPACE, INC.           400 N. SAM HOUSTON PARKWAY EAST                       agoza@bellgeo.com                       LEASE                  $0
                              SUITE 325
                              HOUSTON, TX - 77060

BELLAIRE WELLNESS CENTER,     400 N SAM HOUSTON PARKWAY E STE 230          dr.grigsby@bellairewellnesscenter.com            LEASE                  $0
PLLC                          HOUSTON, TX - 77060


CHARLES MATHIS                1522 DEWALT STREET                                 henson.april@yahoo.com                     LEASE                  $0
                              HOUSTON, TX - 77088


CROSSOVER LOGISTICS (USA)     95 DULCET HOLLOW COURT                         duanesobczak@crossover-group.us                LEASE                  $0
INC.                          THE WOODLANDS, TX - 77382


EDUCATIONAL COMMISSION FOR ATTN: RICH ECKARD/THU DIEP                               acctspay@ecfmg.org                      LEASE                  $0
FOREIGN MEDICAL GRADUATES 3624 MARKET ST.
                           PHILADELPHIA, PA - 19104

GALTWAY MARKETING, LLC        400 N. SAM HOUSTON PKWY EAST                   cristina.pleitez@uprightdigital.com            LEASE                  $0
                              SUITE 650
                              HOUSTON, TX - 77060



GLOBAL INSTRUMENTATION        ATTN: GAVIN LEWIS                                     glewis@giscal.com                       LEASE                  $0
SERVICES, LLC                 505 W. 17TH STREET
                              HOUSTON TX - 77008

JOHN FEUCHT                   400 NORTH SAM HOUSTON PARKWAY EAST                     john@c3solns.com                       LEASE                  $0
                              SUITE 413 AND 414
                              HOUSTON, TX - 77060

KAREN CALDERON TRIVINO        ATTN: Javier Amara Marquez                           amayawsb@gmail.com                       LEASE                  $0
                              400 N. SAM HOUSTON PARKWAY, SUITE 675
                              HOUSTON TX - 77060

LEVEL 3 COMMUNICATIONS, LLC 1025 EL DORADO BLVD                               realestatepayments@Level3.com                 LEASE                  $0
                            BROOMFIELD
                            CO - 80021
MARK KAHIL                  400 NORTH SAM HOUSTON PARKWAY EAST              MARK.KAHIL@USHAdvisors.com                      LEASE                  $0
                            SUITE 320
                            HOUSTON TX - 77060

MASTERPIECE INTERNATIONAL     400 N. SAM HOUSTON PARKWAY EAST                    jself@masterpieceintl.com                  LEASE                  $0
LIMITED                       SUITE 1025
                              HOUSTON TX - 77060

REPUBLIC CENTRAL REALTY,      400 N. SAM HOUSTON PARKWAY EAST                      Ignacio@rcrcorp.com                      LEASE                  $0
INC.                          SUITE 105
                              HOUSTON TX - 77060

RH SHIPPING & CHARTERING      400 N. Belt Houston Suite 1010                    adminusa@rh-shipping.com                    LEASE                  $0
(USA), LLC                    Houston TX - 77060
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                                                                                                       Contract Proposed to be
     Contract Counterparty    Address                                        E-Mail Address                                      Proposed Cure
                                                                                                       Assumed and Assigned
SEQUOIA MEDICAL PRACTICE      ATTN: RONAN PATANKAR                   drpatankar@sequoia-medicine.com           LEASE                  $0
PLLC                          400 NORTH SAM HOUSTON PARKWAY EAST
                              SUITE 301
                              HOUSTON TX - 77060
SORC, LLC                     11811 NORTH FREEWAY, STE 100             lifechangersbus3@gmail.com              LEASE                  $0
                              HOUSTON TX - 77060
SUNBELT MERCHANT GROUP        400 N SAM HOUSTON PARKWAY E,STE 601    Seema@sunbeltmerchantgroup.com            LEASE                  $0
CONSULTING, INC               HOUSTON TX - 77060

TERESA BREWER                 400 N SAM HOUSTON PARKWAY E, STE 210         tb3622@yahoo.com                    LEASE                  $0
                              Black Heritage Society
                              HOUSTON TX - 77060
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                                                         601 SAWYER
                                                                                                  Contract Proposed to be   Proposed
   Contract Counterparty               Address                        E-Mail Address
                                                                                                  Assumed and Assigned        Cure
CITY OF HOUSTON, TEXAS      GENERAL SERVICES DEPARTMENT                                                   LEASE               $0
                            900 BAGBY STREET
                            2ND FLOOR
                            HOUSTON, TX - 77002

EMPIRE CHIROPRACTIC         601 SAWYER, STE 330            bryan@empirechiropracticandrehab.com           LEASE               $0
AND REHAB, LLC              HOUSTON, TX - 77007
G.B.C. FINANCE COMPANY,     601 SAWYER, SUITE 100                   stevegullo@me.com                     LEASE               $0
INC.                        HOUSTON, TX - 77007
GROPPE, LONG & LITTELL      601 SAWYER, SUITE 620                  gll@groppelong.com                     LEASE               $0
                            HOUSTON, TX - 77007
GTE MOBILNET OF SOUTH       ATTN: NETWORK REAL ESTATE        kelly.rodgers@verizonwireless.com            LEASE               $0
TEXAS LP                    180 WASHINGTON VALLEY ROAD
                            BEDMINSTER, NJ - 07921

INNOWATTS, LLC           601 SAWYER, SUITE 205                  Accounting@innowatts.com                  LEASE               $0
                         HOUSTON, TX - 77007
INTERVAL ANALYTICS LLC 601 SAWYER STE 240                                                                 LEASE               $0
                         HOUSTON, TX - 77007
LAPEZE & JOHNS, P.L.L.C. 601 SAWYER, SUITE 650                    taylor@lapezejohns.com                  LEASE               $0
                         HOUSTON, TX - 77007
MASSEY LAW FIRM PLLC     601 SAWYER ST, SUITE 225                dmassey@masseytrial.com                  LEASE               $0
and THE ARNSWORTH LAW HOUSTON, TX - 77007
FIRM PLLC
MORRIS STRATEGIC         601 SAWYER, STE 660                       glenn@morrissi.com                     LEASE               $0
INVESTMENTS, LLC         HOUSTON, TX - 77007
OWSLEY LAW FIRM, PLLC 601 SAWYER, STE 200                        ruby@owsleylawfirm.com                   LEASE               $0
                         HOUSTON, TX - 77007
SHELLIST, PEEBLES,       601 SAWYER, SUITE 750                  peebles@texaslegalteam.net                LEASE               $0
MCALISTER, LLP           HOUSTON, TX - 77007
STRUCTURE TONE           601 SAWYER, SUITE 310                 Anna.wylie@structuretone.com               LEASE               $0
SOUTHWEST, LLC           HOUSTON, TX - 77007
T-MOBILE USA, INC.       T-MOBILE USA, INC.                  PropertyManagement@tmobile.com               LEASE               $0
                         ATTN: LEASE COMPLIANCE
                         SITE NO. A3E0003A
                         BELLEVUE, WA - 98006
VIETBINO, LLC            601 SAWYER, STE 320                     hami@getonefootover.com                  LEASE               $0
                         HOUSTON, TX - 77007
WILINE NETWORKS, INC.    1599 INDUSTRIAL RD                           ap@wiline.com                       LEASE               $0
                         SAN CARLOS, CA - 94070
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                                                                  616 FM 1960 WEST
                                                                                                                         Contract Proposed to
                                                                                                                                                Proposed
        Contract Counterparty                          Address                              E-Mail Address                 be Assumed and
                                                                                                                                                  Cure
                                                                                                                              Assigned
ADVANTAGE FINANCE, LLC              5923 BRIAR HILL CT.                                   asifdharani@gmail.com                LEASE              $0
                                    SUGAR LAND, TX - 77478
A-LINE LOGISTICS, INC.              616 FM 1960, SUITE 415                               lisa@a-linelogistics.com              LEASE              $0
                                    HOUSTON, TX - 77090
AMT INS LLC                         4215 SABLE COURT                               michelle.aguiluz@brightway.com              LEASE              $0
                                    HOUSTON, TX - 77014
BLUE STAR SECURITY, LLC             507 N. SAM HOUSTON PKWY, SUITE 100                   brandon@bluestartx.com                LEASE              $0
                                    ATTN: BRANDON TORRES
                                    HOUSTON, TX - 77060
CAROUSEL SPECIALTY PRODUCTS, INC. 616 FM 1960 WEST, SUITE 660                       steven.zhang@carousel-sp.com               LEASE              $0
                                    HOUSTON, TX - 77090
CHRISTIAN OZBUN                     c/o WEATHERTIGHT BUILDING CONSULTANTS,      cozbun@weathertightconsulting.com              LEASE              $0
                                    LLC
                                    616 FM 1960, SUITE 570
                                    HOUSTON, TX - 77090
CONNECT HOME HEALTH LLC             7001 BOULEVARD 26, SUITE 501                   invoices@connectpediatrics.com              LEASE              $0
                                    ATTN: EZRA KUENZI
                                    NORTH RICHLAND HILLS, TX - 76180
DEL CORONA & SCARDIGLI NORTH        616 FM 1960 ROAD WEST, SUITE 650             caroline.johnson@us.dcsfreight.com            LEASE              $0
AMERICA, INC.                       HOUSTON, TX - 77090
DENNIS ALVAREZ, PSY. D., LPC        74 APRIL HILL DRIVE                                      dmajkc@msn.com                    LEASE              $0
                                    MONTGOMERY, TX - 77356
DIRECT AUTO FINANCING LLC           ATTN: ALVARO QUINTANILLA                     texascapitalmotorgroup@gmail.com              LEASE              $0
                                    3450 FM 1960 ROAD W
                                    HUMBLE, TX - 77338
EXPRESS MULTISERVICES & TITLES      616 FM 1960, STE 200D                              sylvetteg2017@gmail.com                 LEASE              $0
                                    HOUSTON, TX - 77090
FABIAN DIAZ                         18903 BRESSINGHAM DRIVE                       fabian.diaz.vacmi4@statefarm.com             LEASE              $0
                                    TOMBALL, TX - 77375
GOODRICH AMERICAS INC.              616 FM 1960, SUITE 550                        operations@goodrichamericas.com              LEASE              $0
                                    HOUSTON, TX - 77090
GTE MOBILNET OF SOUTH TEXAS         dba VERIZON WIRELESS                   SoHGCPropertyManagement@VerizonWireles              LEASE              $0
LIMITED PARTNERSHIP                 180 WASHINGTON VALLEY RD                                       s.com
                                    BEDMINSTER, NJ - 07921
HUSSAMADDIN AL-KHADOUR, M.D., P.A.902 FROSTWOOD DRIVE, #106                               alkhadourh@gmail.com                 LEASE              $0
                                    HOUSTON, TX - 77024
JOBE ELITE MANAGEMENT LLC           31406 ASHLAND PARK LANE                              frankie.jobe@gmail.com                LEASE              $0
                                    ATTN: FRANKIE JOBE
                                    SPRING, TX - 77386
JP MORGAN CHASE LEASE               1111 POLARIS PKWY, SUITE 1E             lease.administration.research@jpmchase.com         LEASE              $0
ADMINISTRATION                      MAIL CODE OH1-0241
                                    COLUMBUS, OH - 43240
KARINA MCKINNEY                     11 LILIUM COURT                                     Karinamcknn@gmail.com                  LEASE              $0
                                    SPRING, TX - 77380
LEO & DUTTON PLLC                   616 FM 1960 WEST, SUITE 635                           joe.leo@leodutton.com                LEASE              $0
                                    HOUSTON, TX - 77090
LIZ TRANSPORT & LOGISTICS, LLC      616 FM 1960, SUITE 265                              francisowo1354@aol.com                 LEASE              $0
                                    HOUSTON, TX - 77090
LOGIX COMMUNICATIONS, L.P.          2950 N. LOOP W., SUITE 800                      Sharon.Obrien@LogixCom.com                 LEASE              $0
                                    HOUSTON, TX - 77092
LUCKY TAX AND NOTARY LLC            14300 CORNERSTONE VILLAGE DR                      luckytaxhouston@gmail.com                LEASE              $0
                                    STE. 419-E
                                    ATTN: LASHANNA LUCKY
                                    HOUSTON, TX - 77014
OPERATING SYSTEMS, INC.             616 FM 1960 WEST, SUITE 316                          nsmith@osihouston.com                 LEASE              $0
                                    HOUSTON, TX - 77090
PERCHES LAND SERVICES, INC.         616 FM 1960, SUITE 200                                  perchesland@att.net                LEASE              $0
                                    HOUSTON, TX - 77090
PRIME ITS, INC. a Texas corporation 616 FM 1960 WEST, SUITE 410                      accountspayable@primeits.net              LEASE              $0
                                    HOUSTON, TX - 77090
PROPLANT INC                        6111 W. BALSAM FIR CIRCLE                            habib@proplantinc.com                 LEASE              $0
                                    ATTN TOWFIQUE HABIB & MICHAEL S.
                                    ANTONY
                                    SPRING, X - 77386
RICARDO NUNEZ                       18001 CYPRESS TRACE ROAD                              rnunez464@gmail.com                  LEASE              $0
                                    HOUSTON, TX - 77090
RICHARD GEORGE HAEHNER DBA R.H. 616 FM 1960 WEST, SUITE 520                                lhaehner@comcast.net                LEASE              $0
HAEHNER                             HOUSTON, TX - 77090
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                                                                                                                       Contract Proposed to
                                                                                                                                              Proposed
       Contract Counterparty                          Address                           E-Mail Address                   be Assumed and
                                                                                                                                                Cure
                                                                                                                            Assigned
SOUTHERN LEGACY HOSPICE LLC        23 WILD COLT PLACE                           adm@southernlegacyhospice.com                LEASE              $0
                                   ATTN: SAJID SIDDIQUI
                                   SPRING, TX - 77382
SPARTAN STEEL PRODUCTS, INC. DBA   616 FM 1960, SUITE 290                         kmulhear@spartansteel.com                  LEASE              $0
SPARTAN ENERGY TUBULARS and        HOUSTON, TX - 77090
PIONEER STEEL & TUBE CORP. DBA
PIONEER PIPE CORP
THE SUAREZ LAW FIRM, PLLC        616 FM 1960, Ste 522                              office@asuarezlawfirm.com                 LEASE              $0
                                 Houston, TX - 77090
THE UNITED STATES OF AMERICA     P O BOX 9001                              fema-finance-vendor-payments@fema.dhs.gov         LEASE              $0
                                 WINCHESTER, VA - 22604
TRITON CONSTRUCTION COMPANY,     616 FM 1960, Suite 105                              c.philley@yahoo.com                     LEASE              $0
INC.                             Houston, TX - 77090
VELOCITY UNIFIED COMMUNICATIONS, 616 FM 1960 W, SUITE 330                           j.thompson@vucinc.com                    LEASE              $0
INC.                             HOUSTON, TX - 77090
VK CONSULTANT GROUP LLC          13100 WORTHAM CENTER DR STE 300                 vcarter@vkconsultantgroup.com               LEASE              $0
                                 ATTN: VALERIE CARTER
                                 HOUSTON, TX - 77065
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                                                               3100 TIMMONS
                                                                                                                 Contract Proposed to be   Proposed
     Contract Counterparty                     Address                              E-Mail Address
                                                                                                                 Assumed and Assigned        Cure
ACUPUNCTURE THERAPEUTIC        3100 TIMMONS LANE, SUITE 540                      lingshu8@gmail.com                      LEASE                $0
BEAUTY CENTER, CORP.           HOUSTON, TX - 77027

AFFILIATES IN PHYSICAL         3100 TIMMONS LANE, SUITE 120             laurie@affiliatesinphysicaltherapy.com           LEASE                $0
THERAPY, INC.                  HOUSTON , TX - 77027
AFFILIATES PRIME, LLC          3100 TIMMONS LANE, SUITE 115                    laurie@affiliatesprime.com                LEASE                $0
                               HOUSTON, TX - 77027
ANCHOR HOSPICE, LLC            3100 TIMMONS LANE, SUITE 265                   dnichols@anchorhospice.com                 LEASE                $0
                               HOUSTON, TX - 77027
ANDREW SALEM, MD               3100 TIMMONS LANE, SUITE 320                   mmansour1989@gmail.com                     LEASE                $0
                               HOUSTON, TX - 77027
BEACHEM LAW FIRM               3100 TIMMONS, SUITE 54                   jermecia.beachem@beachemlaw.com                  LEASE                $0
                               HOUSTON, TX - 77027
BROSNAN RISK CONSULTANTS,      1 BLUE HILL PLAZA, 14TH FLOOR             Vendor-invoices@brosnanrisk.com                 LEASE                $0
LTD.                           PEARL RIVER, NY - 10965

CARRIGAN & ANDERSON, PLLC      3100 TIMMONS LANE, SUITE 210                     rjones@ccatriallaw.com                   LEASE                $0
                               HOUSTON, TX - 77027
DAVID P. MATTHEWS, LLP DBA     2905 SACKETT ST.                         mschwartz@thematthewslawfirm.com                 LEASE                $0
MATTHEWS & ASSOCIATES          ATTN: MONYA SCHWARTZ
                               HOUSTON, TX - 77098
DR. LAWRENCE WRIGHT            3100 TIMMONS LANE, SUITE 150                      yygallaga@gmail.com                     LEASE                $0
                               HOUSTON. TX - 77027
FUSI AND CRAIG PLASTIC         3100 TIMMONS LANE, SUITE 255                        tythomas@tz.cpa                       LEASE                $0
SURGERY, PA                    HOUSTON, TX - 77027
GREENWAY CHIROPRACTIC          3100 TIMMONS LANE, SUITE 135                      timzeller@gmail.com                     LEASE                $0
                               HOUSTON , TX - 77027
HOGDEN INDUSTRIES, LLC         3100 TIMMONS LANE, SUITE 555                       sarah@hogden.com                       LEASE                $0
                               HOUSTON, TX - 77027
HOLD TIGHT SOLUTIONS, INC.     P.O. BOX 27907                                  reese.hazel@holdtight.com                 LEASE                $0
                               HOUSTON, TX - 77227
HOUSTON NEUROPSYCHOLOGY        3100 TIMMONS LANE, SUITE 565                   managers@houston-npa.com                   LEASE                $0
ASSOCIATES, PLLC               HOUSTON, TX - 77027

HR WALLINGFORD                 INTERNATIONAL OPERATIONS DIRECTOR               r.lewis@hrwallingford.com                 LEASE                $0
                               HOWBERY PARK, WALLINGFORD
                               UNITED KINGDOM - OX10 8BA

HYPE SPORTS MEDICINE, LLC     3100 TIMMONS LANE, SUITE 585                     casey@hypesportsmed.com                   LEASE                $0
                              HOUSTON, TX - 77027
IMPARALI CUSTOM TAILORS, LLC 3100 TIMMONS LANE, SUITE 125                         matt@imparali.com                      LEASE                $0
                              HOUSTON, TX - 77027
IMPECCABLE ENTERPRISES, LLC 3100 TIMMONS LANE, SUITE 145                      impeccablecredit@gmail.com                 LEASE                $0
                              HOUSTON, TX - 77027
ISABELLA MIA SKIN CARE INC.   3100 TIMMONS LANE, SUITE 390                 isabellamiaskincare@gmail.com                 LEASE                $0
                              HOUSTON, TX - 77027
JAG ENERGY HOLDINGS, LLC      3100 TIMMONS LANE STE 270                        accounting@jagenergy.com                  LEASE                $0
                              HOUSTON, TX - 77027
JAMES S. WALKER and ERIC J.   1810 KIPLING ST.                            jwalker@walkertexaslawyer.com                  LEASE                $0
KIRKPATRICK                   HOUSTON, TX - 77098
K. RENEE SALON                3100 TIMMONS LANE, STE #130                        mkrenee01@aol.com                       LEASE                $0
                              HOUSTON , TX - 77027
KIM M. CRAMER                 1312 UTAH ST.                                    kimcramer@sbcglobal.net                   LEASE                $0
                              HOUSTON, TX - 77007
KNOWLES WELLNESS SOLUTIONS, 3100 TIMMONS LANE, SUITE 351                       info@hairandwellness.com                  LEASE                $0
LLC                           HOUSTON, TX - 77027
MERCURY CHAMBER ORCHESTRA 3100 TIMMONS LANE, SUITE 201                         brian@mercuryhouston.org                  LEASE                $0
INC.                          HOUSTON, TX - 77027
NORMAN L. STRAUB and DAVID K. 14219 LAKE SCENE TRAIL                          nstraub@mandsattorneys.com                 LEASE                $0
MESTEMAKER                    HOUSTON, TX - 77059
PEGGY A. MATTHEWS             3100 TIMMONS LANE, SUITE 300                    pmatthews@rrrhouston.com                   LEASE                $0
                              HOUSTON, TX - 77027
PSI PREMIER SPECIALTIES, INC  3100 Timmons Lane, Ste 101                      stephen.snyder@bcpgroup.net                LEASE                $0
                              HOUSTON, TX - 77027
RENOVA HEALTHCARE             3100 TIMMONS LANE, SUITE 225                 mark.naghavi@renovalaser.com                  LEASE                $0
MANAGEMENT, LLC               HOUSTON, TX - 77027
REVIVE HOUSE BUYERS LLC       3100 TIMMONS LANE, SUITE 445                 Michelle@greenlightoffer.com                  LEASE                $0
                              HOUSTON, TX - 77027
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                                                                                                            Contract Proposed to be   Proposed
      Contract Counterparty                     Address                         E-Mail Address
                                                                                                            Assumed and Assigned        Cure
ROGER GODDARD, CPA, P.C.        3100 TIMMONS LANE, STE 440               rgoddard@rogergoddardcpa.com               LEASE                $0
                                HOUSTON, TX - 77027
S & S THERAPY, L.P.             3100 TIMMONS LANE, SUITE 450               drf@fixmysportsinjury.com                LEASE                $0
                                HOUSTON, TX - 77027
SUJEETH DRAKSHARAM              30 BERINGER PLACE                           sbd@sirrusengineers.com                 LEASE                $0
                                SUGAR LAND, TX - 77479
THE GUESS GROUP, INC.           3100 TIMMONS LANE, SUITE 200                carolyn@guessgroup.net                  LEASE                $0
                                HOUSTON, TX - 77027
TREVINO CONSULTING GROUP,       5334 BORDLEY DRIVE                        ileana@trevinoconsulting.org              LEASE                $0
LLC                             HOUSTON, TX - 77056
VLADIMIR REDKO, MD              41 Stillforest St                             vsredko@gmail.com                     LEASE                $0
                                Houston, TX - 77024
WIND HOLDINGS LLC               3100 TIMMONS LANE, SUITE 100                 ryanwind@gmail.com                     LEASE                $0
                                HOUSTON, TX - 77027
                            Case 23-11452-MFW                Doc 451       Filed 01/11/24              Page 75 of 125


                                                             11811 NORTH FREEWAY
                                                                                                              Contract Proposed to be   Proposed
   Contract Counterparty                    Address                             E-Mail Address
                                                                                                              Assumed and Assigned        Cure
AARON CHRISTENSEN       11811 N FREEWAY, STE 200                              aaron@agcfirm.com                       LEASE                $0
                        HOUSTON, TX - 77060
ACACIA MORTGAGE         4619 ST. MICHAELS COURT                             henglish@acaciamtg.com                    LEASE               $0
FINANCE GROUP INC       ATTN: HERBERT ENGLISH
                        SUGAR LAND, TX - 77479
ALI FAROOQI             20822 JADESTONE LANE                                razafarooqui@gmail.com                    LEASE               $0
                        ATTN: ALI FAROOQI
                        SPRING, TX - 77388
AMERICAN POSTAL         ATTN: SECRETARY TREASURER                              tnguyen@apwu.org                       LEASE               $0
WORKERS UNION           1300 L STREET, NW
                        WASHINGTON, DC - 20005
APTIVE DIAGNOSTICS LLC 5745 BROOKFIELD CIRCLE                                billing@aptivedx.com                     LEASE               $0
                        ATTN: MICHAEL FRIED
                        FT. LAUDERDALE, FL - 33312
AVAIL SECURITY GROUP,   11811 N. FREEWAY, STE 301                            k.franco@availsg.com                     LEASE               $0
LLC                     HOUSTON, TX - 77060
BELOR HOME HEALTH, INC. 1511 CHESTNUT RIDGE RD.                             belorcaroline@gmail.com                   LEASE               $0
                        KINGWOOD, TX - 77339
CHERI HARMON            11811 N. FREEWAY STE 508                            jamcrewtaxes@gmail.com                    LEASE               $0
                        HOUSTON, TX - 77060
COMPLEX LEGAL           11811 N FREEWAY, STE 518                         robert.walder@compexlegal.com                LEASE               $0
SERVICES, INC           HOUSTON, TX - 77060
CONFIE ADMINISTRATIVE 11511 LUNA ROAD, SUITE 500                       Kendra.lewelling@confiegroup.com               LEASE               $0
SERVICES, INC.          FARMERS BRANCH, TX - 75234

CONSTRUCTION101FORWO 11811 N. FREEWAY, STE 490                         sandrahvittands@sandbsystems.com               LEASE               $0
MEN.COM              HOUSTON, TX - 77060
CURTIS VAUGHN        1510 TWINBROOKE DRIVE                               tawannahumphrey@yahoo.com                    LEASE               $0
                     HOUSTON, TX - 77088
DAMON P. COLEMAN     3303 CYPRESS CREEK PARKWAY, SUITE 470D               damonpcoleman@gmail.com                     LEASE               $0
                     HOUSTON, TX - 77068

EC, LLC                    11811 NORTH FREEWAY, SUITE 625                 Adriana.calhoon@gmail.com                   LEASE               $0
                           HOUSTON, TX - 77060
ENERG SCREEN LLC           ATTN: HOWARD BONHOMME                         hbonhomme@energscreens.com                   LEASE               $0
                           14307 MOPAN SPRINGS LANE
                           HOUSTON, TX - 77044
EVARISTUS NKONGCHU         11811 N FREEWAY, STE 160                        Nkongchulaw@gmail.com                      LEASE               $0
                           HOUSTON, TX - 77060
FRED LOYA -                1800 LEE TREVINO, SUITE 201                      propmgmt@fredloya.com                     LEASE               $0
ADMINISTRATION/RETAIL      EL PASO, TX - 79936
SALES
FRED LOYA -             1800 LEE TREVINO, SUITE 201                         propmgmt@fredloya.com                     LEASE               $0
LEGAL/CLAIMS            EL PASO, TX - 79936
FRED LOYA - TRAINING    1800 LEE TREVINO, SUITE 201                         propmgmt@fredloya.com                     LEASE               $0
                        EL PASO, TX - 79936
HEALTHCARE TRAINING     11811 N FREEWAY, STE 300                          catina.brimmer@outlook.com                  LEASE               $0
INSTITUTE, INC          HOUSTON, TX - 77060
HOPE COUNSELING         11811 NORTH FREEWAY, SUITE 608                       kwcofield@gmail.com                      LEASE               $0
SERVICES, LLC           HOUSTON, TX - 77060
I.G.P. LOGISTICS LLC    11811 N FREEWAY, STE 557                           pauldaniel2070@gmail.com                   LEASE               $0
                        HOUSTON, TX - 77060
INVITCUS THIRTY, INC    11811 N FREEWAY, STE 556                             imosesjr@comcast.net                     LEASE               $0
                        HOUSTON, TX - 77060
J&H ACOUSTICAL CEILINGS C/O JONATHAN FLORES                         jonathan@JHAcousticsAndConstruction.com           LEASE               $0
AND CONSTRUCTION LLC 4118 E CROSSTIMBERS STREET
                        HOUSTON, TX - 77016
JOEL ORELLANA           11811 NORTH FREEWAY, SUITE 450                   kevin.orellana.2015@gmail.com                LEASE               $0
                        HOUSTON, TX - 77060
JUAN M. ALDAPE, ATTORNE11811 NORTH FREEWAY, SUITE 618                        aldapelaw@gmail.com                      LEASE               $0
                        HOUSTON, TX - 77060
LACOMELAW, P.C.         ATTN: JOSEPH LaCOME                              lacomelawhouston@gmail.com                   LEASE               $0
                        4040 CIVIC CENTER DRIVE, SUITE 200
                        SAN RAFAEL, CA - 94903
LATIN MANAGEMENT        11811 N FREEWAY, STE 105                                ostmich@att.net                       LEASE               $0
                        HOUSTON, TX - 77060
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                                                                                                             Contract Proposed to be   Proposed
  Contract Counterparty                    Address                            E-Mail Address
                                                                                                             Assumed and Assigned        Cure
LAW OFFICES OF CHAUNTE 11811 N. FREEWAY, STE 218                        Chaunte.sterling@gmail.com                   LEASE                $0
STERLING, PLLC         HOUSTON, TX - 77060

LAW OFFICES OF GEORGE     11811 N FREEWAY, STE 533                       georgeford858@gmail.com                     LEASE               $0
FORD                      HOUSTON, TX - 77060
LAW OFFICES OF NAOMI L.   11811 NORTH FREEWAY, STE 503                attorneynaomigarcia@gmail.com                  LEASE               $0
GARCIA & ASSOC., PLLC     HOUSTON, TX - 77060

LEIBOWITZ AMC, INC.       11811 N FREEWAY, STE 558                      lynnl@leibowitz-horton.com                   LEASE               $0
                          HOUSTON, TX - 77060
LOFTY TRANSPORTATION      696 pineloch Drm, apt 816                    lotfytransportation@gmail.com                 LEASE               $0
SERVICES, LLC             ATTN: ASHRAF ALY
                          Webster, TX - 77598
MELVIN DOLOBAH            11811 N. FREEWAY, SUITE 554                  melvinbanks2005@yahoo.com                     LEASE               $0
                          HOUSTON, TX - 77060
MICHAEL SOFIA             11811 N FREEWAY, STE 544                        mikesofia@outlook.com                      LEASE               $0
                          HOUSTON, TX - 77060
MINOR TO MAJOR LLC        11811 N FREEWAY, STE 549                         jrankins1@angelo.edu                      LEASE               $0
                          HOUSTON, TX - 77060
MINT DENTISTRY, PLLC      11811 NORTH FREEWAY, SUITE 600               emilyrellis@mintdentistry.com                 LEASE               $0
                          HOUSTON, TX - 77060
MMK GROUP OF TEXAS,       21510 HALES HUNT COURT                 mack@winnerscirclegroupoftexas.com                  LEASE               $0
LLC                       ATTN: MACK MONTGOMERY
                          SPRING, TX - 77388
NATIONWIDE TRAILERS,      11811 NORTH FREEWAY, SUITE 210               garyd@nationwidetrailers.com                  LEASE               $0
LLC                       HOUSTON, TX - 77060
NOE PENALOZA              11811 N FREEWAY, STE 537                      noepenaloza20@hotmail.com                    LEASE               $0
                          HOUSTON, TX - 77060
OMNIA HEALTHCARE          11811 N FREEWAY, STE 507                   seun.kibirige@omniahealthcare.com               LEASE               $0
HOLDINGS, LLC             HOUSTON, TX - 77060
OPTIMA LOGISTICS LLC      17701 108TH AVENUE SE, #543                     snyagu2008@gmail.com                       LEASE               $0
                          RENTON, WA - 98055
REFLEXIONES BILINGUAL     11811 N FREEWAY, STE 526                      f.williams@reflexionesbfs.org                LEASE               $0
FAMILY SERVICES           HOUSTON, TX - 77060

REFUND ADVISORY CORP      11811 N FREEWAY, STE 543                         karyn@kwardcpa.com                        LEASE               $0
                          HOUSTON, TX - 77060
SANG JOO                  11811 NORTH FREEWAY STE 260                       mskjoo@yahoo.com                         LEASE               $0
                          HOUSTON, TX
TOBY INSURANCE            24624 I-45N, SUITE 200                      jennifer@goldenhillinsurance.com               LEASE               $0
SERVICES LLC              SPRING, TX - 77386
VERIZON                   180 WASHINGTON VALLEY RD.                  Lee.Heinsohn@VerizonWireless.com                LEASE               $0
                          ATTN: NETWORK REAL ESTATE
                          BEDMINSTER, NJ - 07921
W. BALDWIN INC.           11811 N. FREEWAY, STE 510                      joseph2977@sbcglobal.net                    LEASE               $0
                          HOUSTON, TX - 77060
WADE RATHKE               ATTN: LES SALMERON                     chieforganizer@unitedlaborunions.org                LEASE               $0
                          3333 FANNIN, SUITE 115
                          HOUSTON, TX - 77004
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                                                             ASHFORD CROSSING II
                                                                                                                   Contract Proposed to be   Proposed
     Contract Counterparty                       Address                               E-Mail Address
                                                                                                                   Assumed and Assigned        Cure
ABB CARE TRANSPORT INC      ATTN: AMIN ABBASHER                                  acostly@yahoo.com                         LEASE                $0
                            101 BRANCHWOOD TRAIL
                            COPPELL, TX - 75019
ACTUAL SEO MEDIA, INC.      1880 S DAIRY ASHFORD, SUITE 682                 admin@actualseomedia.com                       LEASE               $0
                            HOUSTON, TX - 77077
AESTHETIC LINE BY IC, LLC   1880 S DAIRY ASHFORD, STE 660              aestheticlineingridchacon@gmail.com                 LEASE               $0
                            HOUSTON, TX - 77077
ASCENT BUSINESS SYSTEMS,    1880 S. DAIRY ASHFORD, SUITE 535                   mhutar@ascent-sys.com                       LEASE               $0
INC.                        HOUSTON, TX - 77077
B.I.E. INTERNATIONAL INC.   1880 SOUTH DAIRY ASHFORD, SUITE 525            ralph.grenville@biegroup.com                    LEASE               $0
                            HOUSTON, TX - 77077
BEAUTE CONNECTION DG, LLC. 6619 AMBERFIELD LANE                             juligarrifreedom@gmail.com                     LEASE               $0
                            ATTN: DORKA GARRIDO
                            KATY, TX - 77449
BILINGUALEDUCATORS.COM,     1880 S DAIRY ASHFORD, SUITE 410           helent@bilingualprofessionalstudies.com              LEASE               $0
INC.                        HOUSTON, TX - 77077
BOLTERA LLC                 1880 S. DAIRY ASHFORD, SUITE 545                      brian@boltera.com                        LEASE               $0
                            HOUSTON, TX - 77077
CALIBUR INTEGRATED          455 WILDWOOD FOREST DRIVE, APT 8306         Niranjanreddy.spring14@gmail.com                   LEASE               $0
SOLUTIONS INC               SPRING, TX - 77380
CAMETRA CARETTI dba THE     1880 S. DAIRY ASHFORD, SUITE 315                  snobtherapy@gmail.com                        LEASE               $0
BODY SNOBS AND THERAPY      ATTN: CAMETRA CARETTI AND TAIRAJAE
AESTHETICS SPA L.L.C.       ZACHARY
                            HOUSTON, TX - 77077
CENA FITTINGS USA, LLC      400 N. SAM HOUSTON PARKWAY EAST                    colebarnett@gmail.com                       LEASE               $0
                            SUITE 412
                            HOUSTON, TX - 77060
CINGULAR                    AT&T MOBILITY c/o ENGIE INSIGHT MS7372              releaseadmin@att.com                       LEASE               $0
                            P.O. BOX 2241
                            SPOKANE, WA - 99210-2456
CNE HOME HEALTH SERVICES, 1880 S DAIRY ASHFORD, SUITE 537                        jund@cnetexas.com                         LEASE               $0
INC                         HOUSTON, TX - 77077
CORESOL LLC AND PRATHISTA 1880 S. DAIRY ASHFORD, SUITE 360                        jd@coresolusa.com                        LEASE               $0
INTERNATIONAL INC           ATTN: J.D. BHUSRI
                            HOUSTON, TX - 77077
CORYS, INC.                 1880 S. DAIRY ASHFORD, SUITE 685                   Laurie.Ryan@corys.com                       LEASE               $0
                            HOUSTON, TX - 77077
DAVID N. WRIGHT AND         525 ROUND ROCK WEST DRIVE, SUITE A-145           zhen.wu@dalecarnegie.com                      LEASE               $0
ASSOCIATES, LLC             ROUND ROCK, TX - 78681
ELIAS VIEZCA, CALVIN SAULNY 1880 S. DAIRY ASHFORD ROAD, SUITE 211B            hsinclair@primerica.com                      LEASE               $0
AND HORACE SINCLAIR DBA     ATTN: ELIAS VIEZCA, CALVIN SAULNY, HORACE
PRIMERICA                   SINCLAIR
                            HOUSTON, TX - 77077
ENERGY COGNITO LLC          1880 S DAIRY ASHFORD, SUITE 580                   pson@energycognito.com                       LEASE               $0
                            HOUSTON, TX - 77077
ENVISION EMPOWERMENT        1880 S DAIRY ASHFORD, SUITE 415              tewing@envisionempowerment.net                    LEASE               $0
PSYCHOTHERAPY AND           HOUSTON, TX - 77077
CONSULTING
EOS ACCOUNTANTS LLP         1880 S DAIRY ASHFORD, SUITE 237                         ap@eosllp.com                          LEASE               $0
                            HOUSTON, TX - 77077
EROX LLC                    22726 GINOSA TRAIL                                  Erosxspa1@gmail.com                        LEASE               $0
                            KATY, TX - 77449
GENESYS WORKS               1880 SOUTH DAIRY ASHFORD ROAD, SUITE 300            ap@genesysworks.org                        LEASE               $0
                            HOUSTON, TX - 77077

GERMAN MANRIQUE           12610 BRIAR PATCH ROAD                                  german@tracshipping.com                  LEASE               $0
                          HOUSTON, TX - 77077
HOUSTON CENTER OF         1880 SOUTH DAIRY ASHFORD, SUITE 216                   cindy@homeopathyhouston.com                LEASE               $0
HOMEOPATHY, INC.          HOUSTON, TX - 77077
HOUSTON CUSTOM INSTALLERS 12518 MILLVAN DRIVE                                 enjoli@houstoncustominstallers.com           LEASE               $0
INC.                      ATTN: ENJOLI WOODS
                          HOUSTON, TX - 77070
HRTCS, LLC                2412 APPIAN WAY                                         reneehill0310@yahoo.com                  LEASE               $0
                          ATTN: RENEE HILL
                          PEARLAND, TX - 77584
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                                                                                                                Contract Proposed to be   Proposed
     Contract Counterparty                      Address                          E-Mail Address
                                                                                                                Assumed and Assigned        Cure
IMPERIUM ELITE, INC.        1880 S DAIRY ASHFORD, SUITE 405                   amcnally11@gmail.com                      LEASE                $0
                            HOUSTON, TX - 77077
IPCOS INC                   1880 S. DAIRY ASHFORD, SUITE 330              peter.vanoverschee@ipcos.com                  LEASE               $0
                            ATTN: PETER VAN OVERSCHEE
                            HOUSTON, TX - 77077
JAPANESE EDUCATIONAL        1880 S DAIRY ASHFORD, STE 110                      info@jbahouston.org                      LEASE               $0
INSTITUTE HOUSTON           HOUSTON. TX - 77056
JERMAINE PHILLIPS INSURANCE 1880 S. DAIRY ASHFORD, SUITE 403                phillipsagency@icloud.com                   LEASE               $0
AGENCY, INC                 HOUSTON, TX - 77077
JOHNNY ROAF DBA TEXAS       14226 GLASGOW PLACE                               mitzgaiser@gmail.com                      LEASE               $0
WEEKLY ONLINE               HOUSTON, TX - 77077
KING CAPITAL ADVISORS, INC 12000 WESTHEIMER, SUITE 225                  jvanwart@kingcapitaladvisors.com                LEASE               $0
                            ATTN: JEFF VAN WART
                            HOUSTON, TX - 77077
LUIS VELASQUEZ DBA LV       1755 CRESCENT PLAZA DRIVE                          luis@lvbranding.com                      LEASE               $0
BRANDING                    ATTN: LUIS VELASQUEZ
                            HOUSTON. TX - 77007
LUXE BOOTH HOUSTON LLC      23018 TRUE FORTUNE DRIVE                           saraki.hit@gmail.com                     LEASE               $0
                            KATY, TX - 77493
MAIN LANE INDUSTRIES LTD.   14115 LUTHE ROAD SUITE #100               accountspayable.manager@mc2civil.com              LEASE               $0
                            HOUSTON, TX - 77039
MICHAEL REA                 1511 BRAZOS GATE DRIVE                         yasminrenaud18@gmail.com                     LEASE               $0
                            ATTN: MICHAEL REA
                            RICHMOND, TX - 77469
NATIONAL LIBERTY GROUP LLC 6331 APPLEWOOD FOREST DRIVE                       mariapapi839@gmail.com                     LEASE               $0
                            ATTN: MARIA PAPI
                            KATY, TX - 77494
NATIONAL PROPERTY           1880 SOUTH DAIRY ASHFORD RD, SUITE 270         kelly.tatro@npvadvisors.com                  LEASE               $0
VALUATION ADVISORS, INC.    HOUSTON, TX - 77077

PERC ENGINEERING, LLC        1880 S. DAIRY ASHFORD, SUITE 606             Christine.Do@EXP-Eng-Int.com                  LEASE               $0
                             HOUSTON, TX - 77077
POLARIS LOGISTICS GROUP, INC 1880 S. DAIRY ASHFORD, SUITE 600            ray.gill@polarislogisticsgroup.com             LEASE               $0
                             HOUSTON, TX - 77077
R3 YES! REAL ESTATE, LLC     1722 WOODLAND PARK DRIVE                         mario@r3yesrealty.com                     LEASE               $0
                             ATTN: MARIO ROMERO
                             HOUSTON, TX - 77077
ROBERT SANTOS, JR.           16839 MARSTON PARK LN                        robert.santos@pivotpermits.com                LEASE               $0
                             HOUSTON, TX - 77084
ROYAL CONTRACTING LLC        17706 TOWER BLUFF LANE                        echacon@royalcontracting.us                  LEASE               $0
                             CYPRESS, TX - 77433
ROYALTY SELECT GROUP, LLC 1880 S. DAIRY ASHFORD , SUITE 697               sandraheretohelp@outlook.com                  LEASE               $0
                             ATTN: SANDRA BARRAZA
                             Houston, TX - 77077
SANTA FE GROUP AMERICAS,     1880 S. DAIRY ASHFORD, SUITE 280              Asha.Patel@SantaFeRelo.com                   LEASE               $0
INC                          HOUSTON, TX - 77077
SHARP DPH, INC.              14103 QUEENSBURY LN.                              john@jkattorney.com                      LEASE               $0
                             HOUSTON, TX - 77079
SHARP REFLECTIONS INC.       ATTN: FRANT MACRAE                            admin@sharpreflections.com                   LEASE               $0
                             1880 S DAIRY ASHFORD, SUITE 320
                             HOUSTON, TX - 77077
SKY BIRD TRAVEL & TOURS OF 1880 DAIRY ASHFORD, SUITE 414                     tanvir@skybirdtravel.com                   LEASE               $0
TEXAS, INC.                  HOUSTON, TX - 77077
SPECTRUM SOLUTIONS, LLC      1070 CURTIN STREET                        justin.abbott@spectrumsolutionsllc.net           LEASE               $0
                             ATTN: JUSTIN ABBOTT
                             HOUSTON, TX - 77018
SPRINTCOM, INC.              6391 SPRINT PARKWAY                        propertymanagement@t-mobile.com                 LEASE               $0
                             OVERLAND PARK, KS - 66251
STEPHANY GAVIRIA             24623 LAKECREST TOWN DRIVE                   stephanygaviria10@icloud.com                  LEASE               $0
                             KATY, TX - 77493
STONCEPT LLC                 30685 FM 2978., APT. 138                         fcoronel@stoncept.com                     LEASE               $0
                             ATTN: FELIX CORONEL
                             MAGNOLIA, TX - 77354
TEST CENTER USA INC.         12651 BRIAR FOREST DRIVE, SUITE 225             admin@testcenterusa.com                    LEASE               $0
                             ATTN: ZIA QURESHI
                             HOUSTON, TX - 77077
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                                                                                                        Contract Proposed to be   Proposed
    Contract Counterparty                       Address                       E-Mail Address
                                                                                                        Assumed and Assigned        Cure
UAS INTERNATIONAL TRIP       1880 S. DAIRY ASHFORD, SUITE 180                 zamin@uas.aero                    LEASE                $0
SUPPORT                      HOUSTON, TX - 77077
USHA HOUSTON, LLC and        1880 S DAIRY ASHFORD, SUITE 424          robert.campbell@ushadvisors.com           LEASE               $0
ROBERT CAMPBELL              HOUSTON, TX - 77077
VARCO HOSPICE, LLC           9898 BISSONNET, #364                         saba@varcohospice.com                 LEASE               $0
                             ATTN: KASHIF MAHMOOD
                             HOUSTON, TX - 77036
WILLIAM DURAN DBA            16000 BAKERS POINT LN, SUITE 570              widuos1@yahoo.com                    LEASE               $0
DERMOSSA                     ATTN: WILLIAM DURAN
                             HOUSTON, TX - 77079
ZAPHIRO HOME HEALTH, LLC     ATTN: DEYVIS COMEJO BUSTO                 deyvis@zaphirohomehealth.com             LEASE               $0
                             1880 S DAIRY ASHFORD, SUITE 356
                             HOUSTON, TX - 77077
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                                               CENTRAL PARK BUSINESS CENTER
                                                                                   Contract Proposed to be Assumed and
   Contract Counterparty              Address                 E-Mail Address                                           Proposed Cure
                                                                                                Assigned
CARRIER CORPORATION         c/o UT REALTY             carrierleasepay@cushwake.com               LEASE                      $0
                            9 FARM SPRINGS ROAD
                            FARMINGTON, CT - 06032
HEALTHLINE MEDICAL          4709 LYDIA                 Kirstin.Demmer@colliers.com               LEASE                      $0
EQUIPMENT, LLC              WICHITA FALLS, TX - 76308

JORDAN MEDIA, LLC       1901 N. Glenville, Suite 401       kera@jordanmedia.net                  LEASE                      $0
                        Richardson, TX - 75081
JORDAN MEDIA, LLC       1901 Glenville, Suite 451          kera@jordanmedia.net                  LEASE                      $0
                        Richardson, TX - 75081
SPEECH PRIVACY SYSTEMS, P.O. BOX 41                        ap@mpsacoustics.com                   LEASE                      $0
LLC                     ALLEN, TX - 75013
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                                                          CHELSEA SQUARE
                                                                                                        Contract Proposed to be   Proposed
   Contract Counterparty                Address                         E-Mail Address
                                                                                                        Assumed and Assigned        Cure
ASTRO INSURANCE          8914 SNYDER FARM LANE                       kisslinger22@gmail.com                     LEASE                $0
AGENCY, INC.             ATTN: CARLOS KISSLINGER
                         RICHMOND, TX - 77469
B&C SPA, LLC and QI WANG 4224 BELLE PARK DR.                   hebbewang20131012@gmail.com                      LEASE               $0
                         HOUSTON, TX - 77072
CHATEAU DE PARIS LLC     7810 ROUND BANK DR                           all@lavillavenue.com                      LEASE               $0
                         ATTN: BLANCA SILVA
                         HOUSTON, TX - 77064
CINDY TUYEN NGUYEN       12406 SARTI STREET                        cindynguyen8973@yahoo.com                    LEASE               $0
                         HOUSTON, TX - 77066

ELIZABETH AKROFI       5020 FM 1960 RD W, SUITE A5-A               lizsbeautysupply@gmail.com                   LEASE               $0
                       HOUSTON, TX - 77069
EMMIE NGUYEN           5020 Fm 1960 w rd, b10                        emmierr82@gmail.com                        LEASE               $0
                       HOUSTON, TX - 77069
GAME OVER VIDEOGAMES, 911 W. ANDERSON LN, SUITE 106            david@gameovervideogames.com                     LEASE               $0
INC.                   AUSTIN, TX - 78757
JAQUELIN MENDOZA       14222 WUNDERLICH DR #812                    jmagalymendoza@gmail.com                     LEASE               $0
                       HOUSTON, TX - 77069
JOCELYN OYINKA BIOS    5020 FM 1960 WEST, SUITE A4                 icgcroyaltempletx@gmail.com                  LEASE               $0
                       HOUSTON, TX - 77069
PRV ENTERPRISES, LLC   5020 FM 1960 RD W, SUITE A7                   amir.amman@gmail.com                       LEASE               $0
                       HOUSTON, TX - 77069-4520
REPUBLIC FINANCE, LLC  7031 COMMERCE CIRCLE                        leases@republicfinance.com                   LEASE               $0
                       BATON ROUGE, LA - 70809
SMILE BRANDS OF TEXAS, ATTN: REAL ESTATE DEPARTMENT                smilebrands@swearingen.com                   LEASE               $0
LP                     BUILDING D02, SUITE 322
                       800 WISCONSIN ST, BOX 37
                       EAU CLAIRE, WI - 54703

TAMEKIA WATKINS            5020 FM 1960 WEST, SUITE B2     NOSEAFOODANDDAIQUIRIS@GMAIL.COM                      LEASE               $0
                           HOUSTON, TX - 77069
TC BOBA, LLC               10627 SUNSWEPT FIELDS LANE                   jteaus@gmail.com                        LEASE               $0
                           ATTN: TAI NGUYEN
                           HOUSTON, TX - 77064
VICTOR DOMINGUEZ           4415 S. SHAVER #1901                     vicbaporru28@gmail.com                      LEASE               $0
                           PASADENA, TX - 77504
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                                                           COMMERCE PLAZA HILLCREST
                                                                                                             Contract Proposed to be
    Contract Counterparty                        Address                         E-Mail Address                                        Proposed Cure
                                                                                                             Assumed and Assigned
ADOLESCENT HEALTH             12800 HILLCREST ROAD, SUITE A216                vivabien@hotmail.com                   LEASE                  $0
ASSOCIATES, P.A.              DALLAS, TX - 75230
ADVANCED SPEECH &             12850 HILLCREST ROAD, SUITE F102                asltbilling@gmail.com                  LEASE                  $0
LANGUAGE THERAPY, LLC         DALLAS, TX - 75230
AFFILIATED AIR, INC.          10610 METRIC DRIVE, #110                       affiliatedair@yahoo.com                 LEASE                  $0
                              DALLAS, TX - 75243
ANDREY CHEHELOKOVSKIY         11816 INWOOD ROAD, SUITE 1326                  andrey@360painting.com                  LEASE                  $0
                              DALLAS, TX - 75244
ANNA BURTON                   12830 HILLCREST ROAD, SUITE SAT04               annaburton@gmail.com                   LEASE                  $0
                              DALLAS, TX - 75230
ANTOINETTE MCGARRAHAN         12820 HILLCREST ROAD, SUITE C217           dr.mcgarrahan@mcgarrahantx.com              LEASE                  $0
and ANDREW MCGARRAHAN         DALLAS, TX - 75230

ARRINGTON OUTDOOR               12880 HILLCREST ROAD, SUITE J217            Mike@arringtonoutdoor.com                LEASE                  $0
ADVERTISING, LP                 DALLAS, TX - 75230
ASBY HEALTH LLC                 12890 HILLCREST ROAD, SUITE K109              asbyhealth@gmail.com                   LEASE                  $0
                                DALLAS, TX - 75230
BARBARA YONAN                   12830 HILLCREST ROAD, SUITE D111-18        yonan.barbara40@gmail.com                 LEASE                  $0
                                DALLAS, TX - 75230
BEST CHOICE HOME CARE INC. 12820 HILLCREST RD, SUITE C107                       kate@arstarhh.com                    LEASE                  $0
                                DALLAS, TX - 75230
BILLY GRAMMER,                  12820 HILLCREST ROAD, SUITE C203               billyglpc@gmail.com                   LEASE                  $0
LPC/LMFT/CST                    DALLAS, TX - 75230
BOLD ENTERPRISE, LLC.           12810 HILLCREST, SUITE B115                    info@boldenter.com                    LEASE                  $0
                                ATTN: LEESEAN BOLLING
                                DALLAS, TX - 75230
BOYD LYLES, M.D., P.A., a Texas 7223 LAVENDALE CIRCLE                     kim@bookkeepinginmotion.com                LEASE                  $0
Professional Association        DALLAS, TX - 75230
CABE-LONG PROPERTIES, LTD 12830 HILLCREST ROAD, SUITE D111-33             cabelongproperties@gmail.com               LEASE                  $0
                                DALLAS, TX - 75230

CENTER FOR HOLISTIC        12870 HILLCREST ROAD, SUITE H226                center@holistichealingjs.com              LEASE                  $0
HEALING                    DALLAS, TX - 75230
CENTER FOR SOCIAL SUCCESS, 12880 HILLCREST ROAD, SUITE J105                    melissa@dristre.com                   LEASE                  $0
P.C.                       DALLAS, TX - 75230
CHAD SIMMONS, M.D.         12890 HILLCREST ROAD, SUITE K203                 dcsimmonsmd@gmail.com                    LEASE                  $0
                           DALLAS, TX - 75230
CHAPPELL COUNSELING        8613 TREASURE COVE                                ninachappell@verizon.net                LEASE                  $0
SERVICES LLC               ATTN: Nina Chappell
                           ROWLETT, TX - 75089
CHENAL FAMILY THERAPY,     24 DUQUESNE DRIVE                                  AP@chenaltherapy.com                   LEASE                  $0
PLC                        LITTLE ROCK, AR - 72223
CLEAR CONNECTION           12830 HILLCREST ROAD, SUITE D111-3 AND 31      bhatten@clearconnectiontx.com              LEASE                  $0
COMMUNICATIONS, LLC        DALLAS, TX - 75230

CONVERGING HEALTH, LLC        12810 HILLCREST ROAD, SUITE B221           accounting@ConvergingHealth.com             LEASE                  $0
                              DALLAS, TX - 75230
CYNTHIA SWAYZE SMITH          7223 LAVENDALE CIRCLE                       kim@bookkeepinginmotion.com                LEASE                  $0
                              DALLAS, TX - 75230

DANIEL HORTON, PHD      3319 WHITEHALL DRIVE                              drhorton@danielhortonphd.com               LEASE                  $0
                        DALLAS, TX - 75229
DAVID TROSMAN ATTORNEYS 12820 HILLCREST ROAD, SUITE C119                    trosman_david@yahoo.com                  LEASE                  $0
AND COUNSELORS AT LAW   DALLAS, TX - 75230
PLLC
DENNARD-LASCAR          1800 W. LOOP SOUTH, #200                            rblack@dennardLascar.com                 LEASE                  $0
ASSOCIATES, LLC         Houston, TX - 77027
DENTAL SURGICAL         3500 CENTENARY AVE                                     Larapoynor@aol.com                    LEASE                  $0
SOLUTIONS, LLC          DALLAS, TX - 75225
DONALD E. LOOKADOO      6730 BROOKSHIRE DRIVE                                  delookadoo@aol.com                    LEASE                  $0
                        DALLAS, TX - 75230
DONALD HAYS             9619 BASELINE DRIVE                                  hays5180@sbcglobal.net                  LEASE                  $0
                        DALLAS, TX - 75243
DR. QIONG BAI, OMD LAc  12880 HILLCREST ROAD, SUITE J224                      bai@acupuncturetx.com                  LEASE                  $0
                        DALLAS, TX - 75230
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                                                                                                        Contract Proposed to be
    Contract Counterparty                      Address                        E-Mail Address                                      Proposed Cure
                                                                                                        Assumed and Assigned
DR. SUSAN BROOKS, LAC,       2725 WINDING OAK TRAIL                        brinnarde@gmail.com                  LEASE                  $0
DACM                         GARLAND, TX - 75044

DWIGHT KIERBOW HOMES, LLC 12830 HILLCREST ROAD, SUITE D111-20             m.kierbow@yahoo.com                   LEASE                  $0
                             DALLAS, TX - 75230
DY PROPERTIES, INC.          12830 HILLCREST ROAD, SUITE D111-5           mfincher@roseinv.com                  LEASE                  $0
                             DALLAS, TX - 75230
DYAN TAREPE                  12830 HILLCREST ROAD, SUITE D201           dyanjohnson101@gmail.com                LEASE                  $0
                             DALLAS, TX - 75230
EBS COLLECTION LLC           4232 MCKINNEY, #110                           leesasmi@gmail.com                   LEASE                  $0
                             DALLAS, TX - 75205
EDWARD L. GOLUB              12724 SUNLIGHT DRIVE                            ed.golub@att.net                   LEASE                  $0
                             DALLAS, TX - 75230
ERIC LUND                    12830 HILLCREST ROAD, SUITE SAT-06            eric@ericlundcpa.com                 LEASE                  $0
                             DALLAS, TX - 75230
FOSTER KIDS CHARITY          12830 HILLCREST ROAD, SUITE D111-26       michelle@fosterkidscharity.org           LEASE                  $0
                             DALLAS, TX - 75230
FREDRICK J. O'LAUGHLIN, P.C. 12830 HILLCREST ROAD, SUITE SAT-26          fred.olaughlin@gmail.com               LEASE                  $0
                             DALLAS , TX - 75230
FX TRADING, LLC              12800 Hillcrest Road, Ste. A108                  lcadeh@me.com                     LEASE                  $0
                             Dallas, TX - 75230
GILBERT COMMERCIAL LP        12830 HILLCREST ROAD, SUITE D122           john@gilbertcommercial.com              LEASE                  $0
                             DALLAS, TX - 75230
HBP MANAGEMENT SERVICES 5931 BONNARD DRIVE                               msanderson@hrm-llc.com                 LEASE                  $0
LLC                          DALLAS, TX - 75230
HOTEL ASSOCIATION OF         12830 HILLCREST ROAD, SUITE D218                 traci@hantx.org                   LEASE                  $0
NORTH TEXAS ORGANIZATION DALLAS, TX - 75230

HV LASH&BROW STUDIO LLC      7905 WENDY LANE                          hilda.valbuena.rincon@gmail.com           LEASE                  $0
                             ATTN: HILDA VALBUENA
                             PLANO, TX - 75025
INTEGRATIVE PEDIATRIC        12850 HILLCREST ROAD, SUITE F100               sallyf@iptkids.com                  LEASE                  $0
THERAPY, INC.                DALLAS, TX - 75230
INTERNATIONAL TRAVEL         12810 HILLCREST ROAD, SUITE B131          info@passporthealthtexas.com             LEASE                  $0
SOLUTIONS LLC dba Passport   DALLAS, TX - 75230
Health
INTERSTATE AGENT SERVICES, 12830 HILLCREST ROAD, SUITE SAT-13            Alex@interstatefilings.com             LEASE                  $0
LLC                           DALLAS, TX - 75230
IPFS CORPORATION              1055 BROADWAY BLVD. 11TH FLOOR                   ap@ipfs.com                      LEASE                  $0
                              KANSAS CITY, MO - 64105-2289
JAC INSURANCE SERVICES INC. 12830 HILLCREST ROAD, SUITE D111-30              jcrystal@twfg.net                  LEASE                  $0
                              DALLAS, TX - 75230
JEANNIE B. WHITMAN, PHD       12830 HILLCREST ROAD, SUITE C224            dr@jeanniewhitman.com                 LEASE                  $0
                              DALLAS, TX - 75230
JENNY ANDRADE                 12830 HILLCREST ROAD, SUITE D116            calicostar8@gmail.com                 LEASE                  $0
                              DALLAS, TX - 75230
JOHN S. WIGGANS, D.D.S., P.A. 12880 HILLCREST ROAD, SUITE J108          johnwiggans@sbcglobal.net               LEASE                  $0
                              DALLAS, TX - 75230
JORDAN TOWING, INC.           7700 RONNIE DRIVE                         shonda.jordan@sbcglobal.net             LEASE                  $0
                              DALLAS, TX - 75252
JOSIE SIMON                   50011 DEL RA DRIVE                       jsimon@beautymarkdbyjo.com               LEASE                  $0
                              GREENVILLE, TX - 75402
JOY ACKLIN, D.O., PLLC        3810 VITRUVIAN WAY, #310                  support@asperamedical.com               LEASE                  $0
                              ADDISON, TX - 75001
KELLY GALEY                   12880 HILLCREST ROAD, SUITE J110              kgaley@gmail.com                    LEASE                  $0
                              DALLAS, TX - 75230

KENNETH R. CULBERTSON        12830 HILLCREST DRIVE, SUITE D111-7          support@stracoinc.com                 LEASE                  $0
                             DALLAS, TX - 75230
LAURA K. JOHNSON and         12830 HILLCREST ROAD, SUITE D221            demcguire@sbcglobal.net                LEASE                  $0
MOLLIE D. KILLOUGH           DALLAS, TX - 75230
LIFEPOINTE HOSPICE DALLAS    1900 NORTH LOOP WEST, SUITE 150          lifepointehospicecare@gmail.com           LEASE                  $0
METROPLEX, LLC               HOUSTON, TX - 77016
LIVING STREAM, INC.          2431 W. La Palma Avenue                     accountspayable@lsm.org                LEASE                  $0
                             ATTN: Raymond J. Graver
                             Anaheim, CA - 92801
LOKAHI LIFE CENTER, PLLC     12830 HILLCREST ROAD, SUITE D235           lokahilifecenter@gmail.com              LEASE                  $0
                             DALLAS, TX - 75230
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                                                                                                            Contract Proposed to be
    Contract Counterparty                    Address                           E-Mail Address                                         Proposed Cure
                                                                                                            Assumed and Assigned
MANDY GOLDMAN'S             12810 HILLCREST ROAD, SUITE B129               mandygold@verizon.net                    LEASE                  $0
EDUCATIONAL SOLUTIONS,      DALLAS, TX - 75230
LLC
MARC WHITEHEAD &            403 HEIGHTS BOULEVARD                       mackinley@marcwhitehead.com                 LEASE                  $0
ASSOCIATES, ATTORNEYS AT    HOUSTON, TX - 77007
LAW, LTD LLP
MARTHA MARIN               12840 HILLCREST ROAD, SUITE E225                mmartha20@gmail.com                      LEASE                  $0
                           DALLAS, TX - 75230
MARTHA WILLIAMS, Ed.D. AND 12820 HILLCREST ROAD, SUITE C117              drmarthawilliams@gmail.com                 LEASE                  $0
JAMES WALTER WILLIAMS      DALLAS, TX - 75230

MARY ELLEN BLUNTZER         12810 HILLCREST ROAD, SUITE B118                  bchispa@aol.com                       LEASE                  $0
                            DALLAS, TX - 75230
MARYSE RUBERU, PHD          12830 HILLCREST ROAD, SUITE D111-19         MaryseRuberuPhd@outlook.com                 LEASE                  $0
                            DALLAS, TX - 75230

MEMORIAL MRI & DIAGNOSTIC 9434 KATY FREEWAY, SUITE 408                     SCalero@primemri.com                     LEASE                  $0
MSO, LLC                  HOUSTON, TX - 77055
MEMORIAL MRI & DIAGNOSTIC 9434 KATY FREEWAY, SUITE 408                     SCalero@primemri.com                     LEASE                  $0
MSO, LLC                  HOUSTON, TX - 77055
MICHAEL HAMILTON and      6522 SCOTTSDALE WAY                            christinasgateway@gmail.com                LEASE                  $0
CHRISTINA VINCENT         FRISCO, TX - 75034
MICHAEL S. MCLANE, PSY.D  6609 KINGS HOLLOW COURT                       michaelsmclane@sbcglobal.net                LEASE                  $0
                          DALLAS, TX - 75248
MICHELLE HILL MURRAY, LLC 12880 HILLCREST, SUITE J107                        mrene56@gmail.com                      LEASE                  $0
                          DALLAS, TX - 75230
MUHAMMET ALP              4312 UNIVERSITY BOULEVARD                      alp_yaradanakul@yahoo.com                  LEASE                  $0
YARADANAKUL               UNIVERSITY PARK, TX - 75205

MYPATHCOUNSELING, PLLC    7307 INGLECLIFF DRIVE                        christiane@mypathcounseling.com              LEASE                  $0
                          DALLAS, TX - 75230
NANCY BROOKS              12830 HILLCREST ROAD, SUITE B222                  navbrooks@yahoo.com                     LEASE                  $0
                          DALLAS, TX - 75230
NATHANIEL S. ROPER        7910 NORTHHAVEN, #13                               ropercpa@gmail.com                     LEASE                  $0
                          DALLAS, TX - 75230
NEUROTHERAPY CENTER of    12870 HILLCREST ROAD, SUITE H201              admin@neurotherapydallas.com                LEASE                  $0
DALLAS                    DALLAS, TX - 75230
NINA DELEE                12830 HILLCREST ROAD, SUITE D226                 ninadelee@sbcglobal.net                  LEASE                  $0
                          DALLAS, TX - 75230
NORMA MELAMED and JEFFREY 12810 HILLCREST ROAD, SUITE B220                jeffrey.glassmd@gmail.com                 LEASE                  $0
GLASS                     DALLAS, TX - 75230
OHLENFORST THERAPY        12800 HILLCREST ROAD, SUITE A124                 Dr.O@therapydallas.com                   LEASE                  $0
DALLAS                    DALLAS, TX - 75230
OPTIMAL BODY BRAIN, LLC   12850 HILLCREST ROAD, SUITE C225           Drbell@neurofeedbackcenterdallas.com           LEASE                  $0
                          DALLAS, TX - 75251
ORIGINS COUNSELING, LLC   12870 HILLCREST ROAD SUITE H226                  ap@originsrecovery.com                   LEASE                  $0
                          ATTN: JARED FUSON
                          DALLAS, TX - 75230

PETTRASTONE                12830 HILLCREST ROAD, SUITE SAT-14               dial369@hotmail.com                     LEASE                  $0
                           DALLAS, TX - 75230
RAMMELL NWAOKAI            12800 HILLCREST ROAD, SUITE A210             dallassportsrecovery@gmail.com              LEASE                  $0
                           DALLAS, TX - 75230
RIKKI RUTCHIK, ATTORNEY AT 12830 HILLCREST ROAD, SUITE D111-38             rikki.rutchik@gmail.com                  LEASE                  $0
LAW                        DALLAS, TX - 75230

RIKKI RUTCHIK, ATTORNEY AT 12830 HILLCREST ROAD, SUITE D111-38             Rikki.rutchik@gmail.com                  LEASE                  $0
LAW                        DALLAS, TX - 75230

ROBERT ANSIAUX              12524 PLANTERS GLEN                              ransiaux@gmail.com                     LEASE                  $0
                            DALLAS, TX - 75244
ROBERT ANTHONY              4160 GRIDIRON ROAD                               rwanthony3@aol.com                     LEASE                  $0
COUNSELING, PLLC            FRISCO , TX - 75240
ROGERS' CLINIC OF           ATTN: CHRISTOPHER B. ROGERS                     crogersdc@hotmail.com                   LEASE                  $0
CHIROPRACTIC                2203 CREEKVIEW
REHABILITATION, P.L.L.C.    CARROLLTON, TX - 75006
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                                                                                                           Contract Proposed to be
    Contract Counterparty                         Address                       E-Mail Address                                       Proposed Cure
                                                                                                           Assumed and Assigned
SANDRA U BUTTINE           12880 HILLCREST ROAD, SUITE J102            Collins.Bollozos@playworkspts.com           LEASE                  $0
                           DALLAS, TX - 75230
SARAH OWEN                 12830 HILLCREST ROAD, D111-23                    sarahlpowen@gmail.com                  LEASE                  $0
                           DALLAS, TX - 75230
SCOTT M. BALE              12800 HILLCREST ROAD, SUITE A214                  scottbale1@verizon.net                LEASE                  $0
                           DALLAS, TX - 75230
SHAPES INC.                12890 HILLCREST ROAD, SUITE K212             adrianthedreamweaver@gmail.com             LEASE                  $0
                           DALLAS, TX - 75230
SHOSID, PRYZANT, EMERY and 12880 HILLCREST ROAD, SUITE J104                    MBell104@pm.me                      LEASE                  $0
DOOLEY                     DALLAS, TX - 75230
SPEED WIRED, INC.          6310 LBJ FREEWAY, SUITE 120                      Darren@pctsupport.com                  LEASE                  $0
                           DALLAS, TX - 75240

STREET INSURANCE AGENCY     5547 SERRANO AVENUE                              nesta.street@gmail.com                LEASE                  $0
LLC                         DALLAS, TX - 75240

SUGGS PEDIATRIC OUTPATIENT 639 SWORD BRIDGE DR.                            jennifersuggs@spotstx.com               LEASE                  $0
THERAPY                    LEWISVILLE, TX - 75056
SUKHDEEP KAUR              12840 HILLCREST ROAD, SUITE E210                 info@texasheartcpr.com                 LEASE                  $0
                           DALLAS, TX - 75230

TEXAS HAND REHABILITATION 12880 HILLCREST ROAD, SUITE J103                 texashandrehab@gmail.com                LEASE                  $0
AND OCCUPATIONAL THERAPY DALLAS, TX - 75230

THE COHN LAW FIRM           12830 HILLCREST ROAD, SUITE SAT-01             lawvol1@cohnlawfirm.com                 LEASE                  $0
                            DALLAS, TX - 75230
THE HELM ABA LLC            12880 HILLCREST ROAD, SUITE J210                leeann@thehelmaba.com                  LEASE                  $0
                            DALLAS, TX - 75230
THE JEALOUS MERMAID, INC.   12830 HILLCREST ROAD, SUITE D111-7             donna@gopalmgardens.com                 LEASE                  $0
                            DALLAS, TX - 75230

THOMAS A GRUGLE, MD         12830 HILLCREST ROAD, SUITE D222                   tgrugle@mac.com                     LEASE                  $0
                            DALLAS, TX - 75230
THOMAS L ENGLAND III        12800 HILLCREST ROAD, SUITE A208                  tenglandii@aol.com                   LEASE                  $0
                            DALLAS, TX - 75230
TOTAL CARE ORTHOTICS and    12890 HILLCREST ROAD, SUITE K201               orthoticdesigns@gmail.com               LEASE                  $0
PROSTHETICS                 DALLAS, TX - 75230

UNIVERSITY PARK             12800 HILLCREST ROAD, SUITE A103                 farrartwila@yahoo.com                 LEASE                  $0
COUNSELING & TESTING        DALLAS, TX - 75230
CENTER, PLLC
UPSIDE TO YOUTH             9401 COURTHOUSE ROAD                             wmass003@gmail.com                    LEASE                  $0
DEVELOPMENT L.L.C.          CHESTERFIELD, VA - 23832
VANESSA ROPER               7910 NORTHHAVEN, #8                            roper.vanessa@gmail.com                 LEASE                  $0
                            DALLAS, TX - 75230

VIJAY SIMHA REDDY           2535 TURNBERRY COURT                                hr@visireka.com                    LEASE                  $0
KAMBHAM                     IRVING, TX - 75063

WAYNE R. KIRKHAM, M.D., &   ATTN: WAYNE R. KIRKHAM, M..D                     wkirkham@airmail.net                  LEASE                  $0
ASSOCIATES                  12800 Hillcrest Rd. Suite A110
                            DALLAS, TX - 75230

WAYNE R. KIRKHAM, M.D., &   12820 Hillcrest Rd. suite C125                   wkirkham@airmail.net                  LEASE                  $0
ASSOCIATES                  DALLAS, TX - 75230

WHITNEY E. DYER             2631 MARVIN AVENUE                         whitney@ocdandanxietyrecovery.com           LEASE                  $0
                            DALLAS, TX - 75211
YOSSI SAIDA                 12880 HILLCREST ROAD, SUITE J230                 info@ajlocksmith.com                  LEASE                  $0
                            DALLAS, TX - 75230
ZEN ORTHOPEDICS, LLC        9718 HIGHLAND VIEW DRIVE                      lorenzo@zenorthopedics.com               LEASE                  $0
                            DALLAS, TX - 75238

ZENTECH CONSULTING INC.     12955 TIMBER CROSSING DRIVE                       pavan@zenconit.com                   LEASE                  $0
                            FRISCO, TX - 75033
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                                                            COPPERFIELD
                                                                                                   Contract Proposed to be   Proposed
     Contract Counterparty                   Address                     E-Mail Address
                                                                                                   Assumed and Assigned        Cure
ANNIE PATTEN                  16526 SPERRY GARDENS DRIVE             anniecpatten@gmail.com                LEASE                $0
                              HOUSTON, TX - 77095


ASSOCIATION & COMMUNITY       15840 FM 529, SUITE 104                theodora@acmpinc.com                  LEASE               $0
MANAGING PROFESSIONALS,       HOUSTON, TX - 77095
INC.

COLLATERAL SPECIALISTS, INC. 15840 FM 529, SUITE 240                  accounting@csina.com                 LEASE               $0
                             HOUSTON, TX - 77095


DAVID RODRIGUEZ               10202 LLANO RIVER LANE                  deroca27@gmail.com                   LEASE               $0
                              CYPRESS, TX - 77433


DRC HEALTH SYSTEMS L.P.       15840 FM 529, SUITE 302                 RealEstate@ehab.com                  LEASE               $0
                              HOUSTON, TX - 77095


EDWARD D. JONES & CO., L.P.   15840 FM 529 ROAD, SUITE 211B       misty.holder@edwardjones.com             LEASE               $0
                              HOUSTON, TX - 77095


FLORIS & FLORIS, PLLC         15840 FM 529, SUITE 210               charles@florisandfloris.com            LEASE               $0
                              HOUSTON, TX - 77095


HAINGE & ASSOCIATES, INC.     15840 FM 529, SUITE 304                  asaiz@apogee-tx.com                 LEASE               $0
                              HOUSTON, TX - 77095


INDAM INTERNATIONAL, INC.     15840 FM 529, Suite 300             accountspayable@indamintl.com            LEASE               $0
                              HOUSTON, TX - 77095


JORGE DE LA PENA              13501 KATY FREEWAY                       jorgedelap@live.com                 LEASE               $0
                              HOUSTON, TX - 77079


MARK KISLINGBURY ACADEMY 7810 LEGEND COVE CT                      director@mkcourtreporting.com            LEASE               $0
OF COURT REPORTING, INC. HOUSTON, TX - 77095


MARTIN A. ARGUELLO            11126 CROSSVIEW TIMBER DRIVE         Arguello@defyoppression.com             LEASE               $0
                              CYPRESS, TX - 77433


MJCM, LLC                     15840 FM 529, SUITE 102             veronica.garcia@pinnstrat.com            LEASE               $0
                              Houston, TX - 77095


NAV FREIGHT INC               1408 S. FRIENDSWOOD DRIVE, #205      longwaytruckline@gmail.com              LEASE               $0
                              FRIENDSWOOD, TX - 77546


ORLANDO ESCOBAR DIAZ          10541 FM 1960, SUITE 505              orlando@barcodesetc.com                LEASE               $0
                              HOUSTON, TX - 77070
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                                                                                                 Contract Proposed to be   Proposed
     Contract Counterparty                 Address                      E-Mail Address
                                                                                                 Assumed and Assigned        Cure
PENGUIN COMPUTING, INC.      15840 FM 529, SUITE 312             PENGUIN-FIN-AP@smartm.com               LEASE                $0
                             HOUSTON, TX - 77095

ROCK REHABILITION LLC        6315 GULFTON STREET                  info@rockrehabilitation.com            LEASE               $0
                             HOUSTON, TX - 77081

SYED A. KAZMI                20103 LAKESPIRE DRIVE                   versatallic@yahoo.com               LEASE               $0
                             KATY, TX - 77449

THE EAGLES TEAM LLC          12827 AUBURN GROVE LANE              theeaglesteamllc@gmail.com             LEASE               $0
                             HOUSTON, TX - 77041
THE LOTUS CIRCLE             12242 QUEENSTON BLVD                   jhurtadolpc@gmail.com                LEASE               $0
COUNSELING, PLLC             HOUSTON, TX - 77095

TRIMBLE, INC                 15840 FM 529, SUITE 316              angela_williams@trimble.com            LEASE               $0
                             HOUSTON, TX - 77095

UNITED METAL SOLUTIONS       15840 FM 529, SUITE 301                 sales@unitedmsg.com                 LEASE               $0
GROUP, INC.                  HOUSTON, TX - 77095
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                                                          CORNERSTONE TOWERS
                                                                                                 Contract Proposed to be Assumed and
   Contract Counterparty                    Address                    E-Mail Address                                                Proposed Cure
                                                                                                              Assigned
ANA GUERRERO               3707 FM 1960 W, SUITE 400                ana@bryanfagan.com                         LEASE                      $0
                           HOUSTON, TX - 77068


ATKINSON SOLUTIONS LLC 3707 FM 1960, SUITE 310                   info@atkinsonsolutions.com                   LEASE                       $0
                       HOUSTON, TX - 77014


AYLIN RODRIGUEZ            13630 LARWOOD LANE                   rodriguez.aylin1020@gmail.com                 LEASE                       $0
                           HOUSTON, TX - 77038


BRIAN CELESTINE            3707 FM 1960, SUITE 200J              finalexpensebkc@gmail.com                    LEASE                       $0
                           HOUSTON, TX - 77068


BRIDGESTONE RETAIL         3707 FM 1960, SUITE 250                   jdziengel@bfrc.com                       LEASE                       $0
OPERATIONS LLC             HOUSTON, TX - 77068


BRIGHTER DAYS FAMILY       22506 ROCKY GLEN COURT                 admin@brighterdaysfs.net                    LEASE                       $0
SERVICES LLC               SPRING, TX - 77373


BRYAN FAGAN                3707 FM 1960, SUITE 400                  ana@bryanfagan.com                        LEASE                       $0
                           HOUSTON, TX - 77068


CARRIE MARQUIS                                                     carrie@bryanfagan.com                      LEASE                       $0



CONQUERING THOUGHTS        21655 FALVEL LAKE DRIVE              conqueringthoughts@gmail.com                  LEASE                       $0
LLC                        SPRING, TX - 77388


CREDIT APPROVE, LLC        3902 NEWCOMEN DRIVE                 qsumrall@creditdisputecloud.com                LEASE                       $0
                           HOUSTON, TX - 77066


DUSTIN WILLIAMS            11123 HUMBLE GULLY RUN DRIVE          williamsdr1010@yahoo.com                     LEASE                       $0
                           HUMBLE, TX - 77396


ELDRIDGE ROOFING &         5907 SPRING CYPRESS ROAD              amanda@eldridgeroofing.com                   LEASE                       $0
RESTORATION, INC.          SPRING, TX - 77379


ERIKA JONES                13218 BARROW POINT LANE                 ejonesconsulting@att.net                   LEASE                       $0
                           HOUSTON, TX - 77014

FACEGAWDD STUDIO & CO 804 AVENUE I                               facegawddstudio@yahoo.com                    LEASE                       $0
LLC                   CONROE, TX - 77301

GABRIEL ALEMAN             6662 CANYON WAY DRIVE                gabriel.aleman7542@gmail.com                  LEASE                       $0
                           HOUSTON, TX - 77086

IN AND OUT TAX & MORE      20983 NEW PROPER DRIVE               cwilkerson@elitetaxconola.com                 LEASE                       $0
LLC                        NEW CANEY, TX - 77357

JEFF HARVEY                3707 FM 1960 W, SUITE 450              jeff.harvey@applicable.com                  LEASE                       $0
                           HOUSTON, TX - 77090

JORGE ALATORRE             13313 CUTTEN ROAD, #3110               j.alatorre@goosehead.com                    LEASE                       $0
                           HOUSTON, TX - 77069
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                                                                                                      Contract Proposed to be Assumed and
   Contract Counterparty                      Address                          E-Mail Address                                             Proposed Cure
                                                                                                                   Assigned
LAZA LOGISTICS LLC         13319 ELLA RIDGE LANE                         lazalogisticsllc@gmail.com                 LEASE                      $0
                           HOUSTON, TX - 77067

LIEM THANG NGUYEN          13578 PASA RUBLES LN                                                                    LEASE                       $0
                           HOUSTON, TX - 77083

LORRAINE DAY BEAUTY        12607 MIILLVAN DRIVE                           jenine.jude@gmail.com                    LEASE                       $0
EMPORIUM LLC.              HOUSTON, TX - 77070

LOUIS MENDOZA              3707 FM 1960, SUITE 200B                          jhpr1821@gmail.com                    LEASE                       $0
                           HOUSTON, TX - 77068

MARIA BALDERAS             3707 FM 1960, SUITE 200P                     balderasinsurance@gmail.com                LEASE                       $0
                           HOUSTON, TX - 77068

MAVEN POWER, LLC           3707 Cypress Creek Parkway, Suite 220          doehl@mavenpower.com                     LEASE                       $0
                           Houston. TX - 77379
PITS GLOBAL LLC            2424 OCEAN AVENUE, UNIT 1A                     zk@pitsdatarecovery.com                  LEASE                       $0
                           BROOKLYN, NY - 11229

REGINALD JONES             3707 FM 1960, SUITE 200H                       Rjonesa1ps@yahoo.com                     LEASE                       $0
                           HOUSTON, TX - 77068

SOLAR WARRIOR LLC          455 HCR 1256                                  dconcepcion@txwarrior.org                 LEASE                       $0
                           WHITNEY, TX - 76692

SYNTHETIC OILS AND         4 WATERWAY SQUARE PLACE, SUITE 275             dbrewer@soltexinc.com                    LEASE                       $0
LUBRICANTS OF TEXAS,       THE WOODLANDS, TEXAS, TX - 77380
INC.

TIFFANY POCHE              3707 FM 1960 W                                 aplus.angels@yahoo.com                   LEASE                       $0
                           SUITE 200G
                           HOUSTON, TX - 77068

WATT INDUSTRIES LLC        17811 Woodlode Lane                            wessel@watt-group.com                    LEASE                       $0
                           Spring, TX - 77379
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                                                             CORPORATE PARK PLACE
                                                                                                     Contract Proposed to be Assumed and
   Contract Counterparty                  Address                         E-Mail Address                                                   Proposed Cure
                                                                                                                  Assigned
2020 COMPANIES, INC        1333 CORPORATE DR, SUITE 103             2020AP@2020companies.com                       LEASE                        $0
                           IRVING, TX - 75038


AMERICAN WOODMARK          ATTN: PAUL JOACHIMCZYK                     mwood@timberlake.com                         LEASE                        $0
CORPORATION                561 SHADY ELM ROAD
                           WINCHESTER , VA - 22602

AMERILIFE OF TEXAS, LLC    1333 CORPORATE DR, SUITE 310            AccountsPayable@Amerilife.com                   LEASE                        $0
                           IRVING, TX - 75038


ANVETA, INC                1333 CORPORATE DRIVE, SUITE 108                 hr@anveta.com                           LEASE                        $0
                           IRVING, TX - 75038


AVJ SOLUTIONS INC          8906 MERCEDES AVENUE                       pogos@avj-solutions.com                      LEASE                        $0
                           ATTN: POGOS TOFALYAN
                           ARLETA, CA - 91331

BAKER HUGHES OILFIELD      17021 ALDINE WESTFIELD ROAD              jim.dodson@bakerhughes.com                     LEASE                        $0
OPERATIONS LLC             HOUSTON, TX - 77073


BRANDON WATSON AND         1333 CORPORATE DR, SUITE 110           brandonwatson@pylantmedical.com                  LEASE                        $0
ROB BLANCHARD              IRVING, TX - 75038


CENTENNIAL                 1333 CORPORATE DR, SUITE 202                 jrivera@cce-inc.com                        LEASE                        $0
CONTRACTORS                IRVING, TX - 75038
ENTERPRISES, INC



CONNECTIX CORPORATION 1333 CORPORATE DRIVE, SUITE 345                  hr@connectixcorp.com                        LEASE                        $0
                      IRVING, TX - 75038


CTJ MAINTENANCE, INC.      1333 CORPORATE DRIVE, SUITE 112             bcdcirving@gmail.com                        LEASE                        $0
                           IRVING, TX - 75038


E3 DIAGNOSTICS, INC.       1333 CORPORATE DR, SUITE 105               snoe@e3diagnostics.com                       LEASE                        $0
                           IRVING, TX - 75038


EPN ENTERPRISES, INC       1333 CORPORATE DR, SUITE 220             accounting@247medstaff.com                     LEASE                        $0
                           IRVING, TX - 75038


ESK GROUP, INC             1333 CORPORATE DR, SUITE 116               info@technovaglobal.com                      LEASE                        $0
                           IRVING, TX - 75038




FAIRWAY INDEPENDENT  1333 CORPORATE DR, SUITE 203                  leaseaccounting@fairwaymc.com                   LEASE                        $0
MORTGAGE CORPORATION IRVING, TX - 75038

FREEFLIGHT ACQUISTION      1333 CORPORATE DRIVE, SUITE 300         osilakova@freeflightsystems.com                 LEASE                        $0
CORPORATION                ATTN: MICHAEL MASON
                           IRVING, TX - 75038

FST,LLC                    1333 CORPORATE DR, SUITE 330             jdgabehart@firststepsped.com                   LEASE                        $0
                           IRVING, TX - 75038
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                                                                                                      Contract Proposed to be Assumed and
   Contract Counterparty                      Address                     E-Mail Address                                                    Proposed Cure
                                                                                                                   Assigned
IKON IT SOLUTIONS, INC     42615 WINDFLOWER DRIVE                      lavanya@ikonitsol.com                        LEASE                        $0
                           ASHBURN, VA - 20148

ITSCOUT INC                1333 CORPORATE DR, SUITE 320                accounts@itscout.net                         LEASE                        $0
                           IRVING, TX - 75038

LARGO CONCRETE, INC.       1333 CORPORATE DRIVE, SUITE 206           szato@largoconcrete.com                        LEASE                        $0
                           IRVING, TX - 75038

LATHA SHA                  1333 CORPORATE DRIVE, SUITE 108                hr@anveta.com                             LEASE                        $0
                           IRVING, TX - 75038

MIKE GRONHOLZ              1917 S. CONCHO DR.                    mgronholz@freeflightsystems.com                    LEASE                        $0
                           SAN ANGELO, TX - 76904

NARVEE TECH INC            1333 Corporate Drive, Suite 102              hr@narveetech.com                           LEASE                        $0
                           Irving, TX - 75038

PIXENTIA CORPORATION       1333 CORPORATE DRIVE, SUITE 212              skoya@pixentia.com                          LEASE                        $0
                           IRVING, TX - 75038

PRITNA, INC, A DELAWARE    1333 CORPORATE DR, STE 121                management@pritna.com                          LEASE                        $0
CORPORATION                IRVING, TX - 75038

PRODAPT NORTH AMERICA, 10260 SW GREENBURG ROAD, SUITE 630            karishma.k@prodapt.com                         LEASE                        $0
INC.                   PORTLAND, OR OR - 97223


RAJIB RAJBHAT              4945 NAVAJO WAY                              rajib@kuchuri.com                           LEASE                        $0
                           FORT WORTH, TX - 76137

RESOLVITY, INC.            1333 CORPORATE DRIVE, STE. 211                arun@voicegain.ai                          LEASE                        $0
                           ATTN: ARUN SANTHEBENNUR
                           IRVING, TX - 75038

RWW HOME AND           1333 CORPORATE DR, SUITE 245             leasesupport@brightspringhealth.com                 LEASE                        $0
COMMUNITY REHAB        IRVING, TX - 75038
SERVICES, INC
SMARTWATT ENERGY, INC. 1333 CORPORATE DRIVE, SUITE 315            cbsna-apinvoices@centrica.com                     LEASE                        $0
                       IRVING, TX - 75038
TRUEXCELLENCEGROUP, LLC1333 CORPORATE DRIVE, SUITE 213           gwood@truexcellencestaffing.com                    LEASE                        $0
                       IRVING, TX - 75038

VALOUR USA INC., ASTER     1333 CORPORATE DRIVE, SUITE 216            sudheer@valourusa.com                         LEASE                        $0
INC., SFORCE CORP          IRVING, TX - 75038

VALUE GROWTH VENTURES 1333 CORPORATE DR, SUITE 270               support@valuegrowthventures.com                    LEASE                        $0
LLC                   IRVING, TX - 75038

VISUAL TECHNOLOGIES        1333 CORPORATE DRIVE, SUITE 264        mazhar@visualitconsulting.com                     LEASE                        $0
                           IRVING, TX - 75038

VIVA HOME HEALTH           3010 LBJ FREEWAY, STE #1100                    AP@Elara.com                              LEASE                        $0
SERVICES, LLC              ATTN: AP DEPT.
                           DALLAS, TX - 75234

ZTHERNET LLC               1333 CORPORATE DR, SUITE 240                tfisher@zthernet.com                         LEASE                        $0
                           IRVING, TX - 75038
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                                                                ENERGY PLAZA I & II
                                                                                                                     Contract Proposed to be   Proposed
    Contract Counterparty                      Address                              E-Mail Address
                                                                                                                     Assumed and Assigned        Cure
A WORLD FOR CHILDREN         2007 SAM BASS ROAD, BLDG 2                            vasquezs@awfc.org                         LEASE                $0
                             ROUND ROCK, TX - 78681


AARON PENALOZA               615 E. MANDALAY                                      aaron@penaloza.com                         LEASE                $0
                             SAN ANTONIO, TX - 78212


ADAM GARZA                   8620 N NEW BRAUNFELS, SUITE 515                   adam@partnerwithtrust.com                     LEASE                $0
                             SAN ANTONIO, TX - 78217


AGRI SOLUTIONS               13302 OVERGLEN                             eduardo.ruiz@agrisolutionsinternational.co           LEASE                $0
INTERNATIONAL, LLC           SAN ANTONIO, TX - 78231                                       m


ALTERNATIVE CLAIMS           8610 N New Braunfels Suite 210                  MLewandowski@altclaim.com                       LEASE                $0
MANAGEMENT, LLC              San Antonio, TX - 78217


AMERIVET PARTNERS            8620 N. NEW BRAUNFELS AVENUE, STE                      ap@amerivet.com                          LEASE                $0
MANAGEMENT INC               500
                             SAN ANTONIO, TX - 78217

ANA ROESCH                   8620 North New Braunsfels, Suite ES-528      momneedsabreakcleaning@gmail.com                   LEASE                $0
                             San Antonio, TX - 78217


AUDICLES, INC.               8610 N NEW BRAUNFELS, SUITE 220                    drtracyboard@gmail.com                       LEASE                $0
                             SAN ANTONIO, TX - 78217


BLACK, LLC                   8620 N NEW BRAUNFELS, SUITE 215                 jblack@blackenergygroup.com                     LEASE                $0
                             SAN ANTONIO, TX - 78217


BRAND-TRUE, LLC              8610 N. NEW BRAUNFELS, SUITE 702                   nanette@btycreative.com                      LEASE                $0
                             SAN ANTONIO, TX - 78217


BRUINGTON ENGINEERING        8620 N. NEW BRAUNFELS, SUITE N-315            steveb@bruingtonengineering.com                   LEASE                $0
LTD.                         SAN ANTONIO, TX - 78217

BRUINGTON OPERATING II,      8620 N. NEW BRAUNFELS, SUITE N-305            steveb@bruingtonengineering.com                   LEASE                $0
LLC                          SAN ANTONIO, TX - 78217

CAPITAL DEVELOPMENT          8620 N. NEW BRAUNFELS, SUITE ES-543             peter.margolis@ienergyeu.com                    LEASE                $0
CORPORATION                  SAN ANTONIO, TX - 78217

CARDINAL FINANCIAL        3701 ARCO CORPORATE DRIVE, SUITE                       tracytylman@gmail.com                       LEASE                $0
COMPANY                   200
                          CHARLOTTE, NC - 28273
CASCADIA GLOBAL SECURITY 600 OAKESDALE AVENUE, SW #103                        c.weiser@cascadia-global.com                   LEASE                $0
INC                       RENTON, WA - 98057
CHARLES MYERS             8620 NORTH NEW BRAUNFELS, N502                    toni@charlesmyersinsurance.com                   LEASE                $0
                          SAN ANTONIO, TX - 78217
CHARLES PARKER            8620 North New Braunfels, Suite ES-527                 parkcar@sbcglobal.net                       LEASE                $0
                          San Antonio, TX - 78217
CHASNOFF, MUNGIA, PEPPING 1020 N.E. LOOP 410, #150                          calexander@chasnoffstribling.com                 LEASE                $0
& STRIBLING LLP           SAN ANTONIO, TX - 78209
CITY ORIENTE, INC.        8620 N. NEW BRAUNFELS, SUITE N-603                 pbuchanan@fordresources.com                     LEASE                $0
                          SAN ANTONIO, TX - 78217

CLAY CONSULTING LLC          8207 CALLAGHAN RD., STE 320                    accounting@clayconsultingllc.com                 LEASE                $0
                             SAN ANTONIO, TX - 78230
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                                                                                                          Contract Proposed to be   Proposed
     Contract Counterparty                   Address                         E-Mail Address
                                                                                                          Assumed and Assigned        Cure
DARYL ALTON ZIPP              8620 N NEW BRAUNFELS, SUITE 620               dzipp@satx.rr.com                     LEASE                $0
                              SAN ANTONIO TX - 78217

DAVID N. WRIGHT &             525 ROUND ROCK WEST DRIVE, SUITE A-       zhen.wu@dalecarnegie.com                  LEASE                $0
ASSOCIATES, LLC               145
                              ROUND ROCK, TX - 78681
DIGITALDESK, INC              1000 CENTRAL PARKWAY N, SUITE 223        rggomm@digitaldeskinc.com                  LEASE                $0
                              SAN ANTONIO, TX - 78232

DOMINIQUE LIU AND SERGIO      700 N. ST. MARY'S, #1400               sjimenez@dominion-strategies.com             LEASE                $0
JIMENEZ-GUDINO                SAN ANTONIO, TX - 78205
DOUGLAS C. YOUNG              8620 N. NEW BRAUNFELS, SUITE N-210           kjtyler@sbcglobal.net                  LEASE                $0
                              SAN ANTONIO, TX - 78217


ENGVALL & YORK, LLP           1811 BERING, SUITE 210                     jengvall@eltexaslaw.com                  LEASE                $0
                              HOUSTON, TX - 77057
EVERT CHUNG, ASHLEY           8620 NORTH NEW BRAUNFELS, SUITE N-         evanchungffl@gmail.com                   LEASE                $0
PEREZ, GINA RODRIGUEZ         508
                              SAN ANTONIO, TX - 78217
FIRMATEK, LLC                 304 W. KIRKWOOD AVENUE, SUITE 100          accounting@firmatek.com                  LEASE                $0
                              BLOOMINGTON, IN - 47404


FIRST CHOICE BROKERS LLC      20915 WILDERNESS OAK #9206                  LILY@SHIPNTS.COM                        LEASE               $0
                              SAN ANTONIO, TX - 78258
FOSTER CM GROUP, INC., a      8610 N. NEW BRAUNFELS, SUITE S-606        jrobb@fostercmgroup.com                   LEASE                $0
Texas Corporation             SAN ANTONIO, TX - 78217

G.A. & ED LOWRANCE, INC.      8620 N. NEW BRAUNFELS, SUITE N-306         rmlowrance78217@att.net                  LEASE                $0
                              SAN ANTONIO, TX - 78217

GATEWAY MORTGAGE GROUP 8610 NORTH NEW BRAUNFELS, SUITE S-                leases@gatewayfirst.com                  LEASE                $0
                           309
                           SAN ANTONIO, TX - 78217
GRAVITY LEADERSHIP &       8610 N NEW BRAUNFELS, SUITE 701               flisenbee@hcr-audit.com                  LEASE                $0
MANAGEMENT, LLC            SAN ANTONIO, TX - 78217
GUIDING LIGHT HOSPICE, INC 3218 NACOGDOCHES ROAD                       m.trust@guidinghospice.com                 LEASE                $0
                           SAN ANTONIO, TX - 78218
IT NETWORK PROFESSIONALS, 8610 NORTH NEW BRAUNFELS, SUITE                 dgoree@itnetpros.com                    LEASE                $0
L.L.C.                     610
                           SAN ANTONIO, TX - 78217
IWC OIL & REFINERY, LLC    8610 N NEW BRAUNFELS, SUITE S-301             C.Gonzalez@iwcoil.com                    LEASE                $0
                           SAN ANTONIO, TX - 78217
JDRF INTERNATIONAL         8610 N. NEW BRAUNFELS, SUITE 700                 jstuckey@jdrf.org                     LEASE                $0
                           SAN ANTONIO, TX - 78217
JESUS MENDOZA              8620 North New Braunsfels                   wfgalexmendoza@gmail.com                   LEASE                $0
                           San Antonio, TX - 78217
JOHN C. CALHOUN, CPA       8620 N. NEW BRAUNFELS, SUITE N-427              jcalhoun@yahoo.com                     LEASE                $0
                           SAN ANTONIO, TX - 78217

LAW OFFICE OF JAVIER N.       8610 NORTH NEW BRAUNFELS, SUITE N-        jmaldonado.law@gmail.com                  LEASE                $0
MALDONADO, P.C.               605
                              SAN ANTONIO, TX - 78217
LGC Associates, LLC           8620 North New Braunfels, Suite N610      rebeccal@lgcassociates.com                LEASE                $0
                              San Antonio, TX - 78217
LOGIX COMMUNICATIONS                                                  Sharon.Obrien@LogixCom.com                  LEASE               $0
LUNDMED TECHNOLOGY            8620 N NEW BRAUNFELS, SUITE ES-519           jlundy@lundmed.com                     LEASE               $0
SOLUTIONS, LLC                SAN ANTONIO, TX - 78217

MARIA MARTINEZ                5714 OOLOOTEKA DRIVE                    gottaxes.mmartinez@gmail.com                LEASE                $0
                              SAN ANTONIO, TX - 78218
MARK THOMPSON                 8555 LAURENS LN, #1506                  markcthompsonlaw@gmail.com                  LEASE                $0
                              SAN ANTONIO, TX - 78217
MARTIN D. MCREYNOLDS          418 E. MULBERRY AVENUE                     spartanjurist@gmail.com                  LEASE                $0
                              SAN ANTONIO, TX - 78212
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                                                                                                              Contract Proposed to be   Proposed
    Contract Counterparty                   Address                            E-Mail Address
                                                                                                              Assumed and Assigned        Cure
MATTHEW FELTER AND           4707 COBBLE HILL                             matthew.lfrg@gmail.com                      LEASE                $0
ANDREW LAKE                  SAN ANTONIO, TX - 78217
MCNEEL LAW PLLC              120 LILAC LANE                              jmcneel@grablemartin.com                     LEASE                $0
                             SAN ANTONIO, TX - 78209

MENDING HEARTS, LLC       8620 North New Braunfels, Suite 130           jennifer@mending-hearts.com                   LEASE                $0
                          San Antonio, TX - 78217
MICHAEL D. PAUL, PLLC     8610 North New Braunsfels, Suite S-320           mdeanpaul@gmail.com                        LEASE                $0
                          San Antonio, TX - 78217
MICHAEL W. JACKSON        8265 JAMESTOWN SQUARE                            boerneattorney@aol.com                     LEASE                $0
                          BOERNE, TX - 78015
MILLER MAYS & ASSOCIATES, 8620 N. NEW BRAUNFELS, SUITE N-216                jeff@millermays.com                       LEASE                $0
LLC                       SAN ANTONIO, TX - 78217

MUNROE, PARK, AND         8610 N NEW BRAUNFELS, STE S707                  michelle@mpjonline.com                      LEASE                $0
JOHNSON INC               SAN ANTONIO, TX - 78217
MV HOME SERVICES LLC      5630 WOOD CLIMB STREET                          mvmireles130@gmail.com                      LEASE                $0
                          SAN ANTONIO, TX - 78233
NEXGEN WATER SOLUTIONS 951 COUNTY ROAD 160                            jon.crittenden@nexgen-water.com                 LEASE                $0
LIMITED LIABILITY COMPANY KENEDY, TX - 78119

NICOLASA SANDOVAL       6403 CANDLEVIEW COURT                            mystartrucking@gmail.com                     LEASE                $0
RODRIGUEZ               SAN ANTONIO, TX - 78244
NORMA GARCIA            8620 North New Braunfels, Suite ES-546              norma@garciacs.com                        LEASE                $0
                        San Antonio, TX - 78217
PEAK TECHNICAL SERVICES 583 EPSILON DR                                michellegolian@peaktechnical.com                LEASE                $0
INC                     PITTSBURGH, PA - 15238
PIXELWORKS CORPORATION 8603 BOTTS LANE                                       pixelworks@stic.net                      LEASE                $0
                        SAN ANTONIO, TX - 78217
PROTECTION DEVELOPMENT, 8620 N. NEW BRAUNFELS, SUITE N-100                  memler@pdifire.com                        LEASE                $0
INC.                    SAN ANTONIO, TX - 78217

QUAIL TOOLS, LP              P.O. BOX 10739                              marklemaire@quailtools.com                   LEASE                $0
                             NEW IBERIA, LA - 70562
RANIA DANIELS                140 VALLEY VIEW                               tipofthings@gmail.com                      LEASE                $0
                             LA VERNIA, TX - 78121
RAYES, INC.                  P.O. BOX 195429                          patrickr@breakfaststobanquets.com               LEASE                $0
                             DALLAS, TX - 75219-8607
RESNICK & LOUIS, P.C.        8620 NORTH NEW BRAUNFELS, SUITE             accounting@rlattorneys.com                   LEASE                $0
                             N416
                             SAN ANTONIO, TX - 78217
RICHARD F. HOWE              8610 & 8620 North New Braunfels, S612          bond007131@aol.com                        LEASE                $0
                             San Antonio, TX - 78217
RICHARD HOWE                 8610 & 8620 North New Braunfels, S612          bond007131@aol.com                        LEASE                $0
                             San Antonio, TX - 78217
RIVERSIDE SECURITIES         8620 NORTH NEW BRAUNFELS AVE., N-          bbates@riversidesecurities.com                LEASE                $0
                             102
                             SAN ANTONIO, TX - 78217
ROBERT L. HERBAGE            8620 N New Braunfels Ave, Suite 604     rherbage@hospitalitydesigngroup.com              LEASE                $0
                             SAN ANTONIO, TX - 78217
ROLAND ECHAVARRIA, P.C.      8620 NORTH NEW BRAUNFELS AVENUE,                repc@texaswills.org                      LEASE                $0
                             SUITE N-410
                             SAN ANTONIO, TX - 78217
ROSA E. LOPES AVILES         2618 NACOGDOCHES ROAD, #211               lifewatersystems.usa@gmail.com                 LEASE                $0
                             SAN ANTONIO, TX - 78217
SADOVSKY & ELLIS PLLC        8620 NORTH NEW BRAUNFELS, STE 110             jon@sadovskyellis.com                      LEASE                $0
                             SAN ANTONIO, TX - 78217

SAN ANTONIO PETROLEUM        8620 N. NEW BRAUNFELS, SUITE N-616            barbara@petroclub.com                      LEASE                $0
CLUB                         SAN ANTONIO, TX - 78217

SATX HEAVY DUTY TRUCK        5505 TPC PARKWAY, #1104                     jorgem@mgroupmusic.com                       LEASE                $0
PARTS LLC                    SAN ANTONIO, TX - 78261
SMITH PROTECTIVE             4440 BELTWAY DRIVE                         Melliott@smithprotective.com                  LEASE                $0
MANAGEMENT, INC              ADDISON, TX - 75001
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                                                                                                          Contract Proposed to be   Proposed
    Contract Counterparty                  Address                          E-Mail Address
                                                                                                          Assumed and Assigned        Cure
STEED BARKER, PLLC           8610 NORTH NEW BRAUNFELS, SUITE           jsteed@steedbarkerlaw.com                  LEASE                $0
                             701
                             SAN ANTONIO, TX - 78217
TACIT GROWTH STRATEGIES      8620 NORTH NEW BRAUNFELS AVE,               ceo@growthistacit.com                    LEASE                $0
LLC                          SUITE ES-521
                             LA JUANA CHAMBERS LAWSON
                             SAN ANTONIO, TX - 78217
THE K FORD GROUP, P.C.       8620 N. NEW BRAUNFELS, SUITE N-300      vrichey@theKFORDgroup.com                    LEASE                $0
                             SAN ANTONIO, TX - 78217

THOMAS R. WARD               8620 N. NEW BRAUNFELS, SUITE N-424           c.hudler@yahoo.com                      LEASE                $0
                             SAN ANTONIO, TX - 78217

THREE RIVERS ENERGY, LTD 4801 BROADWAY                                   zandra@vistamm.com                       LEASE                $0
                         SAN ANTONIO, TX - 78209
TORO BRAVO CONSTRUCTION, 8620 NORTH NEW BRAUNFELS, SUITE              joy@bowmanengineers.com                     LEASE                $0
LLC                      547
                         SAN ANTONIO, TX - 78217
TPS Systems, Inc.        8610 North New Braunsfels, Suite S615              susan@tps.com                         LEASE                $0
                         San Antonio, TX - 78217
TRINIDAD RESOURCES, LLC  8610 NORTH NEW BRAUNFELS, SUITE              mitch@trinidadresources.com                 LEASE                $0
                         612
                         SAN ANTONIO, TX - 78217
V&A CONSULTING ENGINEERS 8610 NORTH NEW BRAUNFELS, SUITE ES-         chunniford@vaengineering.com                 LEASE                $0
                         542
                         SAN ANTONIO, TX - 78217
VALERIE G. RIVAS         8620 North New Braunfels, Suite ES 517    valeriegrivas.counselor@gmail.com              LEASE                $0
                         San Antonio, TX - 78217
VALOR EXPLORATION, LLC   8610 NEW BRAUNFELS, SUITE S-703             amedina@valorexploration.com                 LEASE                $0
                         SAN ANTONIO, TX - 78217
VANTAGE OPERATING, LLC   8610 NORTH NEW BRAUNFELS, SUITE          clare.villarreal@vantageoperating.com           LEASE                $0
                         400
                         SAN ANTONIO, TX - 78217
WEST AND SWOPE RANCHES, 8620 N. NEW BRAUNFELS, SUITE 115           clocke@westandswoperanches.com                 LEASE                $0
LLC                      SAN ANTONIO, TX - 78217
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                                                                     GARDEN OAKS
                                                                                                                 Contract Proposed to be
   Contract Counterparty                       Address                              E-Mail Address                                         Proposed Cure
                                                                                                                 Assumed and Assigned
ALDI (TEXAS) L.L.C.        777 HIGHWAY 90A W                                      Janice.polak@aldi.us                   LEASE                  $0
                           ROSENBERG, TX - 77471


CELLPHONE4US LLC           17319 LEGEND RUN COURT                              cellphone4us@yahoo.com                    LEASE                  $0
                           TOMBALL, TX - 77375


D2 ICE, LLC                7312 LOUETTA ROAD, B118-609                          damiandecell@gmail.com                   LEASE                  $0
                           SPRING, TX - 77379


DOLLAR TREE STORES, INC. 500 VOLVO PARKWAY                                      tx_rents@dollartree.com                  LEASE                  $0
                         ATTN: LEASE ACCOUNTING DEPARTMENT.300
                         CHESAPEAKE, VA - 23320

FARMBOY BREW SHOP, LLC 1309 CHAMBOARD LANE                                   landon@farmboybrewshop.com                  LEASE                  $0
                       HOUSTON, TX - 77018


GINGER MILLER              3830 NORTH SHEPHERD                              millerscafeshepherd@gmail.com                LEASE                  $0
                           HOUSTON, TX - 77018


GMET COMMUNICATIONS,       1925 EL. BELT LINE ROAD, SUITE 404               juan@gmetcommunications.com                  LEASE                  $0
LLC                        CARROLLTON, TX - 75006


JOSE URIAS                 3912 NORTH SHEPHERD                                quickfixtailoring@gmail.com                LEASE                  $0
                           HOUSTON, TX - 77018


LAMINATE COUNTERTOPS, 3832-B NORTH SHEPHERD                                  anita@laminatecountertops.com               LEASE                  $0
INC.                  HOUSTON, TX - 77018


LESLIE'S POOLMART, INC.    2005 E. INDIAN SCHOOL ROAD                             leaseadmin@lesl.com                    LEASE                  $0
                           PHOENIX, AZ - 85016


LIFE SAVERS EMERGENCY      3820-A N SHEPHERD                                    orseer@lifesaverser.com                  LEASE                  $0
ROOM II, LLC               HOUSTON, TX - 77018




NORTH HOUSTON BIRTH        3800 N. SHEPHERD, SUITE 3904-C and 3910        kathyvg@northhoustonbirthcenter.com            LEASE                  $0
CENTER, L.L.C.             HOUSTON, TX - 77018
PFH GARDEN OAKS, LLC       3355 W. ALABAMA, STE 825                              accounting@houfit.com                   LEASE                  $0
                           HOUSTON, TX - 77098
REGIONAL FINANCE           979 BATESVILLE RD., SUITE B                    azusmer1@regionalmanagement.com                LEASE                  $0
CORPORATION OF TEXAS       GREER, SC - 29651

SALEEM FARAHSHAH/STAN 3808 NORTH SHEPHERD                                       shahrose@sbcglobal.net                   LEASE                  $0
CLEANERS              HOUSTON, TX - 77018

SANG NGUYET NGUYEN     8902 BOLD FOREST DR.                                      lvnailsspa@yahoo.com                    LEASE                  $0
                       HOUSTON, TX - 77088
SMILE SQUAD OF HOUSTON 2410 RUTLAND STREET                                  smilesquadshepherd@gmail.com                 LEASE                  $0
SHEPHERD PLLC          HOUSTON, TX - 77008

SPECTRASITE COMM., INC.    ATTN: LAND MANAGEMENT                          landlord.relations@americantower.com           LEASE                  $0
#310214                    10 PRESIDENTIAL WAY
                           WOBURN, MA - 01801
SUBWAY RESTAURANT          325 SUB WAY                                           grasubway@gmail.com                     LEASE                  $0
                           MILFORD, CT - 06461
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                                                                                                Contract Proposed to be
   Contract Counterparty                    Address                   E-Mail Address                                      Proposed Cure
                                                                                                Assumed and Assigned
U.S. POSTAL SERVICE        PO BOX 5527                            felicia.f.warner@usps.gov             LEASE                  $0
                           DENVER, CO - 80217-5527
YINGJIE ZHANG              9201 CLAREWOOD DRIVE, #15                                                    LEASE                  $0
                           HOUSTON, TX - 77036
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                                                                 GATEWAY TOWER
                                                                                                                Contract Proposed to be   Proposed
   Contract Counterparty                    Address                               E-Mail Address
                                                                                                                Assumed and Assigned        Cure
ABDELHADI & ASSOCIATES, 519 TERESA LN                                              haa@aalaw.net                        LEASE                $0
P.C.                    GRAND PRAIRIE, TX - 75052


ACME CAPITAL HOLDINGS 8111 LBJ FREEWAY, SUITE 970                              pvsam1969@yahoo.com                      LEASE                $0
INC                   DALLAS, TX - 75251


ACME COMMUNITY             9831 VICKIE LANE                                    pvsam1969@yahoo.com                      LEASE                $0
SERVICES INC               FRISCO, TX - 75035


AIRBAND                    1799 Enterprise St                              invoices@oneringnetworks.com                 LEASE                $0
COMMUNICATIONS, INC.       Athens, TX - 75751


AMERICAN WESTERN           8111 LBJ FREEWAY, SUITE 810                    patricia@americanwesternsteel.com             LEASE                $0
STEEL, LLC                 DALLAS, TX - 75251


BARKER & COMPANY, PC.      8111 LBJ FREEWAY, SUITE 820                          robbcpa@yahoo.com                       LEASE                $0
                           DALLAS, TX - 75251


BIEL FISETTE IACONO, LLP 8111 LBJ FREEWAY, SUITE 1065                        EIacono@cpa-solution.com                   LEASE                $0
                         DALLAS, TX - 75251


CAREFIRST MEDICAL          5982 KERRY DRIVE                                 haresh.boghara@cfwaok.com                   LEASE                $0
MANAGEMENT LLC             FRESNO, TX - 75035


CATEGORY ONE               9224 OAK GROVE ROAD                                  sjubrey@aildfw.com                      LEASE                $0
ENTERPRISES, LP            FORT WORTH, TX - 76140


CITY GATE PROPERTY         8111 LBJ FREEWAY, SUITE 1501                        psmits@citygatePG.com                    LEASE                $0
GROUP, LLC                 DALLAS, TX - 75251


CITY GATE PROPERTY         8111 LBJ FREEWAY, SUITE 1501                        psmits@citygatePG.com                    LEASE                $0
GROUP, LLC                 DALLAS, TX - 75251


CROSSPOINT ATRIUM          Holt Lunsford Commercial, 8131 LBJ                payhic-regular@yardifs.com                 LEASE                $0
                           Freeway, SUITE 106
                           DALLAS, TX - 75251

ELAHI LAW & MEDIATION 8111 LBJ FREEWAY, SUITE 655                             shayan@elahilawfirm.com                   LEASE                $0
FIRM PLLC and THE AHMED DALLAS, TX - 75251
FIRM P.L.L.C

FRONT POINT HEALTH LLC ATTN: BRENT KORTE                              SudeepWagley@frontpointhealthcare.com             LEASE                $0
                       2702 N. OGDEN ROAD, #102
                       MESA, AZ - 85215


GATEWAY HEALTH CLUB   8111 LBJ FREEWAY, SUITE 150A                                                                      LEASE                $0
                      DALLAS, TX - 75251
GLENN C. ALBRIGHT     6143 BRANDEIS LANE                                   glenn@albrightassociatespc.com               LEASE                $0
                      DALLAS, TX - 75214
GRACE UNLIMITED GROUP 8111 LBJ FREEWAY, SUITE 720                          graceunlimitedgroup@gmail.com                LEASE                $0
LLC                   DALLAS, TX - 75251
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                                                                                                         Contract Proposed to be   Proposed
   Contract Counterparty                Address                           E-Mail Address
                                                                                                         Assumed and Assigned        Cure
GRAIL & TUCKER LEGAL     8111 LBJ FREEWAY, SUITE 1325               jtucker@imprimaturpress.com                  LEASE                $0
PUBLISHING, LLC          DALLAS, TX
GREYHELLER LLC           8111 LBJ FREEWAY, STE 1475                  katlynn.drake@pathlock.com                  LEASE                $0
                         DALLAS, TX - 75251
HEALTHCOR CAPITAL LLC 8111 LBJ FREEWAY, SUITE 1000                    aquaumoren@yahoo.com                       LEASE                $0
                         DALLAS, TX - 75251
INTEGRA STAFFING INC     8111 LBJ FREEWAY, SUITE 880              bookkeeper@integrastaffinginc.com              LEASE                $0
                         DALLAS, TX - 75251
ISLAND PEAK GROUP, LLC 8111 LBJ FREEWAY, SUITE 1285                  olenec@texastaxprotest.com                  LEASE                $0
                         DALLAS, TX - 75251
JOHN HANCOCK LIFE                                                                                                LEASE                $0
INSURANCE COMPANY
(U.S.A.)
KRUEGER LAW GROUP, LLP 1400 WESTERN HILLS DRIVE                     landon@kruegerlawgroup.com                   LEASE                $0
                         SHERMAN, TX - 75082
LAW OFFICE OF JAN        8111 LBJ FREEWAY, SUITE 750               nancynthompson@sbcglobal.net                  LEASE                $0
HOLEYWELL-SMITH & LAW DALLAS, TX - 75251
OFFICE OF NANCY NALL
THOMPSON
LAW OFFICE OF KENNA      8111 LBJ FREEWAY, SUITE 155                                                             LEASE                $0
GARNER & RODERICK, L.L.P DALLAS, TX - 75251

LONDON & LONDON, PLLC 8111 LBJ FREEWAY, SUITE 1502                    info@londonlawdfw.com                      LEASE                $0
                        DALLAS, TX - 75251
MALONEY STRATEGIC       8111 LYNDON B JOHNSON FRWY, SUITE          jmaloney@maloneystrategic.com                 LEASE                $0
COMMUNICATIONS, INC.    1425
                        DALLAS, TX - 75251
NICHOLAS ATUMAH         8111 LBJ FREEWAY, SUITE 450                 natumah@iservehealthcare.com                 LEASE                $0
                        DALLAS, TX - 75251
NORTH TEXAS             8111 LBJ FREEWAY, SUITE 900                       clucky@ntbha.org                       LEASE                $0
BEHAVIORAL HEALTH       DALLAS, TX - 75251
AUTHORITY
PECOS CONSTRUCTION,     8111 LBJ FREEWAY, SUITE 625               accounting@pecosconstruction.com               LEASE                $0
LLC                     DALLAS, TX - 75251
PEDISON USA, INC.       8111 LBJ FREEWAY, SUITE 678                   dicksone@pedisonusa.com                    LEASE                $0
                        DALLAS, TX - 75251
RAFI LAW GROUP, PLLC    8111 LBJ FREEWAY, SUITE 665                     arafi@rafidebose.com                     LEASE                $0
                        DALLAS, TX - 75251
RIGHT PRICE TAX &       8111 LBJ FREEWAY, SUITE 655                  rightpricetaxllc@gmail.com                  LEASE                $0
BUSINESS SERVICES LLC   DALLAS, TX - 75251
SHELTER HOSPICE INC.    8111 LBJ FREEWAY, SUITE 1340                  shelterhospice@yahoo.com                   LEASE                $0
                        DALLAS, TX - 75251
SQFT CONSTRUCTION INC 8111 LBJ FREEWAY, SUITE 475                 jack@squarefootconstruction.com                LEASE                $0
                        DALLAS, TX - 75251
TAILIM SONG             8111 LBJ FREEWAY, SUITE 480                    yuliana@tailimsong.com                    LEASE                $0
                        DALLAS, TX - 75251
TEXTURE DESIGN STUDIO, 13812 WATERFALL WAY                            justin@texture-studio.com                  LEASE                $0
PLLC                    DALLAS, TX - 75240
TIME WARNER TELECOM     10475 PARK MEADOWS DR.                    realestatepayments@twtelecom.com               LEASE                $0
OF TEXAS                LITTLETON, CO - 80124
TITLE RESOURCES         8111 LBJ Freeway, Suite 1200                  realogy@retransform.com                    LEASE                $0
GUARANTY CO.            Dallas, TX - 75251
TRANS WORLD TRADING, 8111 LBJ FREEWAY, SUITE 1335                     h.ismail@merrittvillas.com                 LEASE                $0
INC                     DALLAS, TX - 75251
TRUE COMMODITIES, LLC 8111 LBJ FREEWAY, SUITE 780                      invoice@truepower.com                     LEASE                $0
                        DALLAS, TX - 75251
TWIN CITY SECURITY, INC 8111 LBJ FREEWAY, SUITE 130               Buchanan@TwinCitySecurity.com                  LEASE                $0
                        DALLAS, TX - 75251
U.S. COMMITTEE FOR      2231 CRYSTAL DRIVE, SUITE 350                    hmoss@uscrinc.org                       LEASE                $0
REFUGEES AND            ARLINGTON, VA - 22202
IMMIGRANTS
YANDO TAX & FINANCIAL 702 VALIANT CIRCLE                                                                         LEASE                $0
SERVICES, INC.          GARLAND, TX - 75043
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                                                                   GULF PLAZA
                                                                                                                Contract Proposed to be   Proposed
   Contract Counterparty                   Address                                E-Mail Address
                                                                                                                Assumed and Assigned        Cure
BWX TECHNOLOGIES, INC. 16010 BARKERS POINT LANE, SUITE 530                     dmmiracle@bwxt.com                       LEASE                $0
                       HOUSTON, TX - 77079

EVO FLIGHT SERVICES LLC 16010 BARKERS POINT, SUITE 234                           clmc@flyevo.com                        LEASE                $0
                        ATTN: CHRISTOPHER CARTWRIGHT
                        HOUSTON, TX - 77079
EYPM NORTH, INC.        1326 CARAVELLE COURT                              michael.ramirez@eypmg.com.mx                  LEASE                $0
                        ATTN: MICHAEL RAMIREZ
                        KATY, TX - 77494
GULF INTERSTATE         16010 BARKER'S POINT LANE, SUITE 600                     GulfAP@gie.com                         LEASE                $0
ENGINEERING             HOUSTON, TX - 77079

ICR USA LLC                16010 BARKERS POINT LANE, SUITE 525           jennifer.hernandez@icr-world.com               LEASE                $0
                           ATTN: Jennifer Hernandez
                           HOUSTON, TX - 77079

ICS HOLDING, LLC           121 LAKEHOUSE LANDING DRIVE                       cory.borchardt@gmail.com                   LEASE                $0
                           ATTN: CORY BORCHARDT
                           KATY, TX - 77493
INNOVA PLEX INC            26 SAINT CHRISTOPHER COURT                         kimlee@innovaplex.com                     LEASE                $0
                           ATTN: BERNARD LEE
                           SUGAR LAND, TX - 77479
INTERSICA, INC             ATTN: RYAN KING                                     rj.king@intersica.com                    LEASE                $0
                           16010 Barkers Point Ln, Suite 560
                           Houston, TX - 77079

JAVIER TAPIA INSURANCE     3038 VEEDER PASS LN                                jtapia@farmersagent.com                   LEASE                $0
AGENCY INC                 KATY, TX - 77494

KREST ENGINEERS, LLC    1511 MAJORS DRIVE                                                                               LEASE                $0
                        RICHMOND, TX - 77406
RHEONIK AMERICANS INC. 16010 BARKERS POINT, SUITE 235                       roberto.wallis@rheonik.com                  LEASE                $0
                        HOUSTON, TX - 77079
SSE OFFSHORE AMERICA    14526 OLD KATY ROAD, #204                            joaomarcos@groupse.com                     LEASE                $0
INC.                    HOUSTON, TX - 77079
TEXASURE LLC            ATTN: KINGSLEY OBASEKI                             sales@texaspropertiesinc.com                 LEASE                $0
                        4235 COOK ROAD
                        HOUSTON, TX - 77072
THE TEXAS STATE SENATE 16010 BARKERS POINT, SUITE 265                    laura.winsheimer@senate.state.tx.us            LEASE                $0
                        HOUSTON, TX - 77079
WANHUA PETROCHEMICAL ATTN: KEITH BLINCOE                                        keith@whchem.com                        LEASE                $0
US LLC                  16010 BARKERS POINT, SUITE 240
                        HOUSTON, TX - 77079
YUN JA PARK & HEUNG SIK 16010 BARKER'S POINT LANE, SUITE 140                                                            LEASE                $0
PARK                    HOUSTON, TX - 77079
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                                                          NORTH CENTRAL PLAZA
                                                                                                           Contract Proposed to be   Proposed
   Contract Counterparty                    Address                          E-Mail Address
                                                                                                           Assumed and Assigned        Cure
AD PERANTIE, LLC           12655 N CENTRAL EXPWY, SUITE 715                 kap@adperantie.com                     LEASE                $0
                           DALLAS, TX - 75243


ALL SEASONS                12655 N. CENTRAL EXPRESSWAY, SUITE 103        sue@travelallseasons.com                  LEASE                $0
INTERNATIONAL TRAVEL       DALLAS, TX - 75243
MSD, INC

ALTLITE, LLC               12655 N CENTRAL EXPRESSWAY, SUITE 1024        wsebat@altprintonline.com                 LEASE                $0
                           DALLAS, TX - 75243


AMERICAN BEST CARE         12655 NORTH CENTRAL EXPRESSWAY, Ste      robin.james@anointedhealthgroup.com            LEASE                $0
HOSPICE, INC.              350
                           DALLAS, TX - 75243

ARMSTRONG-DOUGLASS         12655 N. CENTRAL EXPRESSWAY, SUITE 720       jsd@armstrong-douglass.com                 LEASE                $0
PARTNERS,L.L.C             DALLAS, TX - 75243


BAMBOO SECURITIES, LLC 12655 N. CENTRAL EXPRESSWAY, SUITE 325             tate@investbamboo.com                    LEASE                $0
                       DALLAS, TX - 75243


BANCORPSOUTH BANK          CADENCE BANK                               sarah.tudisco@cadencebank.com                LEASE                $0
                           2100 3rd AVENUE NORTH, SUITE 1100
                           BIRMINGHAM, AL - 35203

BENEFITCORP, INC.          12655 N CENTRAL EXPRESSWAY, SUITE 810         mfellows@benefitcorp.com                  LEASE                $0
                           DALLAS, TX - 75243-3717




CAPITALONLINE DATA         12655 N CENTRAL EXPRESSWAY, SUITE 905        billing@cdsglobalcloud.com                 LEASE                $0
SERVICE INC                DALLAS, TX - 75243


CHAUDHRI TAX &          1548 SILVER SPUR DR                               anne@chaudhritax.com                     LEASE                $0
BOOKKEEPING INC., A     ALLEN, TX - 75002
TEXAS CORPORATION
COOK FINANCIAL SERVICES 12655 NORTH CENTRAL EXPRESSWAY, SUITE             gary_cook@cookfs.com                     LEASE                $0
                        0812
                        DALLAS, TX - 75243

DAYTON MACATEE             12655 N. CENTRAL EXPRESSWAY, SUITE 420    daytonm@macatee-engineering.com               LEASE                $0
ENGINEERING, LLC           DALLAS, TX - 75243


EUGENE C. STONER, JR.      12655 N. CENTRAL EXPRESSWAY, SUITE 816       skstoner@stoneralbright.com                LEASE                $0
                           DALLAS, TX - 75243


HECTOR SALDANA             7214 PIEDMONT DRIVE                          hectorcruz1130@gmail.com                   LEASE                $0
INSURANCE AGENCY LLC       DALLAS, TX - 75227


HOTEL BROKERS OF           12655 N. CENTRAL EXPRESSWAY, SUITE 550         deals@hbofamerica.com                    LEASE                $0
AMERICA INC.               DALLAS, TX - 75243




HYUNAE KANG                12655 NORTH CENTRAL EXPRESSWAY, SUITE         hyunaekang@hotmail.com                    LEASE                $0
                           123
                           DALLAS, TX - 75243
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                                                                                                             Contract Proposed to be   Proposed
   Contract Counterparty                        Address                          E-Mail Address
                                                                                                             Assumed and Assigned        Cure
IMAGES LASER HAIR          12655 N. CENTRAL EXPRESSWAY, SUITE 430           DONOSEN@MSN.COM                          LEASE                $0
RESTORATION LLC            DALLAS, TX - 75243

INTEGRATED TELECOM         12655 NORTH CENTRAL EXPRESSWAY, SUITE              diana.sieg@inovar.com                  LEASE                $0
SOLUTIONS                  0900
                           DALLAS, TX - 75243
JAMES DORN &               12655 N CENTRAL EXPRESSWAY, SUITE 195              Admin@JDAEng.com                       LEASE                $0
ASSOCIATES, LLC            DALLAS, TX - 75243

JESUS ROMERO               1102 KENT BROWN RD.                              jesse@romerocpafirm.com                  LEASE                $0
                           GARLAND, TX - 75044
JMA FIRM, PLLC             12655 N. CENTRAL EXPRESSWAY, SUITE 275              admin@jmafirm.com                     LEASE                $0
                           DALLAS, TX - 75243

KRG MANAGEMENT, LLC        12655 N. CENTRAL EXPRESSWAY, SUITE 710            cluttrell@kiterealty.com                LEASE                $0
                           DALLAS, TX - 75243

LAUREN JORDAN, LCSW,       12655 N CENTRAL EXPRESSWAY, SUITE 818            lauren6240@sbcglobal.net                 LEASE                $0
CST                        DALLAS, TX - 75243

OGUERI & ASSOCIATES, P.C. 12655 N CENTRAL EXPRESSWAY, SUITE 335                 gogueri@aol.com                      LEASE                $0
                          DALLAS, TX - 75243

PEDIATRIX MEDICAL          PEDIATRIX MED GRP - ATTN: FAC MGT             patricia.dieudonne@pediatrix.com            LEASE                $0
SERVICES, INC.             1301 CONCORD TERRACE
                           SUNRISE, FL - 33323
PHYSICIAN'S CAPITAL        8117 PRESTON RD., SUITE 400                   accountspayable@healthdev.com               LEASE                $0
INVESTMENTS, LLC           DALLAS, TX - 75225
PROACTIVE LEADERSHIP       12655 N CENTRAL EXPRESSWAY, SUITE 950           mike@resultsimproved.com                  LEASE                $0
GROUP, LLC                 DALLAS, TX - 75243

PROPERTY TAX               5926 BALCONES                                         dave@ptaff.com                      LEASE                $0
AFFILIATES, INC.           AUSTIN, TX - 78731
PTM MARKETING &            105 RIDGECREST ROAD                             edwards@ptmconsulting.org                 LEASE                $0
CONSULTING INC             STAMFORD, CT - 06903
SENKO ADVANCED             12655 N CENTRAL EXPRESSWAY, SUITE 190                 AP@senko.com                        LEASE                $0
COMPONENTS, INC.           DALLAS, TX - 75243

STEVEN BELL               1151 BENTCREEK                                        lawsbell@aol.com                     LEASE                $0
                          CEDAR HILL, TX - 75104
THE LAW OFFICE OF         12655 N CENTRAL EXPRESSWAY, SUITE 920              michael@courtroom.com                   LEASE                $0
MICHAEL F. PEZZULLI, PLLC DALLAS, TX - 75243

THE VERMILLION LAW         6335 NORTHWEST HIGHWAY, SUITE 716               john@vermillionlawfirm.com                LEASE                $0
FIRM, LLC                  DALLAS, TX - 75225-3533
THOMAS J. IRONS, P.C.      12655 N. CENTRAL EXPRESSWAY, SUITE 1016          TIRONS3398@AOL.COM                       LEASE                $0
                           DALLAS, TX - 75243

TRANSITIONAL               12655 N. CENTRAL EXPRESSWAY, SUITE 330         info@transitionalmedcare.com               LEASE                $0
HEALTHCARE SERVICES        DALLAS, TX - 75243
LLC
TRITON NETWORKS, LLC       12655 N CENTRAL EXPRESSWAY, SUITE 500                ap@tritonnet.com                     LEASE                $0
                           DALLAS, TX - 75243

UMG ADVERTISING, LLC       12655 N. CENTRAL EXPRESSWAY, SUITE 305             particia@umgaus.com                    LEASE                $0
                           DALLAS, TX - 75243

VICKI REDDEN               12655 N. CENTRAL EXPRESSWAY, SUITE 317              reddenlaw@aol.com                     LEASE                $0
                           DALLAS, TX - 75243

WELLSPINE, P.A.            12655 N. CENTRAL EXPRESSWAY, SUITE 650         invoicing@coremdpartners.com               LEASE                $0
                           DALLAS, TX - 75243

YOGESH T. PATEL D.D.S.,    Endodontic Practice Partners, LLC         accounting@endopracticepartners.com             LEASE                $0
P.A.                       105 Continental Place, Suite 300
                           Brentwood, TN - 37027
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                                                                                                             Contract Proposed to be   Proposed
   Contract Counterparty                      Address                          E-Mail Address
                                                                                                             Assumed and Assigned        Cure
YOGESH T. PATEL D.D.S.,    Endodontic Practice Partners, LLC         accounting@endopracticepartners.com             LEASE                $0
P.A.                       105 Continental Place, Suite 300
                           Brentwood, TN - 37027
ZION OIL & GAS, INC.       12655 N CENTRAL EXPRESSWAY                    shelley.jernigan@zionoil.com                LEASE                $0
                           SUITE 1000
                           DALLAS, TX - 75243
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                                                                NORTHBELT ATRIUM I
                                                                                                             Contract Proposed to be Assumed   Proposed
    Contract Counterparty                         Address                         E-Mail Address
                                                                                                                       and Assigned              Cure
AHLERS FINANCIAL GROUP LLC 4110 N. SCOTTSDALE ROAD, SUITE 125                 pam@ahlersandstoll.com                      LEASE                   $0
                           SCOTTSDALE, AZ - 85251


ALLIANCE RECRUITING           15311 W VANTAGE PARKWAY, SUITE 305            Robyn.pogue@alliancerr.com                   LEASE                    $0
RESOURCES, INC.               HOUSTON, TX - 77032


CDL PARTNERS, L.L.C.          15311 W. VANTAGE PARKWAY, SUITE 190             Victor@cdl-partners.com                    LEASE                    $0
                              ATTN: VICTOR HARTEN
                              HOUSTON, TX - 77032

GCR LOGISTICS INC.            15311 W. VANTAGE PKWY STE 134                hal.gagliano@landstarmail.com                 LEASE                    $0
                              HOUSTON, TX - 77032


HARRIS COUNTY SHERIFF'S       AUDIT DEPT: DONNA GODAIR                     Amanet.Habte@Sheriff.hctx.net                 LEASE                    $0
DEPT OFFICE                   1001 PRESTON, SUITE 800
                              HOUSTON, TX - 77002

JAIME OJEDA and MARJAM        15311 W. VANTAGE PKWY, STE 100                  sellmyhouze@gmail.com                      LEASE                    $0
RASOULI                       HOUSTON, TX - 77032


RECOVER AMERICA NOW           15311 W. VANTAGE PKWY STE 315                 nicole@recoveramerica.com                    LEASE                    $0
                              HOUSTON, TX - 77032


REYTEC CONSTRUCTION           15311 WEST VANTAGE PARKWAY, SUITE 158              steven@reytec.net                       LEASE                    $0
RESOURCES, INC.               ATTN: Steven Aranda
                              HOUSTON, TX - 77032



RHENUS PROJECT LOGISTICS,     15311 W. VANTAGE PKWY, STE 260               natalie.golsaz@us.rhenus.com                  LEASE                    $0
INC.                          HOUSTON, TX - 77032


ROYAL GUNITE LLC              3126 BURTON RIDGE DRIVE                       royalgunite2010@gmail.com                    LEASE                    $0
                              SPRING, TX - 77386


SEBERT SHIPPING INC.          15311 W VANTAGE PARKWAY, SUITE 197          luis.carranza@sebertshipping.com               LEASE                    $0
                              HOUSTON, TX - 77032


SELECT PHYSICAL THERAPY       15311 Vantage Parkway West, Suite 103        NGravius@selectmedical.com                    LEASE                    $0
                              Houston, TX - 77032


SELECT PHYSICAL THERAPY       15311 Vantage Parkway West, Suite 103        NGravius@selectmedical.com                    LEASE                    $0
HOLDINGS, INC.                Houston, TX - 77032


SSE GROUP LLC                 15311 W. VANTAGE PARKWAY STE 250                russell@ssegroupllc.com                    LEASE                    $0
                              HOUSTON, TX - 77032
TERESA YBANEZ                 15311 WEST VANTAGE PARKWAY, SUITE 198            legalsvs.tx@gmail.com                     LEASE                    $0
                              HOUSTON, TX - 77032

THOMAS RANGEL                 15311 WEST VANTAGE PARKWAY, SUITE 195          Thomas.Rangel@KofC.org                      LEASE                    $0
                              HOUSTON, TX - 77032

WILLOWBEND ENTERPRISES,       15311 W. VANTAGE PARKWAY, #170                      albans@hey.com                         LEASE                    $0
L.L.C.                        ATTN: MUSTAFA SHANINI
                              HOUSTON, TX - 77032
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                                                                                                 Contract Proposed to be Assumed   Proposed
    Contract Counterparty                     Address                   E-Mail Address
                                                                                                           and Assigned              Cure
ZANDER HOMES, LLC             15311 W VANTAGE PARKWAY, SUITE 317     justin@zanderhomes.net                   LEASE                   $0
                              HOUSTON, TX - 77032
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                                                            NORTHCHASE CENTER
                                                                                                                 Contract Proposed to be   Proposed
   Contract Counterparty                  Address                              E-Mail Address
                                                                                                                 Assumed and Assigned        Cure
ARIELLE ROBERTSON          dba TLL TAXES                                      alain@tlltaxes.com                         LEASE                $0
                           22039 GAYNOR GROVE LANE
                           HOCKLEY, TX - 77447
ARTHUR J. GALLAGHER        ATTN: AJ GALLAGHER CORPORATE REAL              patty.noftz@cushwake.com                       LEASE                $0
RISK MANAGEMENT            ESTATE
SERVICES                   FILE ID#2264
                           39725 TREASURY CENTER
                           CHICAGO, IL - 60694-9700

CHANDA PROSPER        2618 HYLAND PARK                                    chanda.prosper@gmail.com                       LEASE                $0
                      HOUSTON, TX - 77014
CHRYSALIS MSP, LLC    18222 STILLWATER PLACE                            susan.mccall@chrysalismsp.com                    LEASE                $0
                      ATASCOCITA, TX - 77346
CORNERSTONE PREFERRED 14550 TORREY CHASE BLVD., SUITE 650                     sheryl@cprtpa.com                          LEASE                $0
RESOURCES             HOUSTON, TX - 77014

DANA MICHELLE              2922 TWIN FOUNTAINS DRIVE                      cpettawa@mdanderson.org                        LEASE                $0
PETTAWAY FAITHFUL          ATTN: CURTIS A PETTAWAY
SERVANT MINISTRIES         HOUSTON, TX - 77068
DYNAMO TRUCKING, LLC       14550 TORREY CHASE, SUITE 256               dynamotrucking2013@gmail.com                      LEASE                $0
                           HOUSTON, TX - 77014
EDWARD CHAN                14550 TORREY CHASE BLVD, SUITE 450                ec8010@hotmail.com                          LEASE                $0
                           HOUSTON, TX - 77014

FOREVER FINE LLC           8213 BERTWOOD STREET                          shopforeverfine88@gmail.com                     LEASE                $0
                           ATTN: MONIQUE PAPPILLION
                           HOUSTON, TX - 77016
GEMINI ENTERPRISES, INC.   14550 TORREY CHASE BLVD., SUITE 600                nzeren@geinc.com                           LEASE                $0
                           HOUSTON, TX - 77014

HEATHER ROBINSON        14450 TORREY CHASE, SUITE 220                     ptshrobinson@sbcglobal.net                     LEASE                $0
                        HOUSTON, TX - 77014
HOUSTON STRATEGIC       14550 TORREY CHASE, SUITE 360                    dhearn@houstonstrategic.com                     LEASE                $0
FINANCIAL ADVISORS, LLC HOUSTON, TX - 77014

KERRY PROJECT LOGISTICS 14550 TORREY CHASE, SUITE 265                  valerio.scarsi@kerrylogistics.com                 LEASE                $0
(US) LLC                HOUSTON, TX - 77067
KINKA KIKAI CO. LTD.    14550 TORREY CHASE BLVD, SUITE 460              tammy_scott@kinkavalves.com                      LEASE                $0
                        HOUSTON, TX - 77014

LEASECURE CORPORATION 3415 CANDLEOAK DR.                                    djordan@leasecure.com                        LEASE                $0
                      SPRING, TX - 77388
LISA COX              14550 TORREY CHASE, SUITE 220                        ptshouston@sbcglobal.net                      LEASE                $0
                      HOUSTON, TX - 77014
MICHAEL ERDIN         4710 INGERSOLL STREET                                  Mike@encoreins.com                          LEASE                $0
                      HOUSTON, TX - 77027
MINI MARKET           14550 TORREY CHASE BLVD, SUITE 100                                                                 LEASE                $0
                      HOUSTON, TX - 77014

MP WEALTH MANAGEMENT 14550 TORREY CHASE, SUITE 300                          kevin.pinkley@lpl.com                        LEASE                $0
GROUP, LLC           HOUSTON, TX - 77014

NATIONAL CAPITAL           14550 TORREY CHASE BLVD., SUITE 465             tmcknight@ncfunding.net                       LEASE                $0
FUNDING, LLC               HOUSTON, TX - 77014

PATRICK J. O'HARA          14550 TORREY CHASE, SUITE 260                    pjo@oharaattorney.com                        LEASE                $0
                           HOUSTON, TX - 77014
PROCESS TECHNICAL          14550 TORREY CHASE BLVD., SUITE 220   heather.robinson@processtechnicalservices.com           LEASE                $0
SERVICES INC.              HOUSTON, TX - 77014

QUALITY LIFE PHYSICAL      4123 COUNTRY PARK DRIVE                         3100maggielane@att.net                        LEASE                $0
THERAPY, LLC               ATTN: MARGARET CORNELSSEN
                           SPRING, TX - 77388
RESIRENE USA, INC          14550 TORREY CHASE, SUITE 340                   julio.reyes@resirene.com                      LEASE                $0
                           HOUSTON, TX - 77014
SILVERADO HOSPICE OF       14550 TORREY CHASE, SUITE 345                    mluque@silverado.com                         LEASE                $0
HOUSTON, INC               HOUSTON, TX - 77014
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                                                                                                    Contract Proposed to be   Proposed
   Contract Counterparty                  Address                      E-Mail Address
                                                                                                    Assumed and Assigned        Cure
TALBOT FINANCIAL LLC       16602 VICTORIA FALLS                      trisha.talbot@lpl.com                  LEASE                $0
                           SPRING, TX - 77379
WILLARD KIMBRELL           14550 TORREY CHASE BLVD., SUITE 330        carolyn@tcarch.com                    LEASE                $0
                           HOUSTON, TX - 77014
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                                                               ONE TECHNOLOGY CENTER
                                                                                                    Contract Proposed to be Assumed and   Proposed
     Contract Counterparty                  Address                       E-Mail Address
                                                                                                                 Assigned                   Cure
ANTHONY GABATIN                  9730 DAHLIA                             ton4yg@yahoo.com                         LEASE                      $0
                                 HELOTES, TX - 78023
AT&T MOBILITY TEXAS, LLC         Site#: TX-SAN069c                PropertyManagement@t-mobile.com                 LEASE                      $0
                                 C/O ENGIE IMPACT
                                 P.O. BOX 2241 MS 7372
                                 SPOKANE, WA - 99210
BM SERVICE CORPORATION           Site#: TX-SAN069c                PropertyManagement@t-mobile.com                 LEASE                      $0
                                 C/O ENGIE IMPACT
                                 P.O. BOX 2241 MS 7372
                                 SPOKANE, WA - 99210
BOARD OF REGENTS OF THE          201 W 7th STREET SUITE 416             kensky@uthscsa.edu                        LEASE                      $0
UNIVERSITY OF TEXAS              AUSTIN, TX - 78701
SYSTEM
BOARD OF REGENTS OF THE          201 W 7th STREET SUITE 416             kensky@uthscsa.edu                        LEASE                      $0
UNIVERSITY OF TEXAS              AUSTIN, TX - 78701
SYSTEM
BOARD OF REGENTS OF THE          UTHEALTH HOUSTON                       kensky@uthscsa.edu                        LEASE                      $0
UNIVERSITY OF TEXAS              7000 FANNIN, UCT 830
SYSTEM                           HOUSTON, TX - 77030
BOARD OF REGENTS OF THE          201 W 7th STREET, SUITE 416            kensky@uthscsa.edu                        LEASE                      $0
UNIVERSITY OF TEXAS              AUSTIN, TX - 78701
SYSTEM
CHRISTIE MCVAY                   5055 VON SCHEELE APT. 1133            cmcvay33@yahoo.com                         LEASE                      $0
                                 SAN ANTONIO, TX - 78229

ELOISA SALAZAR                   3903 OAK TRAIL                      thesalazarfamily@yahoo.com                   LEASE                      $0
                                 SAN ANTONIO, TX - 78228

ERICA BARRETT            10318 ELIZABETH CT                               eedb87@aol.com                          LEASE                      $0
                         SAN ANTONIO, TX - 78240
FEHMIDA KHANUM           18119 RESORT VIEW                            fehmida40@hotmail.com                       LEASE                      $0
                         SAN ANTONIO, TX - 78255
GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GALEN COLLEGE OF NURSING 3050 TERRA CROSSING BLVD                     galenap@galencollege.edu                    LEASE                      $0
                         LOUISVILLE, KY - 40245

GSA - Veterans Administration    7400 MERTON MINTER BLVD                nicole.bemiss@va.gov                      LEASE                      $0
                                 SAN ANTONIO, TX - 78229

GSA-VETERANS                     7400 MERTON MINTER BLVD                nicole.bemiss@va.gov                      LEASE                      $0
ADMINISTRATION                   SAN ANTONIO, TX - 78229

GSA-VETERANS                     7400 MERTON MINTER BLVD                nicole.bemiss@va.gov                      LEASE                      $0
ADMINISTRATION                   SAN ANTONIO, TX - 78229

GSA-VETERANS                     7400 MERTON MINTER BLVD                nicole.bemiss@va.gov                      LEASE                      $0
ADMINISTRATION                   SAN ANTONIO, TX - 78229

GSA-VETERANS                     7400 MERTON MINTER BLVD                nicole.bemiss@va.gov                      LEASE                      $0
ADMINISTRATION                   SAN ANTONIO, TX - 78229
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                                                                                           Contract Proposed to be Assumed and   Proposed
    Contract Counterparty              Address                     E-Mail Address
                                                                                                        Assigned                   Cure
GSA-VETERANS                 7400 MERTON MINTER BLVD            nicole.bemiss@va.gov                     LEASE                      $0
ADMINISTRATION               SAN ANTONIO, TX - 78229

GSA-VETERANS                 7400 MERTON MINTER BLVD            nicole.bemiss@va.gov                     LEASE                      $0
ADMINISTRATION               SAN ANTONIO, TX - 78229

KATRINA BURRUS               1319 ELLSWORTH FARM               tmcintyre465@gmail.com                    LEASE                      $0
                             SAN ANTONIO, TX - 78260
KELVIN GEORGE                6731 LUCKY FIELDS            KELVIN.GEORGE17@OUTLOOK.COM                    LEASE                     $0
                             CONVERSE, TX - 78109
KIMBERLY OAKMAN              13421 TOPPLING LANE              Keoakman8666@gmail.com                     LEASE                      $0
                             LIVE OAK, TX - 78233
LISA LIVINGSTON              10214 GARNET POINT                livingston0515@aol.com                    LEASE                      $0
                             SAN ANTONIO, TX
LUISA RIOJAS                 769 KILLARNEY RD.                   luisa.riojas@aol.com                    LEASE                      $0
                             FLORESVILLE, TX - 78114
MELODY BELL                  133344 BRISTOW DAWN                Melodyb93@gmail.com                      LEASE                      $0
                             SAN ANTONIO, TX - 78217
NOEMI MADRIGAL               524 CARLISLE AVE SUITE 710      Noemimadrigal@hotmail.com                   LEASE                      $0
                             SAN ANTONIO, TX - 78225

SONYA VASQUEZ             422 E VESTAL PLACE                   svasquez14@icloud.com                     LEASE                      $0
                          SAN ANTONIO, TX - 78221
TAMBRA HAYES              26031 COPPERAS LANE                    tdhayes100@aol.com                      LEASE                      $0
                          SAN ANTONIO, TX - 78260
THE LAW OFFICE OF MARIBEL 7411 John Smith, 1510                 shanti@cruzdaylaw.com                    LEASE                      $0
CRUZ, P.C., AND H. GARZA  SAN ANTONIO, TX - 78229
LAW GROUP PLLC

VERONICA LONGORIA        12810 OAK PASS DRIVE                    allrter@hotmail.com                     LEASE                      $0
                         SAN ANTONIO, TX - 78253
WINDSTREAM SERVICES, LLC 7411 JOHN SMITH DR.                  Pete.d.bell@windstream.com                 LEASE                      $0
                         SAN ANTONIO, TX - 78229
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                                                          PARKWAY PLAZA I & II
                                                                                                                 Contract Proposed to be   Proposed
     Contract Counterparty                   Address                             E-Mail Address
                                                                                                                 Assumed and Assigned        Cure
ALBERT RESTAURANT GROUP,       14114 N DALLAS PARKWAY, SUITE 670           calbert@albertenterprises.com                 LEASE                $0
LLC                            DALLAS, TX - 75254

ALTURA CONSULTING INC          ATTN: ALEXANDRIA KENDRICK                    akendrick@altura.consulting                  LEASE                $0
                               14110 N. DALLAS PARKWAY SUITE 100
                               DALLAS, TX - 75254

AMERICAN FAMILY                14110 N. DALLAS PARKWAY, SUITE 170           bzachariah@quantumhc.com                     LEASE                $0
CONNECTIONS INC                DALLAS, TX - 75254

ASHLEY KUEHNE and CINDY L.     14114 N. DALLAS PARKWAY, SUITE 245            agoldkuehne@gmail.com                       LEASE                $0
SEAMANS                        DALLAS, TX - 75254

BLUU, INC.                     14110 N. DALLAS PARKWAY, SUITE 200             accounting@ebluu.com                       LEASE                $0
                               DALLAS, TX - 75254

BRETT MORRIS                   14114 N. DALLAS PARKWAY, SUITE 420             brett.usana@gmail.com                      LEASE                $0
                               DALLAS, TX - 75254

CAVANESS INSURANCE             14110 DALLAS PARKWAY, SUITE 125             rcavaness1@farmersagent.com                   LEASE                $0
AGENCY LLC                     DALLAS, TX - 75254
COLWICK TRAVEL                 14114 N DALLAS PARKWAY, Ste 450               accounting@colwick.com                      LEASE                $0
CORPORATION                    DALLAS, TX - 75240
DARLENE POSTON                 14114 N. DALLAS PKWY                          dposton@brazosbank.com                      LEASE                $0
                               DALLAS, TX - 75254
EPB ASSOCIATES, INC.           14114 N DALLAS PARKWAY, SUITE 472            robinb@epbassociates.com                     LEASE                $0
                               DALLAS, TX - 75254

FRED LOYA INSURANCE            1800 LEE TREVINO, SUITE 201                   ncervantez@fredloya.com                     LEASE                $0
ANGENCY, INC.                  EL PASO, TX - 79935
GS ENTERPRISES, LLC            4114 N DALLAS PARKWAY, SUITE 400            wendy@aestheticbackbar.com                    LEASE                $0
                               DALLAS, TX - 75254

HANSITECHNOLOGIES LLC          13201 PRAIRIE SKY LANE                        hr@hansitechnologies.com                    LEASE                $0
                               KRUM, TX - 76249
INDEPENDENCE TX LLC            2931 ELKTON TRAIL                               durretta@hs4200.com                       LEASE                $0
                               ATTN: ANGEL DURRETT
                               TYLER, TX - 75703
INVESTORADE LLC                14114 N DALLAS PARKWAY, SUITE 180            blaz@dewittanddewitt.com                     LEASE                $0
                               ATTN: BLAKE DE WITT
                               DALLAS, TX - 75254

JAMP ENTERPRISES LLC           14114 N DALLAS PARKWAY, SUITE 240                brady@jampre.com                         LEASE                $0
                               DALLAS, TX - 75254

JP MORGAN CHASE BANK           1111 POLARIS PARKWAY, OH OH1- 0241   Lease.Administration.Research@jpmchase.com           LEASE                $0
                               SUITE 1E
                               COLUMBUS, OH - 43240
LASH RX SPA'S, LLC             14114 N DALLAS PARKWAY, SUITE 350               zbledsoe@yahoo.com                        LEASE                $0
                               DALLAS, TX - 75254

M&L FINANCIAL AND            14114 N. DALLAS PKWY, SUITE 600             dan@headstartwarrantygroup.com                  LEASE                $0
HEADSTART WARRANTY           DALLAS, TX - 75254
GROUP LLC
MICHAEL W. DORMAN, CPA, P.C. 14114 DALLAS PARKWAY, SUITE 430              mike@michaelwdormancpa.com                     LEASE                $0
                             DALLAS, TX - 75254
MS PEZESHKI, LLC             14114 N DALLAS PARKWAY, SUITE 100                mpezeshki1@gmail.com                       LEASE                $0
                             DALLAS, TX - 75254

MUSLOW+AGNEW GROUP, LLC 14114 N. DALLAS PARKWAY, SUITE 250                    kagnewcpa@gmail.com                        LEASE                $0
                        DALLAS, TX - 75254

NEUGENT & HELBING, INC.        14110 DALLAS PARKWAY, SUITE 202               ross@neugenthelbing.com                     LEASE                $0
                               DALLAS, TX - 75254
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                                                                                                                 Contract Proposed to be   Proposed
     Contract Counterparty                   Address                             E-Mail Address
                                                                                                                 Assumed and Assigned        Cure
NUCLEUS HEALTHCARE             14114 N DALLAS PARKWAY, SUITE 200               shanna@kadane.com                         LEASE                $0
GROUP, LLC                     DALLAS, TX - 75254

O-FILE, LLC                 14114 DALLAS PARKWAY, SUITE 300                     jmonares@ont.com                         LEASE                $0
                            DALLAS, TX - 75254
PARK CITIES HEALTH SERVICES 14114 DALLAS PARKWAY, SUITE 460                   geniusgov@yahoo.com                        LEASE                $0
LLC                         DALLAS, TX - 75254
RICHEN MEDTECH LLC          14114 N. DALLAS PARKWAY, SUITE 160              KINCHENTAO@QQ.COM                            LEASE                $0
                            DALLAS, TX - 75254

SOUTHWEST AUTOMATED            2545 MERRELL ROAD                           jeff@southwestautomated.com                   LEASE                $0
SECURITY INC.                  ATTN: JEFF GOODWIN
                               DALLAS, TX - 75229
SOUTH-WEST PUBLIC              13610 MIDWAY ROAD, SUITE 243                      zadyks@aol.com                          LEASE                $0
RELATIONS, INC.                ATTN: RAMONA ZADUKS
                               DALLAS, TX - 75244
TEXAS PRIDE LENDING, LLC       14114 N DALLAS PARKWAY, SUITE 160          SMontes@texaspridelending.com                  LEASE                $0
                               DALLAS, TX - 75254

THOUGHT FOCUS, INC.            14110 N DALLAS PARKWAY, SUITE 250            payables@thoughtfocus.com                    LEASE                $0
                               DALLAS, TX - 75254

T-MOBILE WEST CORPORATION P.O. BOX 1090                            ap@landmarkdividend.comlandmarkdividend.com           LEASE                $0
                          MANDAN, ND - 58554
WYNNE TRANSPORTATION      14110 N. DALLAS PARKWAY, SUITE 240               john.montgomery@wthllc.com                    LEASE                $0
HOLDINGS, LLC             DALLAS, TX - 75254

XO COMMUNICATIONS              14114 N DALLAS PARKWAY                      david.brightwell@verizon.com                  LEASE                $0
SERVICES, LLC                  ROOF
                               DALLAS, TX - 75201
YELLOWFIRST EXPERIENCE,        337 MEADOWVIEW LANE                            Karna@yellowfirst.com                      LEASE                $0
LLC                            ATTN SHUKLA KARNAKUMAR
                               LEWISVILLE, TX - 75056
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                                                         SKYMARK TOWER
                                                                                                         Contract Proposed to be   Proposed
    Contract Counterparty                   Address                           E-Mail Address
                                                                                                         Assumed and Assigned        Cure
2M RESEARCH SERVICES, LLC    1305 GRAYHAWK DRIVE                          mmartin@2mresearch.com                 LEASE                $0
                             MANSFIELD, TX - 76063
ADVOCATE FINANCIAL           1521 N. COOPER STREET, SUITE 700                aspain@asbtex.com                   LEASE                $0
PARTNERS LONESTAR, LLC       ARLINGTON, TX - 76011
AQUATIC CO.                  1521 N. COOPER STREET, SUITE 500         aquaticapinvoice@aquaticbath.com           LEASE                $0
                             ARLINGTON, TX - 76011
BISHOP SHARP CPA, PLLC       1521 N COOPER STREET, SUITE 850           rick.wylie@bishopsharpcpa.com             LEASE                $0
                             ARLINGTON, TX - 76011
BROOKESIDE HEALTH LLC        136 N. MARTIN AVENUE                        colinnickerson3@gmail.com               LEASE                $0
                             ATTN: COLIN NICKERSON
                             WAUKEGAN, IL - 60085
CUSHMAN & WAKEFIELD          1521 N COOPER STREET, SUITE 610          CWCorpReAdmin@cushwake.com                 LEASE                $0
                             ARLINGTON, TX - 76011
DANIEL WRIGHT                1521 N. COOPER ST, SUITE 550                  kmachi@tedmachi.com                   LEASE                $0
                             ARLINGTON, TX - 76011
DAVIS, ERMIS & ROBERTS, P.C. 1521 N. COOPER STREET, SUITE 860          davisdavisandroberts@yahoo.com            LEASE                $0
                             ARLINGTON, TX - 76011
DENESH SINGH                 1521 N. COOPER ST, SUITE 220                dennysinghlpc@gmail.com                 LEASE                $0
                             ARLINGTON, TX - 76011
DFW PAIN & INJURY CENTERS, 1521 N. COOPER ST, SUITE 630                 rhonda@txpainandinjury.com               LEASE                $0
LLC                          ARLINGTON, TX - 76011
EDWARD D JONES & CO, LP      1521 N. COOPER STREET, SUITE 130           edjleaseadmin@cushwake.com               LEASE                $0
                             ARLINGTON, TX - 76011
EMR (USA HOLDINGS), LLC      1521 N COOPER STREET, SUITE 221                usaap@emrgroup.com                   LEASE                $0
                             ARLINGTON, TX - 76011
FLEETNURSE, INC.             1471 PEARL STREET, SUITE 2                     linda@fleetnurse.com                 LEASE                $0
                             ATTN: ISRAEL ANGELES / LINDA SANANIXAY
                             EUGENE, OR - 97401

GREENWAY TECHNOLOGIES,     1521 N COOPER STREET, SUITE 205              ransom.jones@gwtechinc.com               LEASE                $0
INC.                       ARLINGTON, TX - 76011
HAWRYLAK & ASSOCIATES,     1521 N. COOPER STREET, SUITE 890            steveh@hawkandassociates.com              LEASE                $0
LLC                        ARLINGTON, TX - 76011
JEFFERSON B. MCLEAN and    1521 N COOPER STREET, SUITE 525                 jbmcleantx@gmail.com                  LEASE                $0
CATHLEEN h. MCLEAN         ARLINGTON, TX - 76011
JONES HASSETT, PC          1521 N. COOPER ST, SUITE 360                   kbiggs@harrisonsteck.com               LEASE                $0
                           ARLINGTON, TX - 76011
KRYPTOS TECHNOLOGIES, INC. 12221 MERIT DR, SUITE 800                       gokul@kryptostech.com                 LEASE                $0
                           ATTN GOKULNATH CHANDRASEKARAN
                           DALLAS, TX - 75271
LSCG CONTRACTORS LLC       1521 N. COOPER ST, SUITE 309                     lscgroofs@gmail.com                  LEASE                $0
                           ARLINGTON, TX - 76011
MACLIN FAMILY MEDICINE,    1521 N. COOPER ST, SUITE 213                info@maclinfamilymedicine.com             LEASE                $0
PLLC                       ARLINGTON, TX - 76011
MENESES LAW, PLLC          ATTN: F. CHRISTINE MENESES                      manager@meneses.law                   LEASE                $0
                           2190 NORTH LOOP WEST, SUITE 300
                           HOUSTON, TX - 77018
MICHAEL R. DUKE            1521 N COOPER STREET, SUITE 335               mrduke@ft.newyorklife.com               LEASE                $0
                           ARLINGTON, TX - 76011
MILENIO REAL ESTATE,       1115 E. PIONEER PARKWAY, SUITE 145           mileniorealestate@gmail.com              LEASE                $0
INCORPORATED               ATTN: ROSA M. HERRERA
                           ARLINGTON, TX - 76010
MITCHUM PROPERTIES LLC     1521 N. COOPER ST, SUITE 221                 sandramitchum@hotmail.com                LEASE                $0
                           ARLINGTON, TX - 76011
PARIS BLAKE                1521 N. COOPER ST, SUITE 08                    parisblake42@gmail.com                 LEASE                $0
                           ARLINGTON, TX - 76011
PARRY AMERICA, INC.        1521 N. COOPER STREET, SUITE 350           jhask@coromandel.murugappa.com             LEASE                $0
                           ARLINGTON, TX - 76011
PINNACLE BANK              1521 N. COOPER STREET, SUITE 140              reba.lozano@pinnbank.com                LEASE                $0
                           ARLINGTON, TX - 76011
PINNACLE BANK              1521 N. COOPER STREET, SUITE 140              reba.lozano@pinnbank.com                LEASE                $0
                           ARLINGTON, TX - 76011
PREMIER ACCESS, INC.       1521 N. COOPER STREET, SUITE 330                bduly@accessppo.com                   LEASE                $0
                           ARLINGTON, TX - 76011
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                                                                                                     Contract Proposed to be   Proposed
    Contract Counterparty                       Address                     E-Mail Address
                                                                                                     Assumed and Assigned        Cure
ROBERT GREEN, CPA         1521 N COOPER STREET, SUITE 530                greenrcpa@gmail.com                 LEASE                $0
                          ARLINGTON, TX - 76011
ROSS JETER                1521 N. COOPER STREET, SUITE 725                rjeter@rossjeter.com               LEASE                $0
                          ARLINGTON, TX - 76011
SCOTT WARD                1521 N. COOPER ST, SUITE 215                 silverfoxcoins@gmail.com              LEASE                $0
                          ARLINGTON, TX - 76011
STAR PERSONNEL II LLC     4606 FM 1960 ROAD WEST, SUITE 310           accounting@starpersonnel.net           LEASE                $0
                          ATTN: MARIN HENSON
                          HOUSTON, TX - 77069
THE GRAND LODGE OF THE    1521 N. COOPER ST, SUITE 250                     lfisher@iamaw.org                 LEASE                $0
INTERNATIONAL ASSOCIATION ARLINGTON, TX - 76011
OF MACHINIST AND
AEROSPACE WORKERS

THE LAW OFFICES OF MARY       1521 N. COOPER STREET, SUITE 214         roxanagarcia@lawyer.com               LEASE                $0
PANZU, PLLC                   ARLINGTON, TX - 76011
THOMPSON LAW LLP              1521 N. COOPER ST                         nread@triallawyers.com               LEASE                $0
                              ARLINGTON, TX - 76011
TYNET USA HOLDINGS CO         1521 N. COOPER ST, SUITE 212            missionsnow321@gmail.com               LEASE                $0
                              ARLINGTON, TX - 76011
U.S. ENERGY DEVELOPMENT       1521 N. COOPER STREET, SUITE 400          acctpayable@usedc.com                LEASE                $0
CORPORATION                   ARLINGTON, TX - 76011
WHELAN SECURITY CO            1521 N. COOPER ST, SUITE 210               Paul.Bents@garda.com                LEASE                $0
                              ARLINGTON, TX - 76011
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                                                                   THE PRESERVE
                                                                                                              Contract Proposed to be Assumed
   Contract Counterparty                    Address                               E-Mail Address                                              Proposed Cure
                                                                                                                        and Assigned
23 CONSULT AND SPEAK       2000 N. LOOP WEST                                 info@instantchimney.com                       LEASE                   $0
LLC                        HOUSTON, TX - 77018
3H ENGINEERING &           JOSE ANGEL ROCHA                                  aggieneer@3h.engineering                    LEASE                     $0
CONSTRUCTION, INC          5207 SLEEPY CREEK DRIVE
                           HOUSTON, TX - 77017
A+ USA, LLC                ROBIN PHILIP                                       r-philip@aplus-usa.com                     LEASE                     $0
                           2060 NORTH LOOP WEST, SUITE 1050
                           HOUSTON, TX - 77018

ABERDEEN BUILDING          SCOTT MCNINCH                                  cass@aberdeenbuildinggroup.com                 LEASE                     $0
GROUP, LLC                 919 PRINCE STREET
                           HOUSTON, TX - 77008
ALARA1706, LLC             2030 NORTH LOOP WEST, SUITE 103                 info@vidaandhealthdayspa.com                  LEASE                     $0
                           HOUSTON, TX - 77018

AMK FINANCIAL              3420 MORRISON ST.                                  alix@amkfinancial.com                      LEASE                     $0
CORPORATION                HOUSTON, TX - 77009
AMPT, LLC                  2020 N. LOOP WEST, SUITE 135                         ampttx@gmail.com                         LEASE                     $0
                           HOUSTON, TX - 77018

ARC DIAGNOSTICS, LLC       8851 N. 125TH E. AVENUE, SUITE 150               rscott@arcdiagnosticlab.com                  LEASE                     $0
                           OWASSO, OK - 74055

ASHLEY SANFORD, PHD,       2000 NORTH LOOP WEST, SUITE 206                 contact@ashleysanfordphd.com                  LEASE                     $0
PLLC                       HOUSTON, TX - 77018


AXIS PIPELINE              PAUL BYINGTON                                         ap@axispcg.com                          LEASE                     $0
CONSTRUCTION GROUP,        2002 W. GRAND PARKWAY, STE. 304
INC.                       KATY, TX - 77449
BAQUERO & ASSOCIATE        2060 N. LOOP WEST, SUITE 105                        enbcpa@outlook.com                        LEASE                     $0
CPAS, PLLC                 HOUSTON, TX - 77018
BAYOU CITY                 2010 NORTH LOOP WEST, SUITE 103                ayanna@bayoucitywaterkeeper.org                LEASE                     $0
WATERKEEPER, INC.          HOUSTON, TX - 77018

BERNARDO J. GARCIA         2040 NORTH LOOP WEST, SUITE 308                    garciataxlaw@gmail.com                     LEASE                     $0
                           HOUSTON, TX - 77018

BOSSI PROPERTIES, LLC      2020 NORTH LOOP WEST SUITE 20106                    kirktoups@gmail.com                       LEASE                     $0
                           HOUSTON, TX - 77018

BREEAAN GULLO              5009 LIDO LANE                                      info@3rdgenloans.com                      LEASE                     $0
                           HOUSTON, TX - 77092
C.L. BOHANNON CPA PLLC     7110 BLENHEIM PALACE LANE                            clbcpa@gmail.com                         LEASE                     $0
                           HOUSTON, TX - 77095

CATHODIC CONTROL           2030 NORTH LOOP WEST, SUITE 104                 jtranbrown@stelarservices.com                 LEASE                     $0
SYSTEMS, INC.              HOUSTON, TX - 77018

CHARLES BEARE and          2000 NORTH LOOP WEST, SUITE 210                       HR@hydrant.com                          LEASE                     $0
JONATHAN LEVULIS           HOUSTON, TX - 77018

CHARLES JOHNSON            2050 NORTH LOOP WEST, SUITE 226                      cjohnatlaw@aol.com                       LEASE                     $0
                           HOUSTON, TX - 77018

CIRCLES OF CARE            5333 EVERHART                                      phillip@willmscpa.com                      LEASE                     $0
                           ATTN: LISA EDWARDS
                           CORPUS CHRISTI, TX - 78411

CMYC LLC                   14526 Iron Horseshoe Lane                       sara@havenspacecoaching.com                   LEASE                     $0
                           HOUSTON, TX - 77044
COMPASSIONATE CARE         ATTN: REAL ESTATE DEPARTMENT                      amedisys@bluestarcre.com                    LEASE                     $0
HOSPICE                    3854 AMERICAN WAY, SUITE A
                           BATON ROUGE, LA - 70816
CT KELLY & ASSOCIATES,     2040 NORTH LOOP WEST, SUITES 009 AND            christopher_kelly@us.aflac.com                LEASE                     $0
INC.                       012
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                                                                                                            Contract Proposed to be Assumed
   Contract Counterparty                     Address                            E-Mail Address                                              Proposed Cure
                                                                                                                      and Assigned
CTX CONSTRUCTION           2014 BRIARCREST DRIVE                          cristina@ctxcontractors.com                    LEASE                   $0
SYSTEMS, LLC               HOUSTON, TX - 77077

CYNTHIA NAVA               1734 DON ALEJANDRO                       cnava@willowandsagecounseling.com                  LEASE                     $0
                           HOUSTON, TX - 77091
DEPAOLI-CRIDDLE, PLLC      2020 NORTH LOOP WEST, SUITE 200                 depaolicriddle@gmail.com                    LEASE                     $0
                           HOUSTON, TX - 77018

DGI-MENARD, INC.           2060 NORTH LOOP WEST, SUITE 240              KKeener@menardgroupusa.com                     LEASE                     $0
                           HOUSTON, TX - 77018

DISTRICT 7 MAIN, LLC       2010 NORTH LOOP WEST, SUITE 275                 shelley@district7grill.com                  LEASE                     $0
                           HOUSTON, TX - 77018

DOUGLAS REUSCHEL           10115 WILLOW CROSSING DRIVE                      doug@sundancecare.net                      LEASE                     $0
                           HOUSTON, TX - 77064

DR. DANIEL BELTRAN             25902 TRICKLING ROCK                       admin@allhoustonpain.com                     LEASE                     $0
                               SAN ANTONIO, TX - 78260
ENERGY ENGG. AMERICAS, 26410 Oak Ridge Drive Suite 105             shafeeque.puthukkudi@energyengg.com                 LEASE                     $0
LLC.                           Spring, TX - 77380
ENTOMOLOGY ASSOCIATES, 2020 N. LOOP W, SUITE #115                            jtucker@entoassoc.com                     LEASE                     $0
INC.                           HOUSTON, TX - 77018
EUROPA HOMES CORP              7324 SOUTHWEST FREEWAY, #1464             isierra@europahomestexas.com                  LEASE                     $0
                               ATTN: ISRAEL SIERRA
                               HOUSTON, TX - 77074
EVA SYMCOX AND BRIAN 9403 SKIPPING STONE LANE                               eva.skincare@yahoo.com                     LEASE                     $0
SYMCOX                         HOUSTON, TX - 77064
FAMILIES EMPOWERED             2050 NORTH LOOP WEST, SUITE 230          pcastillo@familiesempowered.org                LEASE                     $0
                               ATTN: PATRICIA DIPPEL
                               HOUSTON, TX - 77018
FATHER AND SON                 2020 NORTH LOOP WEST, SUITE 160          jsullivan@directstaffingtexas.com              LEASE                     $0
HEALTHCARE HOLDINGS,           HOUSTON, TX - 77018
INC.
FIROUZBAKHT LAW FIRM, 2040 NORTH LOOP WEST, SUITE 102                     ef@firouzbakhtlawfirm.com                    LEASE                     $0
PLLC                           HOUSTON, TX - 77018
FITCLINIC LLC, a Texas limited 6022 GREENMONT DR.                               j.aaron@me.com                         LEASE                     $0
liability company              HOUSTON, TX - 77092
FRANK SALAZAR & CO., P.C. 2010 NORTH LOOP WEST, SUITE 200                       cpa@fsalco.com                         LEASE                     $0
                               HOUSTON, TX - 77018
G&B GROUP, LLC                 2050 NORTH LOOP WEST, SUITE 101                 info@gnbgroup.net                       LEASE                     $0
                               HOUSTON, TX - 77018
GABRIELLE HENDERSON            2010 NORTH LOOP WEST SUITE 10160             gabbyhen24@gmail.com                       LEASE                     $0
                               HOUSTON, TX - 77018
GENE B. REYNOLDS               2020 NORTH LOOP WEST, SUITE #260             greynolds@gbrcpas.com                      LEASE                     $0
                               HOUSTON, TX - 77018
GINA W WATSON PLLC             513 E. 11TH STREET                  HoustonRelationshipInstitute@gmail.com              LEASE                     $0
                               ATTN: GINA W WATSON
                               HOUSTON, TX - 77008
GMC CONSULTANTS, LLC           2060 NORTH LOOP WEST, SUITE 110          smcgowen@gmc-consultants.com                   LEASE                     $0
                               HOUSTON, TX - 77018
GREATER HEIGHTS AREA           2020 NORTH LOOP WEST, SUITE 215           president@heightschamber.org                  LEASE                     $0
CHAMBER OF COMMERCE HOUSTON, TX - 77018

INTELLIGEN BUSINESS        8935 GREEN RAY DRIVE                              ggalvez@nexgenco.net                      LEASE                     $0
SOLUTIONS INC.             ATTN: GUISSEPPI GALVEZ
                           HOUSTON, TX - 77040
ISAIAS D. TORRES           2000 NORTH LOOP WEST, SUITE 250                    idtorres@idtlaw.com                      LEASE                     $0
                           HOUSTON, TX - 77018
ISLAND PEAK GROUP, LLC     8111 LBJ FREEWAY, SUITE 1285                   olenec@texastaxprotest.com                   LEASE                     $0
                           ATTN: NICHOLAS OLENEC
                           DALLAS, TX - 75251
JACKELINE CARDONA          2050 NORTH LOOP WEST, SUITE 116                   jcardonag@gmail.com                       LEASE                     $0
                           HOUSTON, TX - 77018
JARB PLLC                  3275 SUMMER STREET, APT. 1410                  info@artisanchiropratic.com                  LEASE                     $0
                           HOUSTON, TX - 77007
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                                                                                                             Contract Proposed to be Assumed
   Contract Counterparty                   Address                             E-Mail Address                                                Proposed Cure
                                                                                                                       and Assigned
JESSICA HEARD              2010NORTH LOOP WEST, SUITE 170                 thebeautymuva@gmail.com                         LEASE                   $0
                           HOUSTON, TX - 77018
JESSICA MEREDITH STEIN     1901 POST OAK PARK DRIVE, SUITE 10104   info@nguyenwellnessrecovery.com                      LEASE                     $0
                           ATTN: JESSICA MEREDITH STEIN
                           HOUSTON, TX - 77027

JOEL MEDRANO               2050 NORTH LOOP WEST, SUITE 100             medranoinvestments@gmail.com                     LEASE                     $0
                           HOUSTON, TX - 77018
JOHN R. BARTOS and         2040 NORTH LOOP WEST, SUITE 008                  jbartos@htownlaw.com                        LEASE                     $0
WILLIAM J. RICE            HOUSTON, TX - 77018

JUAN MARTIN CURIMAN       2030 North Loop West Ste. 255                  areyes@curimanbrokers.com                      LEASE                     $0
                          Houston, TX - 77018
K.M. DREAM BIG FITNESS, 2060 NORTH LOOOP WEST FREEWAY, SUITE            kristina@painfreeposture.clinic                 LEASE                     $0
INC.                      203
                          ATTN: KRISTINA MCDANIEL
                          HOUSTON, TX - 77018
KEITH LAKIN               2000 NORTH LOOP WEST, SUITE 205                 keith@willingtobewell.com                     LEASE                     $0
                          HOUSTON, TX - 77018
KENDRA LEE-MARTIN         2010 NORTH LOOP WEST, SUITE 115                kendral@ofheartandmind.net                     LEASE                     $0
                          HOUSTON, TX - 77018
KGI HOLDINGS LLC          2040 NORTH LOOP WEST, SUITE 020                 vendors@brightscreen.app                      LEASE                     $0
                          ATTN: ZACHARY RAND
                          HOUSTON, TX - 77018
KIDZ 2 KIDZ CHILD PLACING 2000 NORTH LOOP WEST, SUITE 130                 kidz2kidz_cpa@yahoo.com                       LEASE                     $0
AGENCY                    HOUSTON, TX - 77018
KINGSBURY INSURANCE       2050 NORTH LOOP WEST, SUITE 110                jkingsbury@integrity-ins.com                   LEASE                     $0
AGENCY                    HOUSTON, TX - 77018
KNEADED INNERGY           12919 Windfern Rd #4103                        logisticwellness@gmail.com                     LEASE                     $0
THERAPEUTIC HEALING LLC HOUSTON, TX - 77064

KRAIG L. RUSHING, INC 2030 NORTH LOOP WEST, SUITE 207                      debra_rushing@msn.com                        LEASE                     $0
                      HOUSTON, TX - 77018
KRISTEN JUUL          2000 NORTH LOOP WEST, SUITE 203                       kristif40@hotmail.com                       LEASE                     $0
                      HOUSTON, TX - 77018
LATISCHIA A. BANKS    2050 NORTH LOOP WEST, SUITE 223                    etherapymassage@gmail.com                      LEASE                     $0
                      HOUSTON, TX - 77018
LAW OFFICE OF MATTHEW 2040 NORTH LOOP WEST, SUITE 390                      skp@maritimedefense.net                      LEASE                     $0
H. AMMERMAN, P.C.     HOUSTON, TX - 77018

LEONARD P. KASOWSKI        2050 NORTH LOOP WEST, SUITE 115             jeff@heightsfinancialservices.com                LEASE                     $0
                           HOUSTON, TX - 77018
LETICIA VALDEZ             18979 ROSEWOOD TERRACE DR                     leticiavaldez_01@yahoo.com                     LEASE                     $0
                           NEW CANEY, TX - 77357
LGC ASSOCIATES, LLC        8200 HAVERSTICK ROAD, SUITE 102               shawndat@lgcassociates.com                     LEASE                     $0
                           ATTN: SHAWNDA TROUT / CONTROLLER
                           INDIANAPOLIS, IN - 46240

LISA ZEBACK               2030 NORTH LOOP WEST STE. 290            healinghavenmassagetx@gmail.com                      LEASE                     $0
                          HOUSTON, TX - 77018
MAHOGANY SERVICES, LLC 6035 YALE STREET                                   reinel.solano@fcifloors.com                   LEASE                     $0
                          HOUSTON, TX - 77076
MAK-SHUR DIAGNOSTICS, 2040 N. LOOP W., SUITE 103                          reliefmedbill@hotmail.com                     LEASE                     $0
INC., a Texas Corporation HOUSTON, TX - 77018

MAX SHIPPING, INC.         2040 NORTH LOOP WEST, SUITE 22               accounting@max-shipping.com                     LEASE                     $0
                           HOUSTON, TX - 77018
MCCANNE & CURRIN, P.C.     13710 KING CIRCLE                               mmcurrin@sbcglobal.net                       LEASE                     $0
                           CYPRESS, TX - 77429
MCCREARY LAW OFFICE,       2060 NORTH LOOP WEST, SUITE 104               jana@mccrearylawoffice.com                     LEASE                     $0
PLLC                       ATTN: JANA MCCREARY
                           HOUSTON, TX - 77018
NATALIE                    2040 N LOOP WEST STE 40020                       Natvongg@gmail.com                          LEASE                     $0
VONGSENGDEUANE             HOUSTON, TX - 77018
NATIONAL STRUCTURAL        2020 NORTH LOOP WEST, SUITE 230                  michael@structural.nu                       LEASE                     $0
ENGINEERING, INC.          HOUSTON, TX - 77018
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                                                                                                         Contract Proposed to be Assumed
   Contract Counterparty                   Address                            E-Mail Address                                             Proposed Cure
                                                                                                                   and Assigned
NORD-SUD SHIPPING      ATTN: COLE GAUTREAU                             accounting@nordsudshipping.com                 LEASE                   $0
                       1940 JEFFERSON HWY.
                       LUTCHER, LA - 70071
ONYX NEURODIAGNOSTICS, 2000 NORTH LOOP WES, SUITE 110                       louiscano@yahoo.com                     LEASE                     $0
LLC                    HOUSTON, TX - 77018

PATRICIA F. BUSHMAN, P.C. 2004 WICHITA                                 pblaw@bushmanlawoffices.com                  LEASE                     $0
                          PASADENA, TX - 77502
PE HEALTH CHOICE          2040 NORTH LOOP WEST, SUITE 103A                   nshutko@gmail.com                      LEASE                     $0
REHABILITATION CENTER HOUSTON, TX - 77018

PENNCOMP, LLC          P.O. BOX 10570                                     sshuman@Penncomp.com                      LEASE                     $0
                       HOUSTON, TX - 77206
PHI NGUYEN             12919 LAKE MIST DRIVE                             paulnguyen1228@gmail.com                   LEASE                     $0
                       CYPRESS, TX - 77429
PHUC K. HUYNH          2030 NORTH LOOP WEST FREEWAY, SUITE                danielle@1stchoiceai.com                  LEASE                     $0
                       260
                       HOUSTON, TX - 77018
PRIORITY-1, INC        1800 EAST ROOSEVELT ROAD                           accounting@priority1.com                  LEASE                     $0
                       ATTN: NATHANIEL HASTINGS
                       LITTLE ROCK, AR - 72206
PROTECT, LLC           2060 NORTH LOOP WEST, SUITE 135                         ap@protect.llc                       LEASE                     $0
                       HOUSTON, TX - 77018
PURSUIT OF HAPPINESS   2000 NORTH LOOP WEST, SUITE 100                    arehman1207@gmail.com                     LEASE                     $0
BEHAVIORAL HEALTH, LLC HOUSTON, TX - 77018

RA PHIPPS INC DBA PHIPPS   11919 SWORDS CREEK ROAD                         roshun@phippslegal.com                   LEASE                     $0
LAW FIRM                   ATTN: ROSHUN A. PHIPPS
                           HOUSTON, TX - 77067
RANDALL M. THOMPSON        2010 North Loop West, Ste 10110         caitlin@coppermountaincapital.com                LEASE                     $0
                           Houston, TX - 77018
REFLECT THERAPY, PLLC      1860 WHITE OAK DR. #316                        hello@reflecthouston.com                  LEASE                     $0
                           HOUSTON, TX - 77009
RENEW INSURANCE AND        2040 NORTH LOOP WEST, SUITE 385                   scott@renewif.com                      LEASE                     $0
FINANCIAL SERVICES, LLC    ATTN: SCOTT FAULK
                           HOUSTON, TX - 77018
RG TAYLOR II, PC           2040 NORTH LOOP WEST, SUITE 104                 ttaylor@rgtaylorlaw.com                  LEASE                     $0
                           HOUSTON, TX - 77018
RP TRADEWINDS              13831 SANDOVER DRIVE                             bporeotx@gmail.com                      LEASE                     $0
MARKETING NETWORK,         HOUSTON, TX - 77014
INC.
SKILLED PAIN CARE CLINIC, 2050 NORTH LOOP WEST, SUITE 135                   syed982@hotmail.com                     LEASE                     $0
PA                        HOUSTON, TX - 77018
SPINE & JOINT PRO         2060 NORTH LOOP WEST                               bkey38@yahoo.com                       LEASE                     $0
MEDICAL CENTERS, PLLC     HOUSTON, TX - 77018

STATE OFFICE OF ADMIN      HEARINGS - ATTN                                 finance@soah.texas.gov                   LEASE                     $0
HEARING                    P. O. BOX 13025
                           AUSTIN, TX - 78711-3025
TCMG, LP                   2000 NORTH LOOP WEST, SUITE 200               brannon@lloydfinancial.com                 LEASE                     $0
                           HOUSTON, TX - 77018
TEN BEST PROMOTIONAL       2020 North Loop W, Ste 205              steve.enright@promoprintgroup.com                LEASE                     $0
ITEMS LLC DBA              HOUSTON, TX - 77018
PROMOPRINT GROUP

TERE CARRILLO              795 CIRCLE WAY                              teresacarrillorejon@hotmail.com              LEASE                     $0
TERAPEUTA LLC              ATTN: TERESA CARRILLO
                           JARRELL, TX - 76537
THE CORE BODY LAB LLC      2000 NORTH LOOP WEST, SUITE 260                 corebodylab@gmail.com                    LEASE                     $0
                           HOUSTON, TX - 77018

THE L CUMMINGS GROUP,      2030 N. LOOP WEST, SUITE 115                      jjsto1@yahoo.com                       LEASE                     $0
INC.                       HOUSTON, TX - 77018
THE LAW OFFICE OF          2000 NORTH LOOP WEST, SUITE 133                  Jacky@jvarelalaw.com                    LEASE                     $0
JACKLYN VARELA, PC         HOUSTON, TX - 77018
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                                                                                                       Contract Proposed to be Assumed
   Contract Counterparty                Address                            E-Mail Address                                              Proposed Cure
                                                                                                                 and Assigned
THE MORA LAW FIRM, PLLC 2040 NORTH LOOP WEST, SUITE 244               mayra@moralawtexas.com                        LEASE                   $0
                        ATTN: MAYRA MORA
                        HOUSTON, TX - 77018
THE SERENITY RETREAT    2060 NORTH LOOP W, STE 200                  accounting@serenityretreat.com                LEASE                     $0
FOR HEALING AND         ATTN: Cecie Turlington
SPIRITUAL RENEWAL, INC. HOUSTON, TX - 77018

THERESA R HARRING       2000 North Loop W, Suite 220                    trharring@hotmail.com                     LEASE                     $0
                        Houston, TX - 77018
TIMOTHY JASON HILSHER 2020 NORTH LOOP WEST, SUITE 106                    tj@hilshergroup.com                      LEASE                     $0
                        HOUSTON, TX - 77018
TOLULOPE KUTEYI         2010 NORTH LOOP WEST SUITE 150                  tolukuteyi@yahoo.com                      LEASE                     $0
                        HOUSTON, TX - 77018
TRANSPORT WORKERS       501 3RD ST. NW, 9TH FLOOR                           jcruz@twu.org                         LEASE                     $0
UNION OF AMERICA        WASHINGTON, DC - 20001
UNIVERSAL HOME          12122 PINELANDS PARK LANE                   financemanager.jla@gmail.com                  LEASE                     $0
SOLUTIONS LLC           ATTN: JON ALTIC
                        HUMBLE, TX - 77346
VADA COUNSELING, PLLC 10106 Autumn Harvest Dr.                      candice@vadacounseling.com                    LEASE                     $0
                        Houston, TX - 77064
VASQUEZ LAW GROUP,      16522 WILLIAMTOWN DRIVE                      regina@vasquezlawgroup.net                   LEASE                     $0
PLLC                    ATTN: REGINA VASQUEZ
                        HOUSTON, TX - 77084
VICTORIA MENDOZA        16719 PEDDLEGLEN DRIVE                       stickyvickywax@icloud.com                    LEASE                     $0
                        HOUSTON, TX - 77095
VIRGINIA CORTES ARAIZA, 2040 NORTH LOOP WEST, SUITE 300                  v_cortes@yahoo.com                       LEASE                     $0
MD, PLLC                HOUSTON, TX - 77018
VOLLEY BOAST, LLC       2000 NORTH LOOP WEST, SUITE 120                jnovak@volleyboast.com                     LEASE                     $0
                        HOUSTON, TX - 77018
VONNE JONES             2050 NORTH LOOP WEST, SUITE 130                 xxpearls@hotmail.com                      LEASE                     $0
                        HOUSTON, TX - 77018
WINGS FOR LEARNING      2040 NORTH LOOP WEST, SUITE 234              jessica@wingsforlearning.org                 LEASE                     $0
                        ATTN: JESSICA BROOK
                        HOUSTON, TX - 77018
WIX, PROPERTY TAX       2010 NORTH LOOP WEST, SUITE 105                 dean_wix@yahoo.com                        LEASE                     $0
SPECIALIST              HOUSTON, TX - 77018
XPRESSGUARDS LLC        2208 SW 59TH AVENUE                           moise@xpressguards.com                      LEASE                     $0
                        ATTN: MOISE LOUISSAINT
                        WEST PARK, FL - 33023
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                                                            THREE FOREST PLAZA
                                                                                                            Contract Proposed to be   Proposed
   Contract Counterparty                  Address                             E-Mail Address
                                                                                                            Assumed and Assigned        Cure
ACRISURE, LLC              100 OTTAWA AVENUE, SW                           mmills@cipoftexas.com                    LEASE                $0
                           GRAND RAPIDS, MI - 49503
AIM ASSOCIATION            12221 MERIT DR, SUITE 1670                   kboliver@aim-companies.com                  LEASE                $0
INSURANCE                  DALLAS, TX - 75251
MANAGEMENT, INC
ASSURED BENEFITS           12221 MERIT DRIVE #1800                        phodge@nationalppo.com                    LEASE                $0
ADMINISTRATORS, INC        ATTN: PENNY HODGE
                           DALLAS, TX - 75251
BEACON ORAL                12221 MERIT DR, SUITE 1175                 lfaust@beaconoralspecialists.com              LEASE                $0
SPECIALISTS                DALLAS, TX - 75251
MANAGEMENT LLC
BEAUTY MARK DALLAS      4311 BELMONT AVENUE                              info@beautymarkdallas.com                  LEASE                $0
LLC                     DALLAS, TX - 75204
BELLINGER & SUBERG, LLP 12221 MERIT DR, SUITE 1750                      Syoung@bellingersuberg.com                  LEASE                $0
                        DALLAS, TX - 75251
CAREY ASSET             50 ROCKEFELLER PLAZA, SECOND                       jcardasis@wpcarey.com                    LEASE                $0
MANAGEMENT DALLAS       FLOOR
LLC                     NEW YORK, NY - 10020
CEDAR HEALTH RESEARCH, 12221 MERIT DRIVE, SUITE 350                    accounting@cedarresearch.com                 LEASE                $0
LLC                     DALLAS, TX - 75251
CHOLLA PETROLEUM, INC. CHOLLA PETROLEUM, INC.                            chollaAP@chollapetro.com                   LEASE                $0
                        PO BOX 12208
                        12221 MERIT DRIVE SUITE 1300
                        DALLAS, TX - 75255
COGENT                  12221 MERIT DRIVE, ROOF 6                       re-tla-invoices@cogentco.com                LEASE                $0
COMMUNICATIONS          DALLAS, TX - 75251

CRAYON SOFTWARE         12221 MERIT DRIVE, SUITE 800                     apinvoices.us@crayon.com                   LEASE                $0
EXPERTS, LLC            DALLAS, TX - 75251
CTMI, LLC               12221 MERIT DRIVE, SUITE 1200                    Theony.deaton@invoke.tax                   LEASE                $0
                        DALLAS, TX - 75251
DAVID MUNSON            12221 MERIT DRIVE, SUITE 930                     davemunson1@yahoo.com                      LEASE                $0
                        DALLAS, TX - 75251
DIRECT HOLDINGS, LLC    12221 MERIT DR, SUITE 1215                     cheryl@directretailpartners.com              LEASE                $0
                        DALLAS, TX - 75251
DSG BENEFITS GROUP, LLC 12221 MERIT DRIVE, SUITE 1015                    dgoldfarb@dsgbenefits.com                  LEASE                $0
                        DALLAS, TX - 75251
ENCORE COMMERICAL,      #00-HAR713-OFF01112                             lynnek@richmondhonan.com                    LEASE                $0
LLC                     P.O. BOX 209249
                        AUSTIN, TX - 78720-9249
FERGUSON FINANCIAL      12221 MERIT DRIVE, SUITE 1925                   dean.ferguson@wfafinet.com                  LEASE                $0
GROUP, LLC              DALLAS, TX - 75251
GRANT H. LAUGHLIN       12221 MERIT DRIVE, SUITE 640                         grant@lcrgusa.com                      LEASE                $0
                        DALLAS, TX - 75251
GREEN OAKS HOSPITAL     7808 CLODUS FIELDS DR                         tyray.jones@medicalcityhealth.com             LEASE                $0
SUBSIDIARY, L.P.        DALLAS, TX - 75251
GREEN OAKS HOSPITAL     12221 MERIT DRIVE, SUITE 450              GOHD.Accounting@MedicalCityHealth.com             LEASE                $0
SUBSIDIARY, LP          DALLAS, TX - 75251
INFOSOLVE, INC.         12221 MERIT DRIVE, SUITE 1720                  pmooney@mpowerbeverage.com                   LEASE                $0
                        DALLAS, TX - 75251
INTEGRITY MORTGAGE      5 HORIZON COURT                                      heather@imctx.com                      LEASE                $0
CORPORATION OF TEXAS    HEATH, TX - 75032

INTERVENTIONAL             12221 MERIT DR, SUITE 280                       jardystein@gmail.com                     LEASE                $0
PARTNERS, PLLC             DALLAS, TX - 75251
JACKSON SPENCER LAW,       12221 MERIT DRIVE, SUITE 160              accounting@jacksonspencerlaw.com               LEASE                $0
PLLC                       DALLAS, TX - 75251
KING & FISHER LAW          1221 MERIT DR, SUITE 1630                     eric.begun@king-fisher.com                 LEASE                $0
GROUP, PLLC                DALLAS, TX - 75251
LEVEL 3                    12221 MERIT DRIVE, ROOF 1                 realestatepayments@centurylink.com             LEASE                $0
COMMUNICATIONS, LLC        DALLAS, TX - 75251
MDH FINANCIAL GROUP,       12221 MERIT DRIVE, SUITE 1900                dhowell@howellfinancial.com                 LEASE                $0
LLC                        DALLAS, TX - 75251
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                                                                                                                  Contract Proposed to be   Proposed
   Contract Counterparty                  Address                              E-Mail Address
                                                                                                                  Assumed and Assigned        Cure
MEDIFY HEALTH, LLC         ATTN: BRENT WISE                                brent@medifyhealth.com                         LEASE                $0
                           6125 LUTHER LANE, SUITE 313
                           DALLAS, TX - 75225
MERCER CAPITAL             12221 MERIT DRIVE, SUITE 975                    doblel@mercercapital.com                       LEASE                $0
MANAGEMENT INC.            DALLAS, TX - 75251
MERIT MODERN DENTAL,       120 E FM 544, SUITE 72                        Joey@ZygoDentalGroup.com                         LEASE                $0
PLLC                       PMB 358
                           MURPHY, TX - 75094
MICHAEL A. MILLER &        12221 MERIT DRIVE, SUITE 1210                     mmiller@tmlfpc.com                           LEASE                $0
ASSOCIATES, PC             DALLAS, TX - 75251
MINCEY-CARTER PC           12221 MERIT DRIVE, SUITE 200                    cchase@minceycarter.com                        LEASE                $0
                           DALLAS, TX - 75251
NATIONAL OVARIAN           12221 MERIT DRIVE, SUITE 1950                     finance@ovarian.org                          LEASE                $0
CANCER COALITION, INC.     DALLAS, TX - 75251

NELOFER AZAD, M.D., PA  12221 MERIT DRIVE, SUITE 1725                           azad1@aol.com                             LEASE                $0
                        DALLAS, TX - 75251
NEW CINGULAR WIRELESS Site # 10037216                                       releaseadmin@att.com                          LEASE                $0
PCS, LLC                c/o ENGIE INSIGHT - MS 7372
                        P.O. BOX 2241
                        SPOKANE, WA - 99210-2241
PERRYMAN FINANCIAL      12221 MERIT DRIVE, SUITE 1660                    bperryman@billperryman.com                       LEASE                $0
ADVISORY                DALLAS, TX - 75251
RAINBOW DAYS, INC       12221 MERIT DRIVE, SUITE 1700                     cynthiaw@rainbowdays.org                        LEASE                $0
                        DALLAS, TX - 75251
RANKIN FINANCIAL        12221 MERIT DRIVE, SUITE 1900                        kopella@fnicdfw.com                          LEASE                $0
NETWORK, L.L.C.         DALLAS, TX - 75251
RELATIONAL THERAPY      12221 MERIT DRIVE, SUITE 1360                drholt@relationaltherapycollective.com               LEASE                $0
COLLECTIVE, PLLC        DALLAS, TX - 75215
RICHARD RAMIREZ         12221 MERIT DRIVE, SUITE 910                  richard.ramirez.b6o5@statefarm.com                  LEASE                $0
                        DALLAS, TX - 75251
ROBERTS & CROW INC.     12221 MERIT DRIVE, SUITE 300                   ashley.crow@robertsandcrow.com                     LEASE                $0
                        DALLAS, TX - 75251
ROOSHNA INVESTMENTS     12221 MERIT DRIVE, SUITE 140                         rrcafe.tx@gmail.com                          LEASE                $0
                        DALLAS, TX - 75251
STATE OF TEXAS          P.O. BOX 13047                                   amanda.diebel@tfc.state.tx.us                    LEASE                $0
                        AUSTIN, TX - 78711
STRIDE HEALTHCARE       12221 MERIT DR, SUITE 620                      accounts.payable@stridecare.com                    LEASE                $0
MANAGEMENT LLC          DALLAS, TX - 75251
SULE FACIAL PLASTIC     12221 MERIT DRIVE, SUITE 1060                         sdsule@yahoo.com                            LEASE                $0
SURGERY                 DALLAS, TX - 75251
THE INSTITUTE FOR LUXURYP.O. BOX 1447                                  accountspayable@colibrigroup.com                   LEASE                $0
                        MARYLAND HEIGHTS, MO - 63043
TIME WARNER CABLE       12221 MERIT DRIVE, ROOF 5             DLPriorityEscalationCBROECoordinators@charter.com           LEASE                $0
                        DALLAS, TX - 75251
US ONCOLOGY, INC.       C/O MCKESSON CORPORATION/US                        USONFinance@cbre.com                           LEASE                $0
                        ONCOLOGY
                        6555 NORTH STATE HIGHWAY 161
                        ATTN: MCKESSON REAL ESTATE -
                        LEASE ADMINISTRATION
                        IRVING, TX - 75039
VERIZON                 CUSHMAN & WAKEFIELD OF FLORIDA,                  michele.dorsey@verizon.com                       LEASE                $0
                        INC
                        MAIL CODE FLTDSB1W
                        7701 E. TELECOM PARKWAY
                        TEMPLE TERRACE, FL - 33637
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                                                        TIMBERCREEK ATRIUM
                                                                                                         Contract Proposed to be
   Contract Counterparty                  Address                         E-Mail Address                                           Proposed Cure
                                                                                                         Assumed and Assigned
A. LOPEZ LAW FIRM, P.C. 5306 FRENSHAM CIRCLE                             a.h@sbcglobal.net                       LEASE                  $0
                        HOUSTON, TX - 77041
CARGOPRO INC            2746 WOLLEMI PINE TRAIL                        cargoproinc@gmail.com                     LEASE                  $0
                        KATY, TX - 77493
COMMERCIAL              16507 CRYSTAL VIEW COURT                       rsmth1960@gmail.com                       LEASE                  $0
CONSULTING GROUP, LLC. ATTN: SYED A. RAZA
                        HOUSTON, TX - 77095
CONSOLIDATED            1920 WESTRIDGE DRIVE                             realestate@ced.com                      LEASE                  $0
ELECTRICAL              ATTN: KEITH SCHINKEL
DISTRIBUTORS, INC       IRVING, TX - 75038
FADI 1952, INC          7353 FM 1960 ROAD E                             chad1449@msn.com                         LEASE                  $0
                        ATTN: CHAD OWAIDA
                        HUMBLE, TX - 77346
GREENWAY                577 VALLEY FORGE COURT                    greenwaytransportinc98@gmail.com               LEASE                  $0
TRANSPORTATION INC.     FRANKLIN, OH - 45005
H2O CONSULTING -        5870 HIGHWAY 6 NORTH, SUITE 215               aboard@h2oconsulting.net                   LEASE                  $0
STORAGE                 HOUSTON, TX - 77084
H2O CONSULTING, INC.    5870 HIGHWAY 6 NORTH, SUITE 215               aboard@h2oconsulting.net                   LEASE                  $0
                        HOUSTON, TX - 77084
INES MORA BEAUTY        5910 LLANO CREEK DRIVE                        pochedaniel@hotmail.com                    LEASE                  $0
CENTER LLC              KATY, TX - 77449
J & J PLASTERING, INC.  5870 HIGHWAY 6 NORTH, SUITE 206              bjones@jjplasteringinc.com                  LEASE                  $0
                        HOUSTON, TX - 77084
J & S HEALTH CARE       5870 HIGHWAY 6 NORTH, SUITE 208               sbarneond@hhcnnet.com                      LEASE                  $0
NETWORK, INC.           HOUSTON, TX - 77084
JAG ROOFING &           16906 CAIRNGALE STREET                         jackie@jag-roofing.com                    LEASE                  $0
RESTORATION LLC         ATTN: HUMBERTO VALLEJO
                        HOUSTON, TX - 77084
JOHNSON E. AYOZIE       6143 PLANTATION FOREST DRIVE                  johnsonayozie@yahoo.com                    LEASE                  $0
                        KATY, TX - 77449
JOSHUA J. BEST          15707 Misty Heath Ln                      angelsbesthomehealth@gmail.com                 LEASE                  $0
                        Houston, TX - 77084
JUDIANN L. QUE          22823 TARAWAY DRIVE                             judi@bloomsake.com                       LEASE                  $0
                        KATY, TX - 77449
LOVESOHNA DESIGNS, INC. 1721 GREENHOUSE ROAD, #6310                 lovesohnadesigns@gmail.com                   LEASE                  $0
                        HOUSTON, TX - 77084
LOZANI INSURANCE        24014 CLOVER RANCH DRIVE                    services@lozaniinsurance.com                 LEASE                  $0
AGENCY, LLC             ATTN: RAFAEL LOZADA
                        KATY, TX - 77494
MARCEL GAMBOA           5870 HIGHWAY 6 NORTH, SUITE 320              marcelgamboa@hotmail.com                    LEASE                  $0
                        HOUSTON, TX - 77084
OLGA TOSCANO            14718 TILLEY STREET                          olga.toscano20@yahoo.com                    LEASE                  $0
                        ATTN: OLGA TOSCANO
                        HOUSTON, TX - 77084
PATRICIA MCGRAW         5870 HIGHWAY 6 NORTH, SUITE 113                 pattianne32@me.com                       LEASE                  $0
                        HOUSTON, TX - 77084
POLARIS ULTRASOUND LLC 2825 WILCREST DRIVE, SUITE 259               polarisultrasound@gmail.com                  LEASE                  $0
                        HOUSTON, TX - 77042
SOUTHWESTERN & PACIFIC 7755 MONTGOMERY ROAD, STE. 400             rentspayable@axcess-financial.com              LEASE                  $0
SPECIALTY FINANCE, INC, ATTN: REAL ESTATE DEPARTMENT
an Ohio corporation     CINCINNATI, OH - 45246

THE ELITE WELLNESS         505 N. SAM HOUSTON PARKWAY, STE. 505     dwade@aligninjurycenter.com                  LEASE                  $0
GROUP, LLC                 ATTN: DEANDREA WADE
                           HOUSTON, TX - 77060

TIARA STEWART          17900 mound rd, 10108                          tiara.stewart@hotmail.com                  LEASE                  $0
                       Cypress, TX - 77434
TRADITION MEDIA GROUP, 1309 E. Captain Dreyfus Ave                      fred@quadwinc.com                        LEASE                  $0
LLC                    Phoenix, AZ - 85022
TUMAINI LUVENA         17047 WILTHORNE CARGEN COURT                   tumainiluvena@yahoo.com                    LEASE                  $0
                       HOUSTON, TX - 77084
VDV GROUP, LLC         5870 HIGHWAY 6 NORTH, SUITE 202                 adrianacc24@gmail.com                     LEASE                  $0
                       HOUSTON, TX - 77084
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                                                                             Parking Leases
                                                                                                                                 Contract Proposed to be Assumed and   Proposed
   Contract Counterparty         Property                             Address                            E-Mail Address
                                                                                                                                              Assigned                   Cure
JAMES SOBOTA                    601 Sawyer         610 HIGHLAND STREET                 HOUSTON,      SOBOTA007@ATT.NET            PARKING LOT/GROUND LEASE                $0
                                                                     TX - 77009
CROSSPOINT ATRIUM             Gateway Tower                   Holt Lunsford Commercial              payhic-regular@yardifs.com       GROUNDLEASE/PARKING                 $0
                                                                  8131 LBJ Freeway
                                                                     SUITE 106
                                                                      DALLAS
                                                                     TX - 75251
                                                                    United States
ENCORE COMMERICAL, LLC       Three Forest Plaza                #00-HAR713-OFF01112                  lynnek@richmondhonan.com         GROUNDLEASE/PARKING                 $0
                                                                  P.O. BOX 209249
                                                                       AUSTIN
                                                                  TX - 78720-9249
                                                                    United States
2535 BABCOCK LLC           One Technology Center   10410 DOHERTY SPRING                       SAN      jay.arla@gmail.com          LEASE/PARKING AGREEMENT               $0
                                                              ANTONIO, TX - 75255
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                                           Exhibit B

                                      List of Properties
                 Property Name     Type                      Street Address
         11811 N. Freeway         Office      11811 North Freeway, Houston
         3100 Timmons             Office      3100 Timmons Lane, Houston
         400 North Belt           Office      400 N. Sam Houston, Houston
         601 Sawyer               Office      601 Sawyer, Houston
         616 FM 1960              Office      616 FM 1960, Houston
         Ashford Crossing II      Office      1880 S. Dairy Ashford Rd., Houston
         Central Park            Industrial   1901 N. Glenville Drive, Dallas
         Chelsea Square           Retail      5020 FM 1960 West, Houston
         Commerce Plaza
                                  Office      12850 Hillcrest Rd., Dallas
         Hillcrest
         Copperfield              Office      15840 FM 529, Houston
         Cornerstone              Office      3707 FM 1960, Houston
         Corporate Park Place     Office      1333 Corporate Park Dr., Irving
         Energy Plaza I & II      Office      8610, 8620 N. New Braunfels, San Antonio
         Garden Oaks              Retail      3800-4000 N. Shepherd Dr., Houston
         Gateway Tower            Office      8111 LBJ Freeway, Dallas
         Gulf Plaza               Office      16010 Barkers Point Lane, Houston
         North Central Plaza      Office      12655 N. Central Expwy, Dallas
         Northbelt Atrium I       Office      15311 W. Vantage Pkwy, Houston
         Northchase               Office      14550 Torrey Chase Blvd., Houston
         One Technology Center    Office      7411 John Smith Dr., San Antonio
         Parkway Plaza I&II       Office      14110, 14114 N. Dallas Pkwy, Dallas
         Preserve                 Office      2010 N. Loop W., Houston
         Skymark Tower            Office      1521 N. Cooper St., Dallas
         Three Forest Plaza       Office      12221 Merit Dr., Dallas
         Timbercreek              Office      5870 Hwy 6 North, Houston
         Tower Pavilion           Office      2909 Hillcroft, Houston
         Westheimer               Office      11200 Westheimer Road, Houston
         Westway I                Office      1701 Market Place Blvd., Irving




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                                           Exhibit C

                            Exit Facility – Indicative Term Sheet

Borrowers:                Silver Star CRE, LLC and Silver Star Portfolio, LLC

Lender:                   An affiliate of Benefit Street Partners

Mezzanine Borrowers:      Silver Star Mezzanine Borrower, LLC and Silver Star Portfolio Mezzanine
                          Borrower, LLC.
Mezzanine Lender:         An affiliate of RMWC

Sponsor:                  Silver Star Properties REIT, Inc.

Guarantor:                Sponsor.
Collateral:               The fee simple interest in an approximate 30-property portfolio comprising
                          4,448,319+/- SF located in Dallas, Houston, and San Antonio, TX (the
                          “Properties”). The Properties shall be cross-collateralized and cross-
                          defaulted and subject to release provisions defined in the Loan Documents.

                          Collateral for the mezzanine loan will be each Mezzanine Borrower’s equity
                          ownership of the Borrowers.
Purpose of Loan:          Refinancing the SASB/Prepetition Loan; payment of Allowed Claims under
                          the Combined Disclosure Statement and Plan, all as will be more
                          specifically described and permitted by the Loan Documents when
                          finalized.
Total Loan Amount:        Up to $120,000,000. Of this amount, up to $15,000,000 will be a mezzanine
                          loan to the Mezzanine Borrowers. Final splits between mortgage and
                          mezzanine loans to be determined prior to closing. These amounts are
                          subject to adjustment to the extent that the Exit Facility closes after the sales
                          of underwritten Properties have closed
Interest Rate:            The greater of (i) the sum of (a) 1 Month CME Term SOFR, rounded up to
                          the nearest 1/100th of one percent, plus (b) 1000 basis points and (ii) 14%.
                          Interest shall accrue based on a 360-day year and the actual number of days
                          elapsed.
Amortization:             Interest Only.
Loan Term:                2 years.
Financial Covenants:      Usual and customary for loans of this type with customary cushions.
Representations and       Usual and customary for loans of this type.
Warranties
Origination Fee:          2.00% of the Total Loan Amount.




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Exit Fee:                2.00% of the Total Loan Amount. The Exit Fee shall be waived if Lender
                         refinances the loan with 5-10 year fixed rate financing.
Minimum Multiple:        Lender shall receive a minimum multiple of 1.12x on the Total Loan
                         Amount.
Lockout:                 None.
Recourse:                Full recourse.


Title Insurance:         Borrowers shall deliver a mortgagee’s title insurance policy acceptable to
                         Lender.
Insurance:               Borrowers shall carry casualty, general liability and other insurance
                         covering the Properties acceptable to Lender.
Reporting:               Borrowers will provide Lender with, among other things, monthly,
                         quarterly, and annual income statements and balance sheets and monthly,
                         quarterly, and annual certified rent rolls.
Broker:                  Raymond James.
Governing Law            Governed by the laws of the State of New York (without regard to the
                         choice-of-law rules thereof).
Closing Conditions:      None. Sign and close structure upon entry of a final order confirming the
                         Combined Disclosure Statement and Plan.




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